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                          EXHIBIT 1
                    PROPOSED AMENDED SALE ORDER




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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN

                                                                  x
                                                                  :
In re                                                             :       Chapter 11
                                                                  :
BARFLY VENTURES, LLC, et al.,1                                    :       Case No. 20-01947-jwb
                                                                  :
                                      Debtors.                    :       Jointly Administered
                                                                  x
            AMENDED ORDER (I) AUTHORIZING THE SALE
             OF SUBSTANTIALLY ALL OF THE DEBTORS’
           ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
      ENCUMBRANCES, AND OTHER INTERESTS, (II) AUTHORIZING
     THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (III) GRANTING RELATED RELIEF

                    Upon the motion [Docket No. 127] (the “Motion”) of BarFly Ventures, LLC and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of an order

(this “Order”) pursuant to sections 105(a), 363, and 365 of Title 11 of the United States Code

(the “Bankruptcy Code”) and rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) (i) approving the sale of the Debtors’ assets free and clear of

liens, claims, interests and encumbrances, (ii) authorizing assumption and assignment of certain

executory contracts and unexpired leases; and (iii) granting related relief; and the Court having

entered a prior order, dated July 22, 2020 [Docket No. 184] (the “Bid Procedures Order”),

approving bidding procedures for the Debtors’ assets (the “Bid Procedures”) and granting certain


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    The Debtors and the last four digits of their federal employment identification number are: Barfly Ventures,
    LLC (8379); 9 Volt, LLC (d/b/a HopCat) (1129); 50 Amp Fuse, LLC (d/b/a Stella’s Lounge) (3684); GRBC
    Holdings, LLC (d/b/a Grand Rapids Brewing Company) (2130); E L Brewpub, LLC (d/b/a HopCat East
    Lansing) (5334); HopCat-Ann Arbor, LLC (5229); HopCat-Chicago, LLC (7552); HopCat-Concessions, LLC
    (2597); HopCat-Detroit, LLC (8519); HopCat-GR Beltline, LLC (9149); HopCat-Holland, LLC (7132);
    HopCat-Indianapolis, LLC (d/b/a HopCat-Broad Ripple) (7970); HopCat-Kalamazoo, LLC (8992);
    HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat) (6242); HopCat-Lexington, LLC (6748);
    HopCat-Lincoln, LLC (2999); HopCat-Louisville, LLC (0252); HopCat-Madison, LLC (9108);
    HopCat-Minneapolis, LLC (8622); HopCat-Port St. Lucie, LLC (0616); HopCat-Royal Oak, LLC (1935);
    HopCat-St. Louis, LLC (6994); Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and
    McFadden’s Restaurant Saloon) (4255).


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related relief; and Project BarFly LLC (together with its permitted successors, designees, and

assigns, “Buyer”) having submitted a bid, which bid was the Successful Bid for substantially all

of the Debtors’ assets; and the Court having jurisdiction to consider the Motion pursuant to 28

U.S.C. §§ 157 and 1334; and venue of these chapter 11 cases and the Motion in this district

being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding

pursuant to 28 U.S.C. § 157(b); and the Court having found that proper and adequate notice of

the Motion and the relief requested therein has been provided in accordance with the Bankruptcy

Rules, and that, except as otherwise ordered herein, no other or further notice is necessary; and

any objections (if any) to the Motion having been withdrawn or overruled on the merits other

than with respect to (i) the Limited Objection to Notice of Assumption and Assignment of

Executory Contracts and Unexpired Leases filed by Gordon Food Service, Inc. (“GFS”) [Docket

No. 228], and (ii) the Objection to Adequate Assurance of Future Performance Provided by

Stalking Horse Bidder filed by GFS [Docket No. 288] (together, the “GFS Objections”); and a

hearing on the Motion (the “Sale Hearing”) having been held to consider the relief requested in

the Motion and to review and consider (i) the Motion and the exhibits thereto, (ii) the Asset

Purchase Agreement, dated as of July 9, 2020, by and among the Debtors and Buyer, a copy of

which is attached hereto as Exhibit B (together with any schedules and exhibits thereto, and as

amended, restated, supplemented, or otherwise modified from time to time, the “Purchase

Agreement”)2 whereby the Debtors have agreed, among other things, to sell the Purchased

Assets (as defined in the Asset Purchase Agreement as modified herein) to Buyer on the terms

and conditions set forth in the Purchase Agreement (collectively, the “Sale Transaction”), (iii)

the Response of CIP Administrative, LLC, In Its Capacity as Administrative Agent for the


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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Purchase
    Agreement or, if not defined in the Purchase Agreement, the meanings ascribed to them in the Motion.

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Prepetition Lenders, to Objections to Sale Motion [Docket No. 333], and (iv) the declarations of

Robert S. Hersch and Ned Lidvall in support of the Motion, and upon the record of the Sale

Hearing and all of the proceedings had before the Court; and the Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors, their

estates, their creditors and all other parties-in-interest; and that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein; and upon the full record of

the Sale Hearing and other pleadings and proceedings in these chapter 11 cases, including the

Motion; and after due deliberation and sufficient cause appearing therefor,

        THE COURT HEREBY FINDS, DETERMINES, AND CONCLUDES THAT:

                    A.   Fed. R. Bankr. P. 7052. The findings and conclusions set forth herein

constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052,

made applicable to this proceeding pursuant to rule 9014 of the Bankruptcy Rules, and shall take

immediate effect upon execution hereof. To the extent that any of the following findings of fact

constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such. The Court’s findings

shall also include any oral findings of fact and conclusions of law made by this Court during or

at the conclusion of the Sale Hearing.

                    B.   Jurisdiction and Venue. The Court has jurisdiction to consider and decide

the Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant

to 28 U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                    C.   Final Order. This Order constitutes a final and appealable order as set

forth in 28 U.S.C. § 158(a). The Debtors have demonstrated compelling circumstances and a

good, sufficient, and sound business purpose and justification for the immediate approval and

consummation of the Sale Transaction as contemplated by the Purchase Agreement. In the

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absence of a stay pending appeal, Buyer, being a good faith purchaser under section 363(m) of

the Bankruptcy Code and entitled to its protections, may close the sale contemplated by the

Purchase Agreement at any time after the entry of this Order and shall not be subject to the stay

provided by rules 6004(h) or 6006(d) of the Bankruptcy Rules.

                    D.   Statutory and Rule Predicates. The statutory and other legal predicates for

the relief sought in the Motion are sections 105(a), 363, and 365 of the Bankruptcy Code and

rules 2002, 6004, and 6006 of the Bankruptcy Rules.

                    E.   Opportunity to Object. A fair and reasonable opportunity to object or be

heard regarding the relief granted by this Order, including but not limited to, the assumption and

assignment of the Assumed Contracts and the Cure Costs (each as defined below), has been

afforded to all interested persons and entities, including, but not limited to, the Notice Parties (as

defined in the Motion).

                    F.   Sound Business Purpose. The Debtors have demonstrated that their entry

into the Purchase Agreement and related or ancillary agreements thereto or contemplated thereby

(collectively, the “Ancillary Agreements”) is supported by good, sufficient, and sound business

reasons.    A sale of the Purchased Assets and assumption of the Assumed Liabilities will

maximize the value of the Debtors’ estates, is fair and equitable, and represents a reasonable

exercise of the Debtors’ sound business judgment. The Debtors determined that the Purchase

Agreement constitutes the highest or otherwise best offer for the Purchased Assets and pursuant

to the terms and conditions of the Purchase Agreement, the Debtors have agreed to transfer to

Buyer all of the Debtors’ right, title, and interest in and to, and Buyer has agreed to assume

certain specified Assumed Liabilities that are not Excluded Liabilities related to, the Purchased

Assets free and clear of all Liens (as defined below) and, if and to the extent requested by Buyer,



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to assume and assign the Assumed Contracts (collectively, the “Assumed Contracts”) to Buyer

subject to the terms and conditions of the Purchase Agreement and this Order, and such

determination is a valid and sound exercise of the Debtors’ business judgment.

                    G.   Compliance with Bid Procedures. The Bid Procedures (as approved by

the Bid Procedures Order) were substantively and procedurally fair to all parties, were the result

of arm’s length negotiations, and provided a full, fair, and reasonable opportunity for any party

to make an offer to purchase the Purchased Assets. The Debtors, Buyer, and their respective

counsel and other advisors have complied with the Bid Procedures Order and the Bid Procedures

in all respects except as properly waived by the Debtors in the exercise of their fiduciary duties

in accordance with the Bid Procedures. Buyer submitted a Qualified Bid pursuant to the Bid

Procedures approved by the Court and was the Successful Bidder for the Purchased Assets in

accordance with the Bid Procedures Order and the Bid Procedures.

                    H.   Marketing Process. The Debtors and their advisors thoroughly and fairly

marketed the Purchased Assets and conducted the related sale process in good faith and in a fair

and open manner, soliciting offers to acquire the Purchased Assets from a wide variety of parties.

The sale process and the Bid Procedures were non-collusive, duly noticed, and provided a full,

fair, reasonable, and adequate opportunity for any person or entity that expressed an interest in

acquiring the Purchased Assets, or who the Debtors believed may have an interest in acquiring,

and be permitted and able to acquire, the Purchased Assets, to conduct due diligence, make an

offer to purchase the Debtors’ assets, including, without limitation, the Purchased Assets, and

submit higher and otherwise better offers for the Purchased Assets than Buyer’s Successful Bid.

The Debtors and Buyer have negotiated and undertaken their roles leading to the Sale

Transaction and entry into the Purchase Agreement in a diligent, non-collusive, fair, reasonable,



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and good faith manner.        The sale process conducted by the Debtors pursuant to the Bid

Procedures Order and the Bid Procedures resulted in the highest or otherwise best offer for the

Purchased Assets for the Debtors and their estates, was in the best interests of the Debtors, their

creditors, and all parties in interest, and any other transaction would not have yielded as

favorable a result.      There is no legal or equitable reason to delay consummation of the

transactions contemplated by the Purchase Agreement, including, without limitation, the Sale

Transaction.

                    I.   No Other Qualified Bids/Cancellation of Auction. The Debtors did not

receive any other Qualified Bids pursuant to the Bid Procedures and, consequently, in

accordance with Article III.F of the Bid Procedures, no Auction was held and the Buyer was

named the Successful Bidder upon the expiration of the Bid Deadline.

                    J.   Good Faith. Buyer is not an “insider” or “affiliate” of any of the Debtors

as those terms are defined in section 101 of the Bankruptcy Code. The Purchase Agreement and

the Ancillary Agreements, and each of the transactions contemplated therein, were negotiated,

proposed, and entered into by the Debtors and Buyer without collusion or fraud, in good faith,

and from arm’s-length bargaining positions and are substantively and procedurally fair to all

parties. Neither the Debtors nor Buyer has engaged in any conduct that would cause or permit

any part of the Purchase Agreement or the Ancillary Agreements to be avoidable under

section 363(n) of the Bankruptcy Code.          Buyer is purchasing the Purchased Assets, in

accordance with the Purchase Agreement, in good faith and is a good-faith purchaser under

section 363(m) of the Bankruptcy Code and, as such, is entitled to all of the protections afforded

thereby. In particular, (i) Buyer recognized that the Debtors were free to deal with any other

party interested in purchasing the Purchased Assets; (ii) Buyer in no way induced or caused the



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chapter 11 filing by the Debtors; (iii) Buyer has not violated section 363(n) of the Bankruptcy

Code by any action or inaction; (iv) no common identity of directors, managers, officers, or

controlling stockholders exists between Buyer, on the one hand, and any of the Debtors, on the

other hand; (v) Buyer complied with the Bid Procedures and all provisions of the Bid Procedures

Order; and (vi) all payments to be made, and all other material agreements or arrangements

entered into or to be entered into by Buyer in connection with the Sale Transaction, including the

Ancillary Agreements, have been disclosed. The Purchase Agreement was not entered into for

the purpose of hindering, delaying, or defrauding creditors under the Bankruptcy Code or under

laws of the United States, any state, territory, or possession, or the District of Columbia.

                    K.   Fair Consideration/Reasonably Equivalent Value.             The aggregate

consideration from Buyer for the Purchased Assets as set forth in the Purchase Agreement: (i) as

such consideration relates to the Purchased Assets, constitutes fair consideration and fair value

under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform Fraudulent

Conveyance Act, and other similar laws of the United States, any state, territory, possession, or

the District of Columbia, and any foreign jurisdiction; (ii) is the highest or otherwise best value

obtainable for the Purchased Assets; (iii) will provide a greater recovery to creditors than would

be provided by any other available alternative; and (iv) as such consideration relates to the

Purchased Assets, constitutes reasonably equivalent value (as that term is defined in each of the

Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, Uniform Voidable

Transaction Act, and section 548 of the Bankruptcy Code). Neither the Debtors nor Buyer

entered into or has agreed to enter into the Purchase Agreement or the Ancillary Agreements

with any fraudulent or otherwise improper purpose, including, without limitation, the purpose of

hindering, delaying, or defrauding any creditors of the Debtors.



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                    L.   No Successor or Other Derivative Liability. Except as otherwise set forth

herein or in the Purchase Agreement, upon Closing, and to the greatest extent permitted by

applicable law, Buyer shall not have any liability (including, but not limited to, any successor

liability) or other obligation of any of the Debtors arising under or related to the sale and transfer

of the Purchased Assets to Buyer or with respect to the Excluded Liabilities, provided that, upon

Closing, Buyer shall remain liable for the Assumed Liabilities. Without limiting the generality

of the foregoing, and except as otherwise expressly provided herein or in the Purchase

Agreement, Buyer shall not be liable for any claims against the Debtors or any of their

predecessors, affiliates employees, agents, or advisors, and Buyer shall have no successor or

vicarious liabilities of any kind or character, including, without limitation, under any theory of

antitrust, environmental, successor, or transfer liability, labor law, de facto merger, mere

continuation, or substantial continuity, whether known or unknown as of Closing, now existing,

or hereafter arising, whether fixed or contingent, whether asserted or unasserted, whether legal or

equitable, whether liquidated or unliquidated, including, without limitation, liabilities on account

of warranties, intercompany loans, receivables among the Debtors and their affiliates,

environmental liabilities, and any taxes arising, accruing, or payable under, out of, in connection

with, or in any way relating to the operation of any of the Purchased Assets prior to the Closing.

For the avoidance of doubt, the Debtors are deemed to release and forever discharge Buyer and

any of its affiliates, successors, and assigns from any and all claims, causes of action,

obligations, liabilities, demands, losses, costs, and expenses of any kind, character, or nature

whatsoever, known or unknown, fixed or contingent, relating to the Sale Transaction or

operation of the Purchased Assets prior to Closing, except for the Assumed Liabilities. Buyer is

not, and the consummation of the Sale Transaction will not render Buyer, a mere continuation,



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and Buyer is not holding itself out as a mere continuation, of any of the Debtors or their

respective estates, enterprise, or operations, and there is no continuity or common identity

between Buyer and the Debtors. Accordingly, the Sale Transaction does not amount to a

consolidation, merger, or de facto merger of Buyer with or into any of the Debtors or their

estates and Buyer is not, and shall not be deemed to be, a successor to any of the Debtors or their

estates as a result of the consummation of the Sale Transaction. Buyer would not have entered

into the Purchase Agreement if the transfer of the Purchased Assets were not made free and clear

of any successor liability to Buyer.

                    M.   Sale Notice. As shown by the certificates of service filed with the Court

and the representations or proffers made on the record at the Sale Hearing, (i) the Debtors have

provided proper, timely, adequate, and sufficient notice of and sufficient opportunity to object to

the Motion and the relief requested therein (including the Debtors’ requested findings with

respect to successor liability), the bidding process (including, without limitation, the deadline for

submitting Qualified Bids), the Sale Hearing, the Sale Transaction, and the proposed entry of this

Order in compliance with all applicable requirements of the Bankruptcy Code and the

Bankruptcy Rules, (ii) such notice was adequate and sufficient under the circumstances of these

chapter 11 cases and complied with the Bid Procedures Order and other orders of the Court, and

(iii) no other or further notice is required.

                    N.   Title to Assets. The Purchased Assets constitute property of the Debtors’

estates and title or rights thereto is currently vested in the Debtors’ estates within the meaning of

section 541(a) of the Bankruptcy Code.

                    O.   Satisfaction of Section 363(f) Standards. The conditions of section 363(f)

of the Bankruptcy Code, including 363(f)(2), have been satisfied in full. Upon entry of this



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Order, the Debtors are authorized to transfer all of their right, title, and interest in and to the

Purchased Assets free and clear of any and all claims (as such term is defined by section 101(5)

of the Bankruptcy Code), liabilities (including any liability that results from, relates to, or arises

out of tort or any other product liability claim), interests, and matters of any kind and nature

whatsoever, including, without limitation, hypothecations, mortgages, security deeds, deeds of

trust, debts, levies, indentures, restrictions (whether on voting, sale, transfer, disposition, or

otherwise), leases, licenses, easements, rights of way, encroachments, instruments, preferences,

priorities, security agreements, conditional sales agreements, title retention contracts and other

title retention agreements and other similar impositions, options, judgments, offsets, rights of

recovery, rights of preemption, rights of setoff, profit sharing interest, other third party rights,

other impositions, or restrictions on transfer or use of any nature whatsoever, claims for

reimbursement, claims for contribution, claims for indemnity, claims for exoneration, products

liability claims, alter-ego claims, successor-in-interest claims, successor liability claims,

substantial continuation claims, withdrawal liability claims, environmental claims, claims under

or relating to any employee benefit plan, ERISA affiliate plan, or ERISA (including any pension

or retirement plan) or any claims under state or other laws of similar effect, tax claims (including

claims for any and all foreign, federal, state, and local taxes, including, but not limited to, sales,

income, use, or any other type of tax), escheatment claims, reclamation claims, obligations,

liabilities, demands, and guaranties, and other encumbrances relating to, accruing, or arising any

time prior to the Closing Date, duties, responsibilities, obligations, demands, commitments,

assessments, costs, expense, losses, expenditures, charges, fees, penalties, fines, contributions,

premiums, encumbrances, guaranties, pledges, consensual or nonconsensual liens (including any

liens as that term is defined in section 101(37) of the Bankruptcy Code), statutory liens, real or



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personal property liens, mechanics’ liens, materialman’s liens, warehouseman’s liens, tax liens,

security interests, charges, options (including in favor of third parties), rights, contractual

commitments, restrictions, restrictive covenants, covenants not to compete, rights to refunds,

escheat obligations, rights of first refusal, rights and restrictions of any kind or nature whatsoever

against the Debtors or the Purchased Assets, including, without limitation, any debts arising

under or out of, in connection with, or in any way relating to, any acts or omissions, obligations,

demands, guaranties, rights, contractual commitments, restrictions, product liability claims,

environmental liabilities, employee pension or benefit plan claims, multiemployer benefit plan

claims, retiree healthcare or life insurance claims, or claims for taxes of or against the Debtors,

and any derivative, vicarious, transferee, or successor liability claims, rights or causes of action

(whether in law or in equity, under any law, statute, rule, or regulation of the United States, any

state, territory, or possession, or the District of Columbia), whether arising prior to or subsequent

to the commencement of these chapter 11 cases, whether known or unknown, choate or inchoate,

filed or unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, secured

or unsecured, perfected or unperfected, allowed or disallowed, contingent or non-contingent,

liquidated or unliquidated, matured or unmatured, material or non-material, disputed or

undisputed, and whether imposed by agreement, understanding, law, equity, or otherwise,

including claims otherwise arising under doctrines of successor liability, successor-in-interest

liability, continuation liability, or substantial continuation liability, including, without limitation,

that the Buyer is in any way a successor, successor-in-interest, continuation, or substantial

continuation of the Debtors or their business, arising under or out of, in connection with, or in

any way related to the Debtors, the Debtors’ interests in the Purchased Assets, the operation of

the Debtors’ respective businesses at or before the effective time of the Closing pursuant to the



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Purchase Agreement, or the transfer of the Debtors’ interests in the Purchased Assets to Buyer,

and all Excluded Liabilities (collectively, excluding any Assumed Liabilities and Permitted

Liens, “Liens”), as provided for in the Purchase Agreement because in each case one or more of

the standards set forth in section 363(f)(1)–(5) of the Bankruptcy Code has been satisfied.

Except as otherwise expressly provided in the Purchase Agreement or this Order, such Liens

shall attach to the proceeds allocated to the Debtors in the order of their priority, with the same

validity, force and effect which they have against the Purchased Assets immediately prior to the

Closing, subject to any claims and defenses the Debtors may possess with respect to such Liens.

Those holders of Liens against the Purchased Assets who did not object or who withdrew their

objections to the Purchase Agreement or the Motion are deemed to be bound by the terms of this

Order as the transactions contemplated by the Purchase Agreement pursuant to section 363(f)(2).

In addition, one or more of the other subsections of sections 363(f) of the Bankruptcy Code

apply and, therefore, holders of Liens with an interest in the Purchased Assets owned by the

Debtors are found to be adequately protected by having their Liens that constitute interests in

such Purchased Assets attach solely to the proceeds of the Sale Transaction in the same order of

priority and with the same extent, validity, force, and effect that such holders had prior to the

Sale Transaction and by providing for the distributions provided for herein. All persons having

Liens of any kind or nature whatsoever against the Debtors or the Purchased Assets owned by

the Debtors shall be forever barred from pursuing or asserting such Liens against Buyer or any of

their respective assets, property, affiliates, successors, assigns, or the Purchased Assets.

                    P.   Buyer would not have entered into the Purchase Agreement and would not

consummate the transactions contemplated thereby, thus adversely affecting the Debtors and

their estates and creditors, if (i) the transfer of the Purchased Assets was not free and clear of all



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Liens and other interests, including, without limitation, any rights or Liens based on any

successor or transferee liability, as set forth in the Purchase Agreement and this Order, or (ii) the

Buyer would, or in the future could, be liable for any such Liens, including, without limitation,

any rights or Liens based on any successor or transferee liability. Buyer will not consummate

the Sale Transaction unless this Court expressly orders that none of Buyer, its affiliates, their

present or contemplated members or shareholders, or the Purchased Assets will have any liability

whatsoever with respect to, or be required to satisfy in any manner, whether at law or equity, or

by payment, setoff, or otherwise, directly or indirectly, any Liens and other interests, including

rights or claims based on any successor or transferee liability, other than expressly provided

herein or in the Purchase Agreement. The total consideration to be provided under the Purchase

Agreement reflects Buyer’s reliance on this Order to provide, pursuant to sections 105(a)

and 363(f) and (m) of the Bankruptcy Code, that, upon the Closing, Buyer has title to, interest in,

and possession of the Purchased Assets free and clear of all Liens. A sale of the Purchased

Assets, other than one free and clear of all Liens, would yield substantially less value for the

Debtors’ estates.

                    Q.   Assumption and Assignment of the Assumed Contracts. The assumption

and assignment of the Assumed Contracts are integral to the Purchase Agreement, are in the best

interests of the Debtors and their estates, and represent the reasonable exercise of the Debtors’

sound business judgment.        Specifically, the assumption and assignment of the Assumed

Contracts (i) are necessary to sell the Purchased Assets to Buyer, (ii) allow the Debtors to sell

their business to Buyer as a going concern, (iii) allow the Debtors to maximize the value of the

Purchased Assets, including the Assumed Contracts, (iv) limit the losses suffered by the

counterparties to the Assumed Contracts, and (v) maximize the recoveries to other creditors of



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the Debtors by limiting the amount of claims against the Debtors’ estates by avoiding the

rejection of the Assumed Contracts.

                    R.   With respect to each of the Assumed Contracts, the Debtors and Buyer

have met all requirements of section 365(b) of the Bankruptcy Code, subject only to the GFS

Objections to the extent they are not withdrawn or overruled by separate order. Further, in

compliance with the requirements of sections 365(b) and 365(f) of the Bankruptcy Code, Buyer

has provided adequate assurance of future performance under the Assumed Contracts to the

extent that any such assurance is required and not waived by the counterparties to such Assumed

Contracts, subject only to the GFS Objections to the extent they are not withdrawn or overruled

by separate order. Accordingly, the Assumed Contracts may be assumed by the Debtors and

assigned to Buyer as provided for in the Purchase Agreement and this Order.

                    S.   The authority hereunder for the Debtors to assume and assign any

Assumed Contract to Buyer includes the authority to assume and assign an Assumed Contract, as

amended (including amendments entered into by the Debtors in accordance with paragraph 25 of

this Order).

                    T.   The assignments by the applicable Debtors of each of the Assumed

Contracts are made in good faith under sections 363(b) and (m) of the Bankruptcy Code.

                    U.   Cure Notice; Adequate Assurance of Future Performance. As shown by

the certificates of service filed with the Court, the Debtors have served upon each non-Debtor

counterparty to certain executory contracts and unexpired leases (each, a “Counterparty”), prior

to the Sale Hearing, a notice, dated July 24, 2020 [Docket No. 198] (the “Notice of Potential

Assignment”), (i) that Debtors may wish to assume and assign the contracts or leases identified

on the Notice of Potential Assignment (the “Contracts and Leases”) to the Buyer pursuant to



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section 365 of the Bankruptcy Code and (ii) of the related proposed cure costs due under

section 365(b) of the Bankruptcy Code (the “Cure Costs”) with respect to the Contracts and

Leases. In accordance with the Bidding Procedures Order, if the Debtors or Buyer identify

additional executory contracts or unexpired leases that might be assumed by the Debtors and

assigned to the Buyer or that were not set forth in the original Notice of Assumption and

Assignment, the Debtors will promptly file with the Court and send a Supplemental Notice of

Assumption and Assignment to the applicable Counterparties to such additional executory

contracts and unexpired leases. The service of the Notice of Potential Assignment was good,

sufficient, and appropriate under the circumstances of these chapter 11 cases and complied with

the Bid Procedures Order and other orders of the Court, and no other or further notice is required

with respect to the Cure Costs for the assumption and assignment of the Contracts and Leases,

including without limitation Buyer’s provision of adequate assurance of future performance. All

Counterparties to the Contracts and Leases have had a reasonable opportunity to object to the

Cure Costs listed on the Notice of Potential Assignment in accordance with the Bid Procedures

Order and to the assumption and assignment of such Assumed Contract to Buyer in accordance

with the Bid Procedures Order. Accordingly, all Counterparties to Contracts and Leases who did

not object or who withdrew their objections to the Cure Costs listed on the Notice of Potential

Assignment prior to the Sale Hearing are deemed to have consented to such Cure Costs, and all

Counterparties to Assumed Contracts who did not file an objection to the assumption by the

Debtors of such Assumed Contracts and the assignment thereof to Buyer prior to the Sale

Hearing are deemed to have consented to the assumption of such Assumed Contract and the

assignment thereof to Buyer. For the avoidance of doubt, any assumption and assignment of the

Distribution Agreement among GFS and certain of the Debtors dated April 23, 2018 (the “GFS



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Distribution Agreement”) remains subject to the GFS Objections to the extent they are not

withdrawn or overruled by separate order.

                    V.   All Counterparties to the Assumed Contracts have had a reasonable

opportunity to object to Buyer’s ability to provide adequate assurance of future performance as

contemplated under sections 365(b)(l)(C) and 365(f)(1) of the Bankruptcy Code, in accordance

with the Bid Procedures Order. Accordingly, all Counterparties to Assumed Contracts who did

not object or who withdrew their objections to Buyer’s ability to provide adequate assurance of

future performance under the Assumed Contracts are bound by the terms of this Order as to the

assumption of such Assumed Contract and the assignment thereof to Buyer. The filed objections

at [Docket Nos. 216, 217, 220, 223, 225, 227, 259, 268, 290, and 300] relating to the Assumed

Contracts were adjourned or resolved as set forth on the record at the Sale Hearing. For the

avoidance of doubt, the GFS Objections [Docket Nos. 228 and 288] remain pending.

                    W.   Liquor Licenses. Alcohol sales are currently conducted in connection

with the Purchased Assets pursuant to the Liquor Licenses. The sale of alcohol is an important

component of the Debtors’ business and the continued sale of alcohol in connection with the

Purchased Assets is essential to the Buyer’s consummation of the Sale Transaction. It is in the

best interests of the estates and all other parties in interest for such alcohol sales to continue

uninterrupted during the transition of ownership from the Debtors to the Buyer after the Closing.

                    X.   Record Retention. Pursuant to the terms of and subject to the limitations

and conditions in the Purchase Agreement, following the Closing the Debtors, their successors

and assigns, and any trustee in bankruptcy will have reasonable access to the Debtors’ books and

records for any reasonable business purpose or compliance with any obligation, including

administration of these chapter 11 cases. To the extent that the Debtors maintain books and



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records electronically, an electronic copy of such books and records shall remain with the

Debtors after the Closing.

                    Y.   Corporate Power and Authority.    The Debtors and their applicable

affiliates have (i) full corporate or similar power and authority to execute and deliver the

Purchase Agreement, the Ancillary Agreements, and all other documents contemplated thereby,

(ii) all corporate or similar authority necessary to consummate the transactions contemplated by

the Purchase Agreement and the Ancillary Agreements, and (iii) taken all corporate actions

necessary to authorize and approve the Purchase Agreement, the Ancillary Agreements, and the

consummation of the transactions contemplated thereby. No consents or approvals, other than

those expressly provided for in the Purchase Agreement, are required for the Debtors to execute

the Purchase Agreement or consummate the transactions contemplated thereby.

                    Z.   Valid and Binding Contract; Validity of Transfer.       The Purchase

Agreement is a valid and binding contract between the Debtors and Buyer and shall be

enforceable pursuant to its terms. The Purchase Agreement, the Ancillary Agreements, and the

Sale Transaction itself, and the consummation thereof shall be specifically enforceable against

and binding upon (without posting any bond) the Debtors and any chapter 11 trustee appointed in

these chapter 11 cases, or in the event these chapter 11 cases are converted to a case under

chapter 7 of the Bankruptcy Code, a chapter 7 trustee, and shall not be subject to rejection or

avoidance by the foregoing parties or any other Person.        The consummation of the Sale

Transaction is legal, valid, and properly authorized under all applicable provisions of the

Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(f), 363(m), 365(b),

and 365(f) of the Bankruptcy Code and all of the applicable requirements of such sections have

been complied with in respect of the Sale Transaction.



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                    AA.   No Sub Rosa Plan. The Sale Transaction, the Purchase Agreement, and

the other transactions contemplated thereby do not constitute a sub rosa chapter 11 plan. The

Sale Transaction neither impermissibly restructures the rights of the Debtors’ creditors nor

impermissibly dictates a liquidating chapter 11 plan for the Debtors.

                    BB.   Waiver of Bankruptcy Rules 6004(h) and 6006(d).         The Debtors have

demonstrated (i) good, sufficient, and sound business purposes and justifications for approving

the Purchase Agreement and the Sale Transaction and (ii) compelling circumstances for the

immediate approval and consummation of the transactions contemplated by the Purchase

Agreement and all other Ancillary Agreements for the Sale Transaction outside of (a) the

ordinary course of business, pursuant to section 363(b) of the Bankruptcy Code, and (b) a

chapter 11 plan, in that, among other things, the immediate consummation of the Sale

Transaction to the Buyer and all transactions contemplated thereby are necessary and appropriate

to maximize the value of the Debtors’ estates. Accordingly, there is cause to waive the stay

contemplated by Bankruptcy Rules 6004 and 6006 with respect to the transactions contemplated

by this Order. To maximize the value of the Purchased Assets and preserve the viability of the

Business, it is essential that the Sale Transaction occur within the time constraints set forth in the

Purchase Agreement. Time is of the essence in consummating the Sale Transaction. Given all

of the circumstances of the chapter 11 cases and the adequacy and fair value of the Purchase

Price under the Purchase Agreement, the proposed Sale Transaction constitutes a reasonable and

sound exercise of the Debtors’ business judgment that should be, and hereby is, approved.

                    CC.   Personally Identifiable Information.   The appointment of a consumer

privacy ombudsman pursuant to section 363(b)(1) or section 332 of the Bankruptcy Code is not

required with respect to the relief requested in the Motion.



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                    DD.   Legal and Factual Bases. The legal and factual bases set forth in the

Motion establish just cause for the relief granted herein. Entry of this Order is in the best

interests of the Debtors and their estates, creditors, interest holders and all other parties in

interest.

        IT IS HEREBY ORDERED THAT:

                    1.    To the extent not already approved pursuant to the Bid Procedures Order,

the Motion is GRANTED as set forth herein.

                    2.    Objections.   All objections, reservations of rights regarding, or other

responses to the Motion or the relief requested therein, the Purchase Agreement, all other

Ancillary Agreements, the Sale Transaction, the entry of this Order, or the relief granted herein,

including, without limitation, any objections to Cure Costs or relating to the cure of any defaults

under any of the Assumed Contracts or the assumption and assignment of any of the Assumed

Contracts to the Buyer by the Debtors, including with respect to Buyer’s ability to provide

adequate assurance of future performance under the Assumed Contracts, solely as it relates to the

relief granted by this Order that have not been adjourned, withdrawn, or resolved are overruled

in all respects on the merits with prejudice, except as otherwise set forth herein. All persons and

entities that failed to object timely to the Motion are deemed to have consented to the relief

granted herein for all purposes.

                    3.    Notice. Notice of the Motion, the Sale Hearing, the Purchase Agreement,

the assumption and assignment of the Assumed Contracts, and the relief granted in this Order

was fair, sufficient, proper, and equitable under the circumstances, and complied in all respects

with sections 102(1), 363, and 365 of the Bankruptcy Code, rules 2002, 6004, and 6006 of the

Bankruptcy Rules, the Bid Procedures Order, and other orders of the Court.



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                    4.   Fair Purchase Price. The consideration to be provided by Buyer under the

Purchase Agreement is fair and reasonable and constitutes (a) reasonably equivalent value under

the Bankruptcy Code, the Uniform Voidable Transactions Act, and the Uniform Fraudulent

Transfer Act, (b) fair consideration under the Uniform Fraudulent Conveyance Act,

(c) reasonably equivalent value, fair consideration, and fair value under any other applicable

laws of the United States, any state, territory or possession, or the District of Columbia, and

(d) valid and valuable consideration for the release of any potential Liens pursuant to this Order,

which release shall be deemed to have been given in favor of Buyer by all holders of Liens of

any kind whatsoever against all of the Debtors and all of the Purchased Assets, other than as

otherwise expressly set forth in this Order.

                    5.   Approval of the Purchase Agreement. The Purchase Agreement and the

Sale Transaction, including, without limitation, all transactions contemplated therein or in

connection therewith (including the Ancillary Agreements) and all of the terms and conditions

thereof, are hereby approved in their entirety, subject to the terms and conditions of this Order.

The failure specifically to include or make reference to any particular provisions of the Purchase

Agreement in this Order shall not impair the effectiveness of such provision, it being the intent

of the Court that the Purchase Agreement, the Sale Transaction, and the transactions

contemplated therein or in connection therewith (including the Ancillary Agreements) are

authorized and approved in their entirety.

                    6.   Consummation of Sale Transaction.       Pursuant to sections 105, 363,

and 365 of the Bankruptcy Code, the Debtors are authorized and directed to perform their

obligations under and comply with the terms of the Purchase Agreement and the Ancillary

Agreements, pursuant to and in accordance with the terms and conditions of the Purchase



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Agreement, the Ancillary Agreements, and this Order. The Debtors, as well as their affiliates,

officers, employees, and agents, are authorized to execute and deliver, and empowered to

perform under, consummate, and implement, the Purchase Agreement, together with all

additional instruments and documents that may be reasonably necessary or desirable to

implement the Purchase Agreement, the Ancillary Agreements, and the Sale Transaction,

including the Ancillary Agreements, and to take all further actions and execute such other

documents as may be (a) necessary or appropriate to the performance of the obligations

contemplated by the Purchase Agreement, including, without limitation, making any regulatory

filings necessary or advisable in connection with such transfer, and (b) as may be requested by

Buyer to implement the Purchase Agreement and the Sale Transaction, in accordance with the

terms thereof, without further order of the Court. The Buyer shall not be required to seek or

obtain relief from the automatic stay under section 362 of the Bankruptcy Code to enforce any of

its remedies under the Purchase Agreement, Ancillary Agreements, or any other Sale

Transaction-related document. The automatic stay imposed by section 362 of the Bankruptcy

Code is modified solely to the extent necessary to implement the preceding sentence and the

other provisions of this Order; provided, however, that the Court shall retain exclusive

jurisdiction over any and all disputes with respect thereto.

                    7.   Direction to Government Agencies.     To the greatest extent allowable

under applicable Law, each and every federal, state, local, or foreign government or

governmental or regulatory authority, agency, board, bureau, commission, court, department, or

other Governmental Entity is hereby directed to accept any and all documents and instruments

necessary and appropriate to consummate the Sale Transaction and the other transactions




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contemplated by the Purchase Agreement and the Ancillary Agreements and approved by this

Order.

                    8.   Transfer of Assets Free and Clear and Injunction. Upon the Closing,

pursuant to sections 105(a), 363(b), 365(b), and 363(f) of the Bankruptcy Code, the transfer of

the Purchased Assets to Buyer shall (a) constitute a legal, valid, and effective transfer of all of

Debtors’ right, title, and interest in and to such Purchased Assets subject to and in accordance

with the Purchase Agreement, (b) vest Buyer with all of the Debtors’ right, title, and interest in

and to such Purchased Assets, and (c) be free and clear of all Liens against the Debtors and the

Purchased Assets (including Liens of any Governmental Entity), with such Liens attaching to the

proceeds allocated to the Debtors in the order of their priority, with the same validity, force, and

effect that they had against such Purchased Assets immediately prior to the Closing. All persons

or entities that are presently, or on or after the Closing may be, in possession of some or all of the

Purchased Assets, are hereby directed to surrender possession of the Purchased Assets to Buyer

or its respective designees on the Closing Date or at such time thereafter as Buyer may request.

                    9.   Notwithstanding anything contained herein or in any other document, in

accordance with the Purchase Agreement, all fee interests, rights-of-way, easements, real

property interests, real rights, licenses, servitudes, permits, privileges, and leases (surface and

subsurface) owned or held by the Debtors, or hereinafter acquired by the Debtors prior to the

Closing, in each case, in connection with the Purchased Assets, constitute real property or a real

property interest, and together with the rights, tenements, appurtenant rights and privileges

related thereto (collectively, the “Real Property Interests”), shall, in accordance with the

Purchase Agreement, be transferred to Buyer, directly or indirectly, at the Closing

notwithstanding any consent rights, anti-assignment provisions, or any other provisions



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purporting to prohibit or condition the transfer or assignment of such Real Property Interests

contained in such Real Property Interests, or in any other document, and all such rights,

provisions, prohibitions, and conditions shall be void and of no force and effect with respect to

the Sale Transaction.

                    10.   To the extent provided for in the Purchase Agreement, any and all of the

Debtors’ security deposits, or other security held by landlords, lessors, and other counterparties

to the Assumed Contracts are being transferred and assigned to, and shall be the property of, the

Buyer from and after the Closing, which transfer and assignment of security deposits, other

deposits, or security shall satisfy in full the requirements of section 365(l) of the Bankruptcy

Code for all contracts, leases, and licenses assumed and assigned pursuant to this Order or the

Purchase Agreement.

                    11.   Subject to the terms, conditions, and provisions of this Order, all persons

and entities are hereby forever prohibited and barred from taking any action that would adversely

affect or interfere (a) with the ability of the Debtors to sell and transfer the Purchased Assets to

Buyer in accordance with the terms of the Purchase Agreement, the Ancillary Agreements, and

this Order and (b) with the ability of the Buyer to acquire, take possession of, use, and operate

the Purchased Assets in accordance with the terms of the Purchase Agreement, the Ancillary

Agreements, and this Order.         Notwithstanding the foregoing, nothing in this Order or the

Purchase Agreement shall prohibit any party from seeking to enforce or collect any of the

Assumed Liabilities against the Buyer.

                    12.   Except as otherwise provided in the Purchase Agreement or herein, all

Persons (and their respective successors and assigns) including, without limitation, the Debtors,

the Debtors’ estates, all debt security holders, equity security holders, governmental tax and



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regulatory authorities, lenders, customers, vendors, employees, former employees, litigation

claimants, trustees, trade creditors, and any other creditors (or agent of any of the foregoing) who

may or do hold Liens (whether legal or equitable, secured or unsecured, matured or unmatured,

contingent or noncontingent, senior or subordinated) against the Debtors or the Purchased Assets

owned by the Debtors arising under or out of, in connection with, or in any way relating to, the

Debtors, the Purchased Assets, the operation of the Purchased Assets by the Debtors prior to the

Closing, or the Sale Transaction, are hereby forever barred, estopped, and permanently enjoined

from asserting or pursuing such Liens against Buyer, its affiliates, successors, assigns, its

property, or the Purchased Assets, including, without limitation, taking any of the following

actions with respect to any Liens: (a) commencing or continuing in any manner any action,

whether at law or in equity, in any judicial, administrative, arbitral, or any other proceeding,

against Buyer, its affiliates, successors, assigns, assets (including the Purchased Assets), or

properties; (b) enforcing, attaching, collecting, or recovering in any manner any judgment,

award, decree, or order against Buyer, its affiliates, successors, assigns, assets (including the

Purchased Assets), or properties; (c) creating, perfecting, or enforcing any Lien against Buyer, its

affiliates, any of their respective successors, assigns, assets (including the Purchased Assets), or

properties; (d) asserting a Lien as a setoff, right of subrogation, or recoupment of any kind

against any obligation due against Buyer, its affiliates, or any of their respective successors or

assigns; or (e) commencing or continuing any action in any manner or place that does not

comply, or is inconsistent, with the provisions of this Order or the agreements or actions

contemplated or taken in respect thereof. No such Person shall assert or pursue against Buyer or

its affiliates, successors, or assigns any such Lien.




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                    13.   Licenses and Permits; Liquor Licenses. To the greatest extent allowable

under applicable Law, (a) the Buyer shall be authorized, as of the Closing Date, to operate under

any license, permit, approval, grant, certificate of occupancy, state food service license, local

occupational license, certificate of need, authorization, accreditation, operating permit, health

inspection permit, registration, plan, or any similar governmental authorization or approval of the

Debtors with respect to the Purchased Assets, including the Liquor Licenses (collectively, the

“Permits”), (b) all such Permits are deemed to have been, and hereby are, deemed to be

transferred to the Buyer as of the Closing Date, and (c) each Governmental Entity that has issued

or granted a Permit to, or for the benefit of, the Sellers shall be deemed to have consented to the

transfer of such Permit to the Buyer as of the Closing Date. To the maximum extent provided by

section 525 of the Bankruptcy Code, no Governmental Entity may revoke or suspend any Permit

sold, transferred, assigned, or conveyed, or deemed to be sold, transferred, assigned, or

conveyed, to the Buyer on account of the filing or pendency of these chapter 11 cases or the

consummation of the Sale Transaction.

                    14.   To the extent any Permit necessary for the operation of the Business at the

Continuing Restaurants is not an assumable and assignable executory contract, the Buyer shall

make reasonable efforts to apply for and obtain any such Permit promptly after the Closing Date.

To the greatest extent allowable under applicable law, all existing Permits applicable to the

Continuing Restaurants, including but not limited to the Liquor Licenses, shall remain in place

for the Buyer’s benefit until either new Permits are obtained or existing Permits are transferred in

accordance with applicable administrative procedures and to the extent any of the Continuing

Restaurants are operated under any such Permits after the Closing Date, the Buyer shall fully




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indemnify the Debtors, or any successor in interest to the Debtors, including a chapter 11 trustee

or chapter 7 trustee, for any and all costs and liabilities arising thereunder without limitation.

                    15.   With regard to the sale of alcohol at the Continuing Restaurants, pursuant

to the Purchase Agreement, the Debtors and all other parties in interest shall cooperate fully with

and support the Buyer in executing such applications and furnishing such documents as are

necessary for the Buyer to obtain Liquor License Approvals at the Buyer’s sole expense. Except

for violations of Law unrelated to the transfer of ownership of the Purchased Assets occurring

pursuant to the Purchase Agreement and this Sale Order, and to the greatest extent allowable

under applicable law, including, but not limited to, section 525 of the Bankruptcy Code, all law

enforcement and regulatory agencies shall not interrupt the Business conducted at the Continuing

Restaurants, including the sale of alcohol by the Buyer either on its own behalf, or on behalf of

one or more of the Debtors, without first obtaining relief from this Court. To the greatest extent

allowable under applicable law, the Buyer may continue to operate at the Continuing Restaurants

under existing Liquor Licenses and other Permits needed to operate at the Continuing

Restaurants, with no interruption of the business conducted at the premises, until the Liquor

License Approvals have been obtained and other Permits have been transferred or issued to the

Buyer; provided, however, to the extent such operation by the Buyer under the existing Liquor

Licenses gives rise to any liability against the Debtors the Buyer shall fully indemnify the

Debtors, or any successor in interest to the Debtors, including a chapter 11 trustee or chapter 7

trustee, for any and all costs and liabilities arising therefrom.

                    16.   Possession of any and all alcohol Inventory shall be surrendered to the

Buyer at the earliest of (a) immediately following Closing where allowed by applicable Law;

(b) receipt by the Buyer of authorization from the applicable Governmental Entity where



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required by applicable Law; or (c) receipt by the Buyer of the applicable Liquor License or

Liquor License Approval and the Debtors shall not purchase or sell alcohol Inventory after the

Closing for the Buyers or any other party; provided that, notwithstanding the foregoing, legal

possession of such Inventory shall not be surrendered to the Buyer if doing so would violate

applicable law in each applicable jurisdiction..

                    17.   If, and only if, the real estate lease, dated as of June 10, 2014, between

Liberty Maynard, L.L.C. and HopCat Ann Arbor, LLC, is not assumed and assigned to the Buyer

or its designee in accordance with the Purchase Agreement on the Closing Date, the Michigan

Class C Liquor License associated with such lease shall not be a Purchased Asset under the

Purchase Agreement and shall be abandoned to Liberty Maynard, L.L.C. and HopCat Ann

Arbor, LLC on the Closing Date.

                    18.   No Successor or Other Derivative Liability. Upon the Closing, all Persons

are permanently and forever prohibited from asserting against Buyer or the Purchased Assets any

Lien arising under any theory of successor or transferee liability, de facto merger, or continuity

liability, whether known or unknown as of the Closing, now existing or hereafter arising,

asserted or unasserted, fixed or contingent, liquidated, or unliquidated.

                    19.   This Order shall be effective as a determination that, upon the Closing, all

Liens as to the Purchased Assets prior to the Closing have been unconditionally released,

discharged, and terminated to the fullest extent permitted by applicable Law, and that the

conveyances described herein have been effected. In connection with the Closing, a certified

copy of this Order may be filed and/or recorded with the appropriate filing agents, filing officers,

administrative agencies or units, governmental departments, secretaries of state, federal, state,

and local officials, and all other persons, institutions, agencies, and entities who may be required



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by operation of law, the duties of their office, or contract evidencing the release, cancelation, and

termination provided herein of any Liens of record on the Purchased Assets prior to the date of

this Order.

                    20.   Following the Closing, no holder of any Lien shall interfere with Buyer’s

title to or use or enjoyment of the Purchased Assets based on or related to any Lien or based on

any actions or omissions by the Debtors, including any actions or omissions the Debtors may

take in these chapter 11 cases.

                    21.   If any Person that has filed statements or other evidence of Liens in

respect of the Purchased Assets shall not have delivered to the Debtors before the Closing after

due demand therefor, in proper form for filing and executed by the appropriate parties,

termination statements, instruments of satisfaction, releases of liens and easements, and any

other documents necessary for the purpose of documenting the release of such interests that such

Person has or may assert with respect to the Purchased Assets, the Debtors or Buyer are

authorized to execute and file such statements, instruments, releases, and other documents on

behalf of such Person with respect to such Purchased Assets without any further Order of the

Court.

                    22.   Except as expressly set forth in the Purchase Agreement, the Ancillary

Agreements or this Order, and except with respect to the Assumed Contracts, Buyer and each of

its affiliates, successors, assigns, members, partners, officers, directors, principals, and

shareholders shall have no liability whatsoever for any Liens, whether known or unknown as of

the Closing, now existing or hereafter arising, whether fixed or contingent, whether liquidated or

unliquidated, whether asserted derivatively or vicariously, whether asserted based on Buyer’s

status as a transferee, successor, or otherwise, of any kind, nature, or character whatsoever,



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including Liens based on, relating to, or arising under, without limitation: (a) any employment or

labor agreement; (b) any pension, welfare, compensation, or other Employee Benefit Plan,

agreements, practices, and programs, including, without limitation, any pension or Employee

Benefit Plan of or related to any of the Debtors or any Debtor’s affiliates or predecessors or any

current or former employees of any of the foregoing; (c) the Debtors’ business operations or the

cessation thereof; (d) any litigation involving one or more of the Debtors; (e) any employee,

workers’ compensation, occupational disease or unemployment or temporary disability related

law, including, without limitation, any claims, rights, or causes of action that might arise under

or pursuant to (i) the Employee Retirement Income Security Act of 1974, as amended, (ii) the

Fair Labor Standards Act, (iii) Title VII of the Civil Rights Act of 1964, (iv) the Federal

Rehabilitation Act of 1973, (v) the Worker Adjustment and Retraining Notification Act of 1988,

(vi) the Age Discrimination and Employee Act of 1967 and Age Discrimination in Employment

Act, as amended, (vii) the Americans with Disabilities Act of 1990, (viii) the Consolidated

Omnibus Budget Reconciliation Act of 1985, (ix) state and local discrimination laws, (x) state

and local unemployment compensation laws or any other similar state and local laws, (xi) state

workers’ compensation laws, or (xii) any other state, local, or federal employee benefit laws,

regulations, or rules or other state, local, or federal laws, regulations or rules relating to, wages,

benefits, employment, or termination of employment with any or all Debtors or any of their

predecessors; (f) any antitrust laws; (g) any product liability or similar laws, whether state,

federal, or otherwise; (h) any environmental laws, rules, or regulations, including, without

limitation, under the Comprehensive Environmental Response, Compensation, and Liability Act,

42 U.S.C. §§ 9601, et seq., or similar state statutes; (i) any bulk sales or similar laws; (j) any

federal, state, or local tax statutes, rules, regulations, or ordinances, including, without limitation,



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the Internal Revenue Code of 1986, as amended; and (k) any common law doctrine of de facto

merger, successor, transferee, or vicarious liability, substantial continuity liability, successor-in-

interest liability theory, or any other theory of or related to successor liability.

                    23.   Upon the Closing, this Order shall be construed and shall constitute for

any and all purposes a full and complete general assignment, conveyance, and transfer of the

Purchased Assets transferring good and marketable, indefeasible title to and interest in all of the

Purchased Assets to Buyer pursuant to the terms of the Purchase Agreement.

                    24.   Assumption and Assignment of the Assumed Contracts. Subject to and

conditioned upon the Closing, the Debtors are hereby authorized in accordance with

sections 105(a) and 365 of the Bankruptcy Code to assume and assign the Assumed Contracts to

Buyer free and clear of all Liens, and to execute and deliver to Buyer such documents or other

instruments as may be necessary to assign and transfer the Assumed Contracts to Buyer as

provided in the Purchase Agreement. In accordance with the Bid Procedures Order and the

terms of this Order, following the Closing, Buyer shall be fully and irrevocably vested with all of

the Debtors’ right, title, and interest in and under the Assumed Contracts, free and clear of any

Liens, and each Assumed Contract shall be fully enforceable by Buyer in accordance with its

respective terms and conditions, except as limited by this Order. For the avoidance of doubt,

nothing in this paragraph affects Buyer’s right to re-designate an Assumed Contract for rejection

in accordance with Section 2.6(b) of the Purchase Agreement.

                    25.   In connection with the assumption and assignment of the Assumed

Contracts to Buyer in accordance with the terms of this Order and Section 2.6 of the Purchase

Agreement, the Debtors are authorized, upon the written consent of Buyer, to enter into any

amendment, modification, or similar agreement with a Counterparty to an Assumed Contract to



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modify the terms of such Assumed Contract prior to the effective date of assignment of such

Assumed Contract to Buyer.

                    26.   Adequate Assurance of Future Performance. All of the requirements of

sections 365(b) and 365(f) of the Bankruptcy Code, including without limitation, the

demonstration of adequate assurance of future performance, have been satisfied for the

assumption by the Debtors, and the assignment by the Debtors to Buyer, solely with respect to

the Assumed Contracts, subject only to the GFS Objections to the extent they are not withdrawn

or overruled by separate order. Buyer has satisfied its adequate assurance of future performance

requirements with respect to the Assumed Contracts and has demonstrated it is sufficiently

capitalized or otherwise able to comply with the necessary obligations under the Assumed

Contracts, subject only to the GFS Objections to the extent they are not withdrawn or overruled

by separate order. The GFS Objections are adjourned to October 18, 2020 at 10:00 a.m. (Eastern

Time) for further hearing.

                    27.   Cure Costs. The Cure Costs set forth on Exhibit A annexed hereto (the

“Final Cure Schedule”) are the sole amounts, if any, necessary under sections 365(b)(1)(A) and

(B) and 365(f)(2)(A) of the Bankruptcy Code, except as otherwise agreed to in writing by the

Buyer and the applicable Counterparty with respect to such Cure Cost, to cure all defaults and

pay all actual losses under the Assumed Contracts, subject only to the GFS Objections to the

extent they are not withdrawn or overruled by separate order and except as set forth on Exhibit A

with respect to GFS. To the extent a Counterparty to an Assumed Contract failed to timely

object to a Cure Cost, such Cure Cost has been and shall be deemed to be finally determined as

set forth on the Final Cure Schedule, and any such Counterparty shall be barred, and forever

prohibited from: (i) challenging, objecting to, or denying the validity and finality of the Cure



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Cost as of the Closing Date, and (ii) asserting against the Debtors, their estates, Buyer, and their

respective successors and assigns, any pecuniary loss resulting from a default allegedly arising or

occurring under the Assumed Contracts before the Closing Date.

                    28.   Payment of Cure Costs. Except as otherwise specifically provided for by

order of the Court, or as otherwise agreed to in writing between the Debtor and the Counterparty,

all defaults or other obligations of the Debtors under the Assumed Contracts arising or accruing

prior to the Closing Date or required to be paid pursuant to section 365 of the Bankruptcy Code

in connection with the assumption and assignment of the Assumed Contracts (in each case,

without giving effect to any acceleration clauses or any default provisions of the kind specified

in section 365(b)(2) of the Bankruptcy Code), whether monetary or non-monetary, shall be

promptly cured pursuant to the terms of the Purchase Agreement and this Order by the Debtors’

payment of the applicable Cure Cost in accordance with the Purchase Agreement and as set forth

on the Final Cure Schedule. The failure of the Debtors or Buyer to enforce at any time one or

more terms or conditions of any Assumed Contract shall not be a waiver of such terms or

conditions, or of the Debtors’ and Buyer’s rights to enforce every term and condition of such

Assumed Contract.

                    29.   Buyer’s Standing; Debtors’ Standing. The Buyer shall have standing to

object to the allowance of claims (as such term is defined in section 101(5) of the Bankruptcy

Code) asserted against the Debtors or their estates including, without limitation, any unresolved

or disputed Assumed Liabilities or otherwise, that constitute obligations assumed by the Buyer

pursuant to the terms of the Purchase Agreement. Nothing in this Order shall divest the Debtors

of their standing or duty as debtors-in-possession under the Bankruptcy Code from reconciling




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claims asserted against the Debtors or their estates and objecting to any such claims that should

be reduced, reclassified, or otherwise disallowed.

                    30.   Ipso Facto Clauses Ineffective. With respect to the Assumed Contracts, in

connection with the Sale Transaction: (a) the Debtors may assume each of the Assumed

Contracts in accordance with section 365 of the Bankruptcy Code; (b) the Debtors may assign

each Assumed Contract in accordance with sections 363 and 365 of the Bankruptcy Code, and

any provisions in any Assumed Contract that prohibit or condition the assignment of such

Assumed Contract or allow the party to such Assumed Contract to terminate, recapture, impose

any penalty, condition renewal or extension, or modify any term or condition upon the

assignment of such Assumed Contract, constitute unenforceable anti-assignment provisions

which are void and of no force and effect; (c) all other requirements and conditions under

sections 363 and 365 of the Bankruptcy Code for the assumption by the Debtors and assignment

to the Buyer of each Assumed Contract have been satisfied; and (d) effective upon the Closing

Date or any later applicable effective date with respect to a particular Assumed Contract, the

Assumed Contracts shall be transferred and assigned to, and from and following the Closing or

such later applicable effective date shall remain in full force and effect for the benefit of, the

Buyer, notwithstanding any provision in any Assumed Contract (including those of the type

described in sections 365(b)(2) and (e) of the Bankruptcy Code) that prohibits, restricts, or

conditions such assignment or transfer and, pursuant to section 365(k) of the Bankruptcy Code,

the Buyer shall be deemed to be substituted for the applicable Debtor as a party to the applicable

Assumed Contract and the Debtors shall be relieved from any further liability with respect to the

Assumed Contracts after such assumption by the Debtors and assignment to the Buyer, except as

otherwise provided in the Purchase Agreement. To the extent any provision in any Assumed



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Contract assumed and assigned pursuant to this Order (x) prohibits, restricts, or conditions, or

purports to prohibit, restrict, or condition, such assumption and assignment (including, without

limitation, any “change of control” provision), or (y) is modified, breached, or terminated, or

deemed modified, breached, or terminated by any of the following: (i) the commencement of the

chapter 11 cases, (ii) the insolvency or financial condition of any of the Debtors at any time

before the closing of the chapter 11 cases, (iii) the Debtors’ assumption and assignment of such

Assumed Contract, (iv) a change of control or similar occurrence; or (v) the consummation of the

Sale Transaction, then such provision shall be deemed modified in connection with the Sale

Transaction so as not to entitle the Counterparty to prohibit, restrict, or condition such

assumption and assignment, to modify, terminate, or declare a breach or default under such

Assumed Contract, or to exercise any other default-related rights or remedies with respect

thereto, including without limitation, any such provision that purports to allow the Counterparty

to terminate or recapture such Assumed Contract, impose any penalty, additional payments,

damages, or other financial accommodations in favor of the Counterparty thereunder, condition

any renewal or extension thereof, impose any rent acceleration or assignment fee, or increase or

otherwise impose any other fees or other charges in connection therewith. All such provisions

constitute unenforceable anti-assignment provisions that are void and of no force and effect in

connection with the Sale pursuant to sections 365(b), 365(e), and 365(f) of the Bankruptcy Code.

                    31.   Use of PPP Cash. From the date hereof through and including the Closing

Date, the Sellers shall use the PPP Cash to (a) pay the Cure Amounts related to any Assumed

Contract for Leased Real Property, and, to the extent there is any PPP Cash remaining, (b) use

the remaining PPP Cash to pay the payroll (and any Taxes related thereto) of the Transferred

Employees until no PPP Cash remains; provided, however, if (x) the Closing Date is after 12:01



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a.m. (Eastern Time) on October 19, 2020 and (y) no PPP Cash remains, then the Buyer shall

reimburse the Debtors’ estates for each dollar of non-PPP Cash used for authorized PPP

expenses (e.g., rent, payroll, utilities, etc.) after 12:01 a.m. (Eastern Time) on October 19, 2020.

Notwithstanding anything in the Purchase Agreement or this Order to the contrary, and for the

avoidance of doubt, to the extent this paragraph 31 conflicts with any other terms of the Purchase

Agreement (including but not limited to Sections 2.1(a) 2.3(a), 2.3(d), and 5.9), the terms of this

paragraph 31 shall prevail.

                    32.   The Debtors shall use commercially reasonable efforts to provide the

Committee and any liquidating or chapter 7 trustee, as applicable, with all documentation

necessary to seek forgiveness of any amounts outstanding under any loan received by the

Debtors under the Coronavirus Aid, Relief and Economic Security Act’s Paycheck Protection

Program. The Debtors shall reasonably cooperate with the Committee and any liquidating or

chapter 7 trustee, as applicable, in pursuing any application requirements for such forgiveness.

                    33.   Wind-Down Budget.3 Upon the entry of an order (a) dismissing these

chapter 11 cases or (b) converting these chapter 11 cases to cases under chapter 7, to the extent

there are any funds remaining in the Wind-Down Budget, such remaining funds shall be turned

over to the Prepetition Secured Lenders.             The Wind-Down Budget shall account for the

aggregate allowed fees and expenses payable and/or reimbursable by the Debtors to the

Committee’s professionals, Sugar Felsenthal Grais & Helsinger, LLP, Jaffe Raitt Heuer &

Weiss, P.C., and Amherst Partners, in an amount not greater than $299,297.00. The aggregate

allowed fees payable and expenses reimbursable by the Debtors to their retained professionals

3
        For the avoidance of doubt, the Wind-Down Budget is predicated on the closing of the Sale Transaction
        occurring on or before October 19, 2020. The Debtors, the Buyer and the Committee shall work in good
        faith to prepare a revised Wind-Down Budget in the event that the Sale Transaction fails to close on or
        before October 19, 2020.


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Pachulski Stang Ziehl & Jones LLP, Warner Norcross + Judd LLP, and Rock Creek Advisors,

LLC, shall not be greater than 107.5 percent of the sum of total amounts budgeted to such

professionals as set forth in the Wind-Down Budget.4 Additionally, Buyer shall assume all

liabilities related to: (a) any Cure Costs associated with the assumption of the lease agreement

between Ionia Ventures, LLC and debtor GRBC Holdings, LLC and (b) any credit card

interchange fees and real estate property taxes in excess of the amounts set forth in the Wind-

Down Budget.

                    34.   Good Faith; Statutory Mootness. Buyer is a good faith purchaser within

the meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled to, and is hereby

granted, the full rights, benefits, privileges, and protections of section 363(m) of the Bankruptcy

Code.     The Sale Transaction contemplated by the Purchase Agreement and the Ancillary

Agreements is undertaken by Buyer without collusion and in good faith, as that term is defined

in section 363(m) of the Bankruptcy Code, and accordingly, the reversal or modification on

appeal of the authorization provided herein shall neither affect the validity of the Sale

Transaction (including the assumption and assignment of the Assumed Contracts) nor the

transfer of the Purchased Assets to Buyer, free and clear of all Liens pursuant to the Purchase

Agreement. The Debtors and Buyer will be acting in good faith if they proceed to consummate

the Sale Transaction at any time after entry of this Order.

                    35.   No Avoidance of Purchase Agreement. Neither the Debtors nor the Buyer

has engaged in any conduct that would cause or permit the Purchase Agreement to be avoided or



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        For the avoidance of doubt, the fees payable and expenses reimbursable by the Debtors to Mastodon
        Ventures, Inc., shall not be subject to such permitted variance but shall, instead, be subject to the amounts
        approved by the Order (I) Authorizing the Retention and Employment of Mastodon Ventures, Inc. as
        Investment Banker to the Debtors, Nunc Pro Tunc to the Petition Date, (II) Waiving the Information
        Requirements of Local Rule 2016-2(d), and (III) Granting Related Relief [Docket No. 274], as reflected in
        the Wind-Down Budget.

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costs or damages to be imposed under section 363(n) of the Bankruptcy Code. Accordingly, the

Purchase Agreement and the Sale Transaction shall not be avoidable under section 363(n) of the

Bankruptcy Code, and no party shall be entitled to any damages or other recovery pursuant to

section 363(n) of the Bankruptcy Code in respect of the Purchase Agreement or the Sale

Transaction.

                    36.   Modification of Purchase Agreement. Subject to the terms of the Purchase

Agreement and the Ancillary Agreements, as applicable, the Purchase Agreement, the Ancillary

Agreements, and any related agreements, documents, or other instruments may be modified,

amended, or supplemented through a written document signed by the parties thereto in

accordance with the terms thereof and this Order without further order of the Court; provided

that; (a) notwithstanding any such modification, amendment, or supplement, the sale of the

Purchased Assets to Buyer will still comply with the requirements of section 363 of the

Bankruptcy Code; and (b) such modifications, amendment, or supplement is not inconsistent

with this Order.

                    37.   Record Retention. Following the Closing, the Debtors, their successors

and assigns, and any trustee in bankruptcy will have access to the Debtors’ books and records for

the specified purposes set forth in, and subject to the terms and limitations contained in, the

Purchase Agreement. To the extent that the Debtors maintain books and records electronically,

an electronic copy of such books and records shall remain with the Debtors after the Closing.

                    38.   Standing.   The Purchase Agreement shall be in full force and effect,

regardless of any Debtor’s lack of good standing in any jurisdiction in which such Debtor is

formed or authorized to transact business.




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                    39.   Bulk Sales; Taxes. No bulk sales law, bulk transfer law, or any similar

law of any state or other jurisdiction shall apply to the Debtors’ conveyance of the Purchased

Assets or this Order.

                    40.   Reservation of Rights. Nothing in this Order shall be deemed to waive,

release, extinguish, or estop the Debtors or their estates from asserting or otherwise impair or

diminish any right (including any right of recoupment), claim, cause of action, defense, offset, or

counterclaim in respect of any asset that is not a Purchased Asset. All of the provisions of this

Order are non-severable and mutually dependent. To the extent that this Order is inconsistent

with any prior order or pleading with respect to the Motion in these chapter 11 cases, the terms

of this Order shall control.

                    41.   Conflicts. In the event there is a conflict between this Order and the

Purchase Agreement (including any Ancillary Agreements executed in connection therewith),

this Order shall control and govern.

                    42.   Waiver of Bankruptcy Rules 6004(h) and 6006(d). Notwithstanding the

provisions of rules 6004(h) and 6006(d) of the Bankruptcy Rules or any applicable provisions of

the Local Bankruptcy Rules for the United States Bankruptcy Court for the Western District of

Michigan, this Order shall not be stayed after the entry hereof, but shall be effective and

enforceable immediately upon entry, and the fourteen-day stay provided in rules 6004(h)

and 6006(d) of the Bankruptcy Rules is hereby expressly waived and shall not apply, and the

Debtors and Buyer are authorized and empowered to close the Sale Transaction immediately

upon entry of this Order.




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                    43.   Personally Identifiable Information. After giving due consideration to the

facts, circumstances, and conditions of the Purchase Agreement, the Sale Transaction is

consistent with the Debtors’ privacy policies concerning personally identifiable information and

no showing was made that the sale of any personally identifiable information contemplated in the

Purchase Agreement, subject to the terms of this Order, would violate applicable non bankruptcy

law.

                    44.   Binding Effect of this Order. This Order and the Purchase Agreement

shall be binding in all respects upon, and shall inure to the benefit of, Buyer, the Debtors’ estates,

the Debtors, their affiliates, any trustee appointed in the Debtors’ chapter 11 cases, all creditors

(whether known or unknown) of any Debtor, all holders of interests in the Purchased Assets, all

interested parties, and their successors and assigns. Any trustee appointed for the Debtors under

any provision of the Bankruptcy Code, whether the Debtors are proceeding under chapter 7 or

chapter 11 of the Bankruptcy Code, shall be authorized to (a) operate the business of the Debtors

to the fullest extent necessary to permit compliance with the terms of the Purchase Agreement

and the Ancillary Agreements and (b) perform under the Purchase Agreement and the Ancillary

Agreements without the need for further order of this Court.

                    45.   Subsequent Plan Provisions. Nothing contained in any chapter 11 plan

confirmed in the Debtors’ chapter 11 cases, any order confirming any such plan, or in any other

order in these chapter 11 cases (including any order entered after any conversion of any of these

chapter 11 cases to a case under chapter 7 of the Bankruptcy Code) or any related proceeding

subsequent to entry of this Order shall alter, conflict with, or derogate from the provisions of the

Purchase Agreement or this Order.




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                    46.   Retention of Jurisdiction. This Court retains exclusive jurisdiction with

respect to all matters arising from or related to the Purchase Agreement (and such other related

agreements, documents, or other instruments) and to interpret, implement, and enforce the terms

of this Order

                    47.   Prepetition Secured Lenders’ Deficiency Claim.          Notwithstanding

anything to the contrary contained in this Order or the Purchase Agreement, effective as of the

Closing (but only if the Closing actually occurs), the Prepetition Lenders shall waive, and receive

no distribution on account of, any and all unsecured deficiency claims with respect to the

Prepetition Obligations.

                    48.   Additional Cash Consideration for Purchased Assets. Notwithstanding

anything to the contrary contained in this Order or the Purchase Agreement, as additional

consideration for the sale and transfer of the Purchased Assets, the Purchase Price shall include

$225,000 in cash, payable by the Buyer to the Debtors on the Closing Date (but only if the

Closing actually occurs), to be held in escrow until confirmation of a chapter 11 plan or

conversion of these cases, and to be used exclusively by any chapter 11 trustee or chapter 7

trustee, acting on behalf of the Debtors’ estates, as applicable, at his or her discretion, with any

remainder to be distributed to creditors pursuant to the Bankruptcy Code.

                    49.   Debtors’ Claims and Causes of Action. Notwithstanding anything to the

contrary contained in this Order or the Purchase Agreement, all Purchased Actions shall

comprise Excluded Assets and shall not comprise Purchased Assets, except for any claims or

causes of action against a trade vendor and/or service provider that the Buyer reasonably expects

to provide goods and/or services to the Buyer upon and/or after the Closing Date, identified on

Exhibit C attached hereto (each entity identified therein, an “Ongoing Business Party”), which



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claims and causes of action shall remain Purchased Assets under the Purchase Agreement;

provided that Excluded Assets shall further include any claims and causes of action against a

non-Debtor transferee of assets, including but not limited to any Ongoing Business Party, that

received such assets from or at the direction of any director or officer (including, but not limited

to, Mark Sellers) for the primary benefit of such director or officer individually.

                    50.   Releases.   Effective as of the Closing Date (but only if the Closing

actually occurs), the Prepetition Secured Lenders, Administrative Agent, Buyer, Debtors,

Committee, and members of the Committee (solely in their roles as Committee members and not

as individual creditors) and their respective professionals (collectively, the “Release Parties”)

will be deemed released and discharged by each and all of the other Release Parties and the

Debtors’ estates from any and all claims, obligations, rights, suits, damages, causes of action,

remedies, and liabilities whatsoever, including any derivative claims, asserted or assertable on

behalf of any of the Release Parties or the Debtors’ estates, as applicable, whether known or

unknown, foreseen or unforeseen, existing in law, equity, or otherwise, that the Release Parties

or the Debtors’ estates would have been legally entitled to assert in their own right (whether

individually or collectively) or on behalf of the holder of any claim against, or interest in, the

Debtors or other entity, based on or relating to, or in any manner arising from, in whole or in

part, the Debtors’ bankruptcy cases, the Debtors’ sale of assets to the Buyer in accordance with

this Order and the Purchase Agreement, the Bid Procedures, Credit Bid, or any Sale Transaction

or any other transaction, contract, instrument, release, or other agreement or document created or

entered into in connection with the Purchase Agreement, Ancillary Agreements, or this Order,

including but not limited to any claims under section 506(c) of the Bankruptcy Code; provided




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that any right to enforce this Order and any right of estate professionals to seek allowance and

payment of professional fees is not so released by this paragraph.

                    51.   Insurance Claims. Nothing in the Purchase Agreement or this Order shall

be construed to waive, release or otherwise impact any claims that the Buyer may have to pursue

or receive the proceeds from claims under the Insurance Policies pursuant to Section 6.7 of the

Purchase Agreement (excluding any directors’ and officers’ liability Insurance Policies).

Nothing in the Purchase Agreement or this Order shall be construed to waive, release or

otherwise impact any claims that a chapter 11 or chapter 7 trustee may pursue on behalf of the

Debtors’ estates with respect to the Debtors’ directors and officers or their directors and officers

Insurance Policies.

                    52.   U.S. Trustee Fees. The transfer of the Debtors’ assets in connection with

the Credit Bid in the amount of $17,500,000.00 shall not be a disbursement for purposes of

calculating the United States Trustee’s quarterly fees.


                                          END OF ORDER

Order prepared and submitted by:
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                         EXHIBIT A
                                   Cure Costs




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                                             EXECUTORY CONTRACTS


                                                                                                            Agreed Upon Cure for
             Debtor                 Counter Party                           Contract Description                 Sale Order
Barfly Ventures, LLC   Accident Fund Insurance Company of America
                                                            Workers Compensation Insurance                                  $0.00
Barfly Ventures, LLC   Admiral Insurance Company            Excessive Liability Insurance                                   $0.00
Hopcat Beltline        ArrowWaste Inc.                      Trash and recycling services                                    $0.00
GRBC Holdings, LLC     ArrowWaste Inc.                      Trash and recycling services                                    $0.00
50 Amp Fuse, LLC       ArrowWaste Inc.                      Trash and recycling services                                    $0.00
Hopcat Grand Rapids    ArrowWaste Inc.                      Trash and recycling services                                    $0.00
Barfly Ventures, LLC   AvidXchange Inc.                     Payment network services                                    $4,979.55
Barfly Ventures, LLC   Blackhawk Network                    Gift cards                                                      $0.00
Hopcat Holland         Coverall of Western Michigan         Janitorial services                                             $0.00
Barfly Ventures, LLC   DoorDash, Inc.                       delivery services                                               $0.00
Hopcat Broad Ripple    DVCLEANINDY, LLC                     Cleaning services                                               $0.00
Barfly Ventures, LLC   ECOLAB                               warehousing, housekeeping, laundry, and other              $16,929.29
                                                            cleaning and santizing chemical products
Barfly Ventures, LLC   eFileCabinet                         document management software services                          $0.00
Barfly Ventures, LLC   Egencia LLC                          Travel services/assisted booking                               $0.00
EL Brewpub             Enviro - Master of West Michigan     Janitorial                                                     $0.00
Hopcat Beltline        Enviro - Master of West Michigan     Janitorial                                                     $0.00
Hopcat Kalamazoo       Enviro - Master of West Michigan     Janitorial                                                     $0.00
GRBC Holdings          Enviro - Master of West Michigan     Janitorial                                                     $0.00
Hopcat Grand Rapids    Enviro - Master of West Michigan     Janitorial                                                     $0.00
Stellas                Enviro - Master of West Michigan     Janitorial                                                     $0.00
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Barfly Ventures, LLC                                                                                        $750,000 ($250,000 at
50 Amp Fuse, LLC                                                                                              Closing to be paid by
GRBC Holdings, LLC                                                                                            Debtor and $500,000
9 Volt, LLC                                                                                                 promissory note to be
Hopcat Ann Arbor, LLC                                                                                        paid by the Buyer and
Hopcat Detroit, LLC                                                                                                 subject to final
                        Gordon Food Service                    Food distribution                                   documentation)
EL Brewpub, LLC
Hopcat Lexington, LLC
Hopcat Indianapolis
Hopcat Kansas City
Hopcat Lincoln
Hopcat Madison
Barfly Ventures, LLC    HotSchedules.com, Inc                  scheduling software                                     $16,968.00
Hopcat Lincoln          Huskers IMG Sports Marketing           marketing and sponsorship                                    $0.00
Barfly Ventures, LLC    Indian Harbor Insurance Company        Umbrella Insurance                                           $0.00
EL Brewpub LLC          My Green Michigan LLC                  Composting services                                          $0.00
Barfly Ventures, LLC    NCR Corporation                        IT software                                                  $0.00
Barfly Ventures, LLC    NCR Corporation                        cloud applications                                           $0.00
Barfly Ventures, LLC    NCR Corporation                        CMC software                                                 $0.00
Barfly Ventures, LLC    NCR Corporation                        remove loyalty                                               $0.00
Barfly Ventures, LLC    Nexonia Technologies Inc.              expense management software                                  $0.00
Barfly Ventures, LLC    OLO                                    delivery application                                         $0.00
Barfly Ventures, LLC    Paytronix Systems, Inc.                IT software services                                    $17,535.93
Barfly Ventures, LLC    Pepsi Beverages Company                Pepsi beverages exclusively                                  $0.00
GRBC Holdings, LLC      POSitive Solutions Group               phone support and POS hardware maintenance                   $5.00
Hopcat Ann Arbor        POSitive Solutions Group               phone support and POS hardware maintenance                   $5.00
Hopcat Beltline         POSitive Solutions Group               phone support and POS hardware maintenance                   $5.00
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Hopcat Broad Ripple               POSitive Solutions Group                 phone support and POS hardware maintenance      $5.00
Hopcat Detroit                    POSitive Solutions Group                 phone support and POS hardware maintenance      $5.00
EL Brewpub LLC                    POSitive Solutions Group                 phone support and POS hardware maintenance      $5.00
Hopcat Grand Rapids               POSitive Solutions Group                 phone support and POS hardware maintenance      $5.00
Hopcat Kalamazoo                  POSitive Solutions Group                 phone support and POS hardware maintenance      $5.00
Hopcat Lincoln                    POSitive Solutions Group                 phone support and POS hardware maintenance      $5.00
50 Amp Fuse, LLC                  POSitive Solutions Group                 phone support and POS hardware maintenance      $5.00
Barfly Ventures, LLC              Red Bull North America, Inc.             energy drink distribution and exclusivity       $0.00
Hopcat Detroit                    Republic Services                        trash and recycling services                    $0.00
Barfly Ventures, LLC              Round It Up America, Inc.                charitable donation collections                 $0.00
GRBC Holdings                     Swept Away                               Janitorial                                      $0.00
Grand Rapids                      Swept Away                               Janitorial                                      $0.00
Stellas                           Swept Away                               Janitorial                                      $0.00
Hopcat Beltline                   Swept Away                               Janitorial                                      $0.00
Barfly Ventures, LLC              TBX                                      menu design                                     $0.00
Barfly Ventures, LLC              Untappd                                  marketing services                              $0.00
EL Brewpub LLC                    Waste Management of Michigan             Trash and recycling services                    $0.00
Barfly Ventures, LLC              Yelp Inc                                 advertising services                            $8.22
Barfly Ventures, LLC              Travelers                                General Liability Insurance                     $0.00
Barfly Ventures, LLC              Travelers                                Automobile Insurance                            $0.00


**As noted in the Sale Order, Debtor reserves the right to still reject any executory contract up until the Closing Date
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                                           ADDITIONAL EXECUTORY CONTRACTS


                  Debtor                   Counter Party                              Contract Description                          Cure Amount


BarFly Ventures            58 Ionia Holdings, LLC                    Equipment Lease for equipment located in Detroit restaurant   $4,165.00
BarFly Ventures            Compeat                                   Back office software provider
                                                                                                                                   $0.00
BarFly Ventures            Wisely                                    Reservation / Table Mgmt. Software                            $0.00
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                                                   UNEXPIRED REAL PROPERTY LEASES*
                                                                                                                        Cure Amount in Sale    Amendment to
             Debtor                           Counter Party                            Property Address                       Order**             Lease
GRBC Holdings***                  Ionia Ventures, LLC                  1 Ionia Ave SW, Grand Rapids, MI 49503               $86,420.96             Yes
Hopcat-Detroit***                 4265 Woodward Ventures LLC           4265 Woodward Ave, Detroit, MI 48201                 $23,515.64             Yes
Hopcat-Grand Rapids               Lee Shore-Lemon Wheeler Building     25 Ionia Ave., Grand Rapids, MI 49503                $48,764.37             No
Hop Cat-Ann Arbor***              Liberty Maynard LLC                  311 Maynard, Ann Arbor, MI 48104                     $50,986.80             Yes
Hopcat-E. Lansing/EL Brewpub***   A&G Partnership                      300 Grove, East Lansing, MI 48823                    $58,301.54             Yes
Hopcat-E. Beltine**               JK East Beltline Real Estate         2183 E Beltline Ave NE, Grand Rapids MI, 49525       $61,451.39             Yes
Hopcat-Holland**                  Greenen Dekock Properties, LLC       80 West 8th Street, Holland MI                       $23,320.13             Yes
Hopcat-Indianapolis**             6280 LLC                             6280 N. College Ave. Indianapolis, IN 46220          $102,312.12            Yes
Hopcat-Kalamazoo                  GTW Depot, LLC                       300 E. Water St., Kalamazoo, Michigan, 49007         $54,894.59             No
Hopcat-Lincoln**                  Project Oscar, LLC                   601 P. Street, Lincoln, NE 68508                     $50,733.66             Yes
Stellas's/50 Amp Fuse LLC***      50 Commerce Building, LLC            53 Commerce Ave, SW, Grand Rapids, MI 49503          $20,000.00             Yes



*As noted in the Sale Order, Debtor reserves the right to still reject any Lease up until the Closing Date
**Lease Amendment Signed
***Remains Subject to Execution of Lease Amendment

                                                  NEW REAL PROPERTY LEASE
                                                                                                                        Agreed Upon Cure for
              Debtor                            Counter Party                         Property Address                       Sale Order
BarFly Ventures (Temporary                                             280 Ann Street NW, Suite 110, Grand Rapids,
Corporate Office)                 280 Ann LLC                          Michigan 49504                                           N/A
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                         EXHIBIT B
                        Asset Purchase Agreement




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                                                              EXECUTION VERSION




                            ASSET PURCHASE AGREEMENT

                                  BY AND AMONG

                              BARFLY VENTURES, LLC,

                     EACH OF THE OTHER SELLERS PARTY HERETO

                                          AND

                               PROJECT BARFLY LLC

                                      July 9, 2020


STRICTLY PRIVATE AND CONFIDENTIAL DRAFT FOR DISCUSSION PURPOSES
ONLY. CIRCULATION OF THIS DRAFT SHALL NOT GIVE RISE TO ANY DUTY TO
NEGOTIATE OR CREATE OR IMPLY ANY OTHER LEGAL OBLIGATION. NO LEGAL
OBLIGATION OF ANY KIND WILL ARISE UNLESS AND UNTIL A DEFINITIVE
WRITTEN AGREEMENT IS EXECUTED AND DELIVERED BY ALL PARTIES
HERETO.




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                             ASSET PURCHASE AGREEMENT

         This ASSET PURCHASE AGREEMENT (this “Agreement”) is entered into as of July 9,
2020, by and among BARFLY VENTURES, LLC (“BarFly Ventures”), individually and as
Sellers’ Rep; 9 VOLT, LLC; 50 AMP FUSE, LLC; EL BREWPUB, LLC; GRBC HOLDINGS,
LLC; HOPCAT-ANN ARBOR, LLC; HOPCAT-CHICAGO, LLC; HOPCAT-CONCESSIONS,
LLC; HOPCAT-DETROIT, LLC; HOPCAT-GR BELTLINE, LLC; HOPCAT-HOLLAND,
LLC; HOPCAT-INDIANAPOLIS, LLC; HOPCAT-KALAMAZOO, LLC; HOPCAT-KANSAS
CITY, LLC; HOPCAT-LEXINGTON, LLC; HOPCAT-LINCOLN, LLC; HOPCAT-
LOUISVILLE, LLC; HOPCAT-MADISON, LLC; HOPCAT-MINNEAPOLIS, LLC;
HOPCAT-PORT ST. LUCIE, LLC; HOPCAT-ROYAL OAK, LLC; HOPCAT-ST. LOUIS,
LLC; and LUCK OF THE IRISH, LLC (each of the foregoing, individually a “Seller” and
sometimes collectively, the “Sellers” or, sometimes individually a “Debtor” or collectively, the
“Debtors”), and Project BarFly LLC, a Delaware limited liability company (together with its
permitted successors, designees and assigns, “Buyer”). The Sellers and Buyer are referred to
collectively herein as the “Parties.” Capitalized terms used but not otherwise defined herein shall
have the meanings assigned to them in Article I.

                                           RECITALS

         WHEREAS, Sellers are in the business of operating restaurants, brewery restaurants and
bars in numerous states (collectively, but excluding the Excluded Restaurants and the assets and
Liabilities directly related thereto, the “Business”);

       WHEREAS, on June 3, 2020, Sellers filed voluntary petitions for relief (the “Chapter 11
Cases”) pursuant to Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Western District of
Michigan (the “Bankruptcy Court”);

        WHEREAS, upon the filings of such Chapter 11 Cases, Sellers continued in possession
of their assets and were authorized under the Bankruptcy Code to continue the operation of their
businesses as debtors-in-possession;

        WHEREAS, certain of the Sellers entered into a Credit Agreement as borrowers, dated as
of August 31, 2015, with the lenders party thereto, as lenders (the “Credit Agreement Lenders”),
CIP Administrative, LLC, as administrative agent for the Credit Agreement Lenders (as
amended, restated, amended and restated, supplemented or otherwise modified from time to
time, the “Credit Agreement” and, together with the other Loan Documents (as therein defined),
the “Credit Agreement Loan Documents”);

        WHEREAS, on or about March 20, 2020, to comply with business closure mandates
imposed by governmental authorities as a result of the COVID-19 outbreak, the Sellers ceased
operating all of their restaurants and furloughed nearly all of their employees;

        WHEREAS, Sellers desire to sell, transfer and assign to Buyer, and Buyer desires to
acquire and assume from Sellers, pursuant to Sections 363 and 365 of the Bankruptcy Code, the
Purchased Assets and the Assumed Liabilities upon the terms and subject to the conditions set
forth herein;


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        WHEREAS, in connection with the Closing, and as a material inducement to Buyer’s
willingness to enter into this Agreement, Ned Lidvall has executed, or will execute, an
employment agreement (in form acceptable to the Buyer) that by its terms is to become effective
as of the Closing;

       WHEREAS, Sellers intend to seek the entry of the Sale Order by the Bankruptcy Court
approving this Agreement and authorizing Sellers to consummate the Contemplated Transactions
upon the terms and subject to the conditions set forth herein and in the Sale Order;

        WHEREAS, the board of directors or the managing members of each Seller has
determined that it is advisable and in the best interests of each such Seller’s estate and the
beneficiaries of such estates to consummate the Contemplated Transactions provided for herein
pursuant to the Sale Order and has approved this Agreement; and

        WHEREAS, the Contemplated Transactions are subject to the approval of the
Bankruptcy Court, subject to any higher and better offers that may be made for the Purchased
Assets prior to or at the Sale Hearing, and will be consummated only pursuant to the Sale Order
to be entered by the Bankruptcy Court.

        NOW, THEREFORE, in consideration of the mutual promises herein made, and in
consideration of the representations, warranties and covenants herein contained, and other good
and valuable consideration, the receipt and sufficiency of which is hereby acknowledged by the
Parties, the Parties agree as follows:

                                          ARTICLE I
                                         DEFINITIONS

        “Accounts Receivable” means (a) all accounts, accounts receivable, Credit Card
Receivables, contractual rights to payment, notes, notes receivable, negotiable instruments,
chattel paper, and vendor and supplier rebates of Sellers in connection with the Business as
conducted by the Sellers, and (b) any security interest, claim, remedy or other right related to any
of the foregoing.

        “Affiliate” means, with respect to any Person, any other Person that, directly or indirectly
through one or more intermediaries, controls, or is controlled by, or is under common control
with, such Person, and the term “control” (including the terms “controlled by” and “under
common control with”) means, when used with reference to any Person, the possession, directly
or indirectly, of the power to direct or cause the direction of the management and policies of such
Person, whether through ownership of voting securities, by Contract or otherwise.

         “Agreement” has the meaning set forth in the preamble.

        “Alternate Transaction” means a transaction or series of related transactions pursuant to
which Sellers sell, transfer, lease or otherwise dispose of, directly or indirectly, including
through an asset sale, stock sale, merger, reorganization or other similar transaction (by Sellers
or otherwise), all or substantially all of the Purchased Assets (or agrees to do any of the
foregoing) in a transaction or series of transactions to a Person or Persons other than Buyer, but

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does not mean the sale of assets to customers conducted in the Ordinary Course of Business or a
piecemeal liquidation of the Purchased Assets through a series of unrelated transactions.

      “Assignment and Assumption Agreement” means a duly executed assignment and
assumption agreement, substantially in the form attached as Exhibit B hereto.

         “Assumed Contracts” has the meaning set forth in Section 2.6(b).

         “Assumed Liabilities” has the meaning set forth in Section 2.3.

       “Assumed Permits” means all Permits relating to the Business that are transferable in
accordance with their terms and under applicable Law (including, without limitation, those that
are transferable without consent of the issuing entity by virtue of the effect of the Sale Order),
but excluding all Permits (other than Liquor Licenses) to the extent related exclusively to any
Excluded Asset (including any Lease that is not an Assumed Contract).

         “Available Cash” is defined in Section 5.9.

         “Available Cash Deficiency Amount” is defined in Section 5.9.

         “Backstop Amount” is defined in Section 5.9.

         “Bankruptcy Code” has the meaning set forth in the recitals.

         “Bankruptcy Court” has the meaning set forth in the recitals.

        “Bid Procedures” means bid procedures acceptable to Buyer, which shall, among other
things: (i) schedule an auction for the Business (an “Auction”) to be held not later than
August 25, 2020; (ii) schedule the hearing to approve the sale of the Business (the “Sale
Hearing”) to be held not later than August 27, 2020; (iii) require that any sale transaction close
not later than August 31, 2020; (iv) require the Sellers to promptly provide a copy of any
Qualified Bid to Buyer; (v) provide that, at the Auction, the first bid shall be considered only if it
exceeds the amount of the highest Qualified Bid submitted by the Qualified Bidders prior to such
auction by a minimum of any Break-up Fee (if Buyer submitted the highest Qualified Bid) plus
$100,000 (with $100,000 to be the minimum bid increment for each round of bidding); (vi)
authorize the Buyer to bid, at each round of the Auction, the amount of the Break-up Fee; (vii)
provide that no bidder(s) (other than, for the avoidance of doubt, the Buyer in those
circumstances in which it is entitled to a Break-up Fee hereunder) shall be granted a break-up
fee, expense reimbursement, termination payment, or other like compensation at any time during
the sale process or the Auction; and (viii) grant Buyer relief from the automatic stay to enable
Buyer to exercise rights and receive benefits under this Agreement.

        “Bid Procedures Motion” means a motion filed by the Sellers with the Bankruptcy Court
requesting the entry of the Bid Procedures Order.

       “Bid Procedures Order” means an order of the Bankruptcy Court entered in the
Chapter 11 Cases approving the Bid Procedures in form and substance agreeable to Buyer.


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        “Bid Procedures Order Deadline” means July 17, 2020.

        “Bill of Sale” means a duly executed bill of sale, substantially in the form attached as
Exhibit A hereto.

         “Break-up Fee” means an amount equal to $525,000.

         “Business” has the meaning set forth in the recitals.

      “Business Cessation Event” means Sellers’ cessation of its ongoing business on or about
March 20, 2020, as the result of, among other things, the COVID-19 outbreak, and the
accompanying furlough of substantially all of Sellers’ employees.

        “Business Day” means any day other than a Saturday, a Sunday or a day on which banks
located in New York, New York shall be authorized or required by Law to close.

         “Buyer” has the meaning set forth in the preamble.

         “Buyer Released Parties” has the meaning set forth in Section 5.9.

        “Cash and Cash Equivalents” means, collectively, cash (including Restaurant Petty Cash
and checks received prior to the close of business on the Closing Date), checking account
balances, marketable securities, certificates of deposits, time deposits, bankers’ acceptances,
commercial paper, government securities and other cash equivalents or similar cash items of
Sellers, net of (i) Cure Claims to the extent not assumed by Buyer, if any, (ii) administrative
claims incurred through the Closing Date, (iii) the Wind Down Budget, and (iv) uncleared
checks issued by Sellers that are not yet reflected in the applicable bank account of Sellers.

         “Chapter 11 Cases” has the meaning set forth in the recitals.

        “Claim” means a “claim” as defined in Section 101(5) of the Bankruptcy Code, whether
arising before or after the Petition Date.

       “Closing” means the closing of the Contemplated Transactions, which shall be deemed to
have occurred at 12:01 p.m. (prevailing Eastern Time) on the Closing Date.

         “Closing Date” means the second (2nd) Business Day after the date on which all
conditions to the obligations of Sellers and Buyer to consummate the Contemplated Transactions
set forth in Article VII (other than conditions with respect to actions Sellers and/or Buyer will
take at the Closing itself, but subject to the satisfaction or waiver of those conditions) have been
satisfied or waived by the Party entitled to waive that condition, or at such other time or on such
other date as shall be mutually agreed upon by Sellers and Buyer prior thereto.

        “Consent” means any approval, consent, ratification, permission, clearance, designation,
qualification, waiver or authorization, or an order of the Bankruptcy Court that deems or renders
any of the foregoing unnecessary.



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         “Contemplated Transactions” means the sale by Sellers to Buyer, and the purchase by
Buyer from Sellers, of the Purchased Assets and the assumption by Buyer of the Assumed
Liabilities.

       “Continuing Restaurant” means any of Sellers’ restaurant locations with respect to which
the associated Leases have been designated by Buyer as Assumed Contracts pursuant to
Section 2.6(b).

        “Contract” means any written or oral agreement, contract, lease, sublease, indenture,
mortgage, instrument, guaranty, loan or credit agreement, note, bond, customer order, purchase
order, sales order, sales agent agreement, supply agreement, development agreement, joint
venture agreement, promotion agreement, license agreement, contribution agreement, partnership
agreement or other arrangement, understanding, permission or commitment that, in each case, is
legally-binding.

        “COVID-19” means the novel coronavirus disease 2019 caused by severe acute
respiratory syndrome coronavirus 2 (SARS-CoV-2).

       “Credit Agreement” has the meaning set forth in the recitals, as amended, restated,
supplemented or otherwise modified from time to time in accordance with this Agreement.

      “Credit Agreement Lenders” means the “Lenders” as such term is defined in the Credit
Agreement.

      “Credit Agreement Lien Obligations” means all “Obligations” (as defined in the Credit
Agreement).

         “Credit Agreement Loan Documents” has the meaning set forth in the recitals.

       “Credit Agreement Secured Parties” shall mean Congruent Credit Opportunities Fund III,
LP; Main Street Capital Corporation; and HMS Income Fund, Inc., and the successors and
assignees of such parties.

        “Credit Bid” means a bid by Buyer pursuant to Section 363(k) of the Bankruptcy Code
equal to a portion of the Credit Agreement Lien Obligations in the initial amount of $17,500,000,
and not to exceed $20,000,000.

         “Credit Bid And Release” has the meaning set forth in Section 2.5(b).

         “Credit Card Liabilities” means all Liabilities and other rights of credit card processors or
other Persons to amounts payable by any Seller (whether current or non-current) in connection
with any customer purchases from any restaurants operated by Sellers in respect of credit or
debit cards to any credit card processors to Sellers. Credit Card Liabilities are Excluded
Liabilities.

       “Credit Card Receivables” means all accounts receivable and other rights of Sellers to
amounts owed to any Seller (whether current or non-current) in connection with any customer
purchases from any restaurants operated by Sellers that are made with credit or debit cards or any
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other related amounts owing (including deposits or holdbacks to secure chargebacks, offsets or
otherwise) from credit card processors to Sellers.

        “Cure Amounts” has the meaning set forth in Section 2.6(c).

        “Current Employees” means all individuals employed by Sellers as of the day before the
Closing Date, whether active or not (including those on short-term disability, leave of absence,
paid or unpaid, or long-term disability).

         “Dataroom” has the meaning set forth in Section 4.7.

         “Debtor” or “Debtors” has the meaning set forth in the preamble.

        “Decree” means any judgment, decree, ruling, decision, opinion, injunction, assessment,
attachment, undertaking, award, charge, writ, executive order, judicial order, administrative
order or any other order of any Governmental Entity.

         “Disclosure Schedule” has the meaning set forth in Article III.

        “Employee Benefit Plan” means (a) any “employee benefit plan” (as such term is defined
in Section 3(3) of ERISA, whether or not subject to ERISA), (b) employment, consulting,
severance, termination protection, change in control, transaction bonus, retention or similar plan,
program, policy, practice agreement or arrangement and (c) any other plan, program, policy,
practice, agreement or arrangement providing for benefits or compensation of any kind,
including without limitation bonuses, profit-sharing, or other forms of incentive or deferred
compensation, vacation or paid time off benefits, insurance, medical, dental, vision, prescription
or fringe benefits, life insurance, disability or sick leave benefits or post-employment or
retirement benefits, in each case of clause (a), (b) and (c) above, sponsored, maintained,
contributed to or required to be contributed to by any Seller or any entity that together with any
Seller is, or at any time was, treated as a single employer under Section 414 of the Code or
Title IV of ERISA (“ERISA Affiliate”) or in which any Seller or any ERISA Affiliate
participates or participated, or with respect to which any Seller or any ERISA Affiliate has or
may have any liability, contingent or otherwise.

         “Employee Roster” has the meaning set forth in Section 3.9(a).

        “Environmental Laws” means all applicable Laws concerning pollution or protection of
the environment, human health and safety, and natural resources.

         “ERISA” means the United States Employee Retirement Income Security Act of 1974.

        “ERISA Affiliate” has the meaning set forth in the definition of “Employee Benefit
Plan”, as amended.

         “Excluded Assets” has the meaning set forth in Section 2.2.

         “Excluded Cash” is defined in Section 2.1(a).


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        “Excluded Employee” has the meaning set forth in Section 6.4(b).

         “Excluded Liabilities” has the meaning set forth in Section 2.4.

       “Excluded Restaurants” means any of Sellers’ restaurant locations with respect to which
the associated Leases have not been designated by Buyer as Assumed Contracts pursuant to
Section 2.6(b).

         “Existing Escrows” has the meaning set forth in Section 2.1(a).

       “Expense Reimbursement Amount” means Buyer’s and/or its Affiliates, as applicable,
reasonable costs and expenses related to pursuing, negotiating, and documenting the
Contemplated Transactions.

         “Express Representations” has the meaning set forth in Section 4.7.

         “Financial Statements” has the meaning set forth in Section 3.16.

        “Former Employees” means all individuals who have been employed by the Sellers (or
any of their predecessors) who are not Current Employees.

        “GAAP” means United States generally accepted accounting principles as in effect from
time to time, as consistently applied in accordance with Sellers’ historic practices.

       “Governmental Entity” means any United States federal, state or local or non-United
States governmental or regulatory authority, agency, commission, court, body or other
governmental entity.

       “Hazardous Substance” means any toxic or hazardous material, substance or waste as to
which Liability or standards of conduct may be imposed under any Environmental Laws.

         “Intellectual Property” means any and all rights, title and interest in or relating to
intellectual property of any type, which may exist or be created under the Laws of any
jurisdiction throughout the world, including: (a) patents and patent applications, together with all
reissues, continuations, continuations-in-part, divisionals, extensions and reexaminations in
connection therewith; (b) trademarks, service marks, brand names, Internet domain names, logos,
symbols, trade dress, assumed names, fictitious names, trade names, business names, product
names, social media accounts, URLs, and other indicia of origin, all applications and
registrations for all of the foregoing, and all goodwill associated therewith and symbolized
thereby (the items of this subclause (b) collectively, “Trademarks”); (c) rights associated with
works of authorship (including menus), including exclusive exploitation rights, mask work
rights, copyrights, database and design rights, whether or not registered or published, all
registrations and recordations thereof and applications in connection therewith, along with all
extensions and renewals thereof; (d) rights in electronic data processing systems, information
management systems, recordkeeping systems, communications and telecommunications systems,
networking systems, account management systems, Internet websites and related content,
inventory management systems and other such applications, software, hardware, equipment and
services (including all firmware, applications and software installed on such hardware and
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equipment, and all associated databases, and related documentation); (e) trade secrets and
proprietary or confidential information relating to the Business (including recipes, methods,
ingredient lists, procedures, food and beverage preparation instructions and publications and
guidelines, menu formulation processes, standards, operation manuals, specifications, pictures,
drawings, mock-ups, prototypes, processes, ideas, formulae, compositions, know-how,
discoveries, inventions, designs, plans, proposals, technical data, financial, business and
marketing plans, price lists, and customer and supplier lists and related information); and (f) all
other intellectual property rights related to the Business.

         “Intellectual Property Assignments” has the meaning set forth in Section 2.9(a).

         “Inventory” means all of Sellers’ now owned or hereafter (prior to the Closing) acquired
inventory and goods, wherever located, including, without limitation, consumable food,
alcoholic beverages (whether unopened or opened to the extent permitted by applicable Law),
and other beverages and raw materials and work-in-process therefor and all of Sellers’ tangible
property used in the preparation of, serving, and cleaning up from, food and drinks, including
napkins, silverware, plates and dining ware, cups, glassware, mugs, cooking and cleaning
utensils, packaging materials, paper products, ingredients, miscellaneous consumables, materials,
supplies, inventories and other related items or that are otherwise included in the Purchased
Assets and are permitted to be sold and transferred under applicable Law.

         “IRC” means the United States Internal Revenue Code of 1986, as amended.

        “Law” means any federal, state, provincial, local, municipal, foreign or international,
multinational or other law, statute, legislation, constitution, principle of common law, resolution,
ordinance, code, edict, decree, proclamation, treaty, convention, rule, regulation, ruling,
directive, pronouncement, determination, decision, opinion or requirement issued, enacted,
adopted, promulgated, implemented or otherwise put into effect by or under the authority of any
Governmental Entity, or court of competent jurisdiction, or other legal requirement or rule of
law, including applicable building, zoning, subdivision, health and safety and other land use
Laws.

        “Leased Real Property” means all (i) leasehold or sub-leasehold estates and other rights
to use or occupy any land, buildings, structures, improvements, fixtures or other interest in real
property which is used in or otherwise related to the Business, including the right to all security
deposits, letters of credit and other amounts and instruments deposited by or on behalf of Sellers
thereunder, and (ii) any buildings, structures, improvements and fixtures located on any Leased
Real Property which are owned by Seller, regardless of whether title to such buildings,
structures, improvements or fixtures are subject to reversion to the landlord or other third party
upon the expiration or termination of the Lease for such Leased Real Property (“Leasehold
Improvements”).

       “Leasehold Improvements” has the meaning set forth in the definition of “Leased Real
Property.”




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       “Leases” means all leases, subleases, licenses, concessions and other Contracts, including
all amendments, extensions, renewals, guaranties and other agreements with respect thereto, in
each case pursuant to which any Seller holds any Leased Real Property.

         “Liability” means, as to any Person, any debt, Claim, liability (including any liability that
results from, relates to or arises out of tort or any other product liability claim), duty,
responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure, charge, fee,
penalty, fine, contribution, or premium of any kind or nature whatsoever, whether known or
unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued,
liquidated or unliquidated, or due or to become due, and regardless of when sustained, incurred,
or asserted or when the relevant events occurred or circumstances existed.

        “Lien” means any lien (as defined in Section 101(37) of the Bankruptcy Code),
encumbrance, right, demand, charge, mortgage, deed of trust, option, pledge, security interest or
similar interests, title defects, hypothecations, easements, rights of way, encroachments,
judgments, conditional sale or other title retention agreements and other similar impositions,
imperfections or defects of title or restrictions on transfer or use (whether known or unknown,
secured or unsecured or in the nature of setoff or recoupment, choate or inchoate, filed or
unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or
unperfected, allowed or disallowed, contingent or non-contingent, liquidated or unliquidated,
matured or unmatured, material or nonmaterial, disputed or undisputed, whether arising prior to
or subsequent to the commencement of the Chapter 11 Cases, and whether imposed by
agreement, understanding, Law, equity, or otherwise, including claims otherwise arising under
doctrines of successor liability).

        “Liquor Licenses” means all liquor licenses (including, without limitation, beer and wine
licenses) held or used by each Seller in respect of any Purchased Assets, including the Seller in
whose name such license is issued, date of issuance and renewal date.

        “Liquor License Approvals” means the necessary Consents pertaining to the transfer
and/or issuance of any of the Liquor Licenses in respect of any Purchased Assets to Buyer.

         “Litigation” means any action, cause of action, suit, claim, investigation, mediation,
arbitration, audit, grievance, demand, hearing, proceeding or investigation, whether civil,
criminal, administrative or arbitral, whether at law or in equity and whether before any
Governmental Entity, arbitrator or mediator.

         “Major Suppliers” has the meaning set forth in Section 3.21.

        “Management Agreement” means an agreement in the form as shall be reasonably
acceptable to Buyer and Sellers, and which provides, among other things, that all costs of
operations of the Purchased Assets from and after the Closing Date shall be paid on a current
basis by Buyer and the economic benefit of the operations of the Purchased Assets accrues to
Buyer.

       “Material Adverse Effect” means any change, event, effect, development, condition,
circumstance or occurrence (when taken together with all other changes, events, effects,
developments, conditions, circumstances or occurrences), that (a) has had, or would reasonably
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be expected to have, individually or in the aggregate, a material adverse effect on the Purchased
Assets (taken as a whole); provided, however, that no change, event, effect, development,
condition, circumstance or occurrence related to any of the following shall be deemed to
constitute, and none of the following shall be taken into account in determining whether there
has been a Material Adverse Effect: (i) any effect resulting from the filing, announcement, or
pendency of the Chapter 11 Cases, including (1) any Seller’s inability to pay certain prepetition
obligations as a result of the commencement of such Chapter 11 Cases, (2) any Decree of the
Bankruptcy Court, (3) any action or omission of any Seller taken or not taken in order to avoid
violation of any Decree or objections of the Bankruptcy Court, or (4) any other effect, directly or
indirectly, related thereto; (ii) acts of war, armed hostilities, sabotage or terrorism, or any
escalation or worsening of any such acts of war, armed hostilities, sabotage or terrorism
threatened or underway as of the date of this Agreements, except to the extent that such change
has a materially disproportionate adverse effect on the Business relative to the adverse effect that
such changes have on other companies in the industry in which the Business operates;
(iii) changes in conditions in the U.S. or global economy or capital or financial markets
generally, including changes in interest or exchange rates, except to the extent that such change
has a materially disproportionate adverse effect on Business relative to the adverse effect that
such changes have on other companies in the industry in which the Business operates;
(iv) resulting from any act of God or other force majeure event (including natural disasters, or
any epidemic, pandemic or wide-spread disease outbreak (including the COVID-19 virus
outbreak)); (v) changes in Law or in GAAP or interpretations thereof; (vi) any actions taken by
Buyer or any of its Affiliates (other than those expressly permitted to be taken hereunder);
(vii) inaction by any Seller due to Buyer’s refusal to consent to a request for consent by Seller
under Section 5.3; (viii) the negotiation, announcement or pendency of this Agreement or the
consummation of the sale and assumption contemplated hereby, or the identity, nature or
ownership of Buyer; or (ix) the Business Cessation Event; provided, however, notwithstanding
anything herein to the contrary, a Decree issued after the date hereof that requires restaurants or
bars to close for dine-in business in any jurisdiction where a Continuing Restaurant is located
shall constitute a Material Adverse Effect; or (b) would reasonably be expected to prevent,
materially delay or materially impair to the ability of any Seller to consummate the
Contemplated Transactions or the Related Agreements on the terms set forth herein and therein.

        “Non-Real Property Contracts” means the Contracts to which any Seller is a party other
than the Leases.

         “Offeree” has the meaning set forth in Section 6.4(a).

        “Ordinary Course of Business” means the ordinary and usual course of business of
Sellers taken as a whole consistent with past custom and practice and taking into account the
commencement of the Chapter 11 Cases and the Debtors’ current distressed financial condition,
excluding from the ordinary and usual course of business, for the avoidance of doubt, any
modifications to the previous normal day-to-day operations of Sellers made in response to
COVID-19, or any similar or related disease caused by COVID-19, or any mutation or evolution
thereof, or any policies, guidelines or Laws enacted, directly or indirectly, in response to the
same (including any “shelter-in-place”, “stay at home” or similar Decrees and the Cybersecurity
and Infrastructure Security Agency Critical Infrastructure Worker Guidance 2.0, as may be
amended, supplemented, updated or otherwise modified from time to time).
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        “Organizational Documents” means, with respect to any entity, the certificate of
incorporation, articles of incorporation, certificate of formation, articles of organization, by-laws,
partnership agreement, limited liability company agreement, formation agreement and other
similar organizational documents of such entity (in each case, as amended through the date of
this Agreement).

         “Outside Date” means August 31, 2020.

         “Parties” has the meaning set forth in the preamble.

        “Permit” means any and all franchise, approval, permit (including environmental,
construction and operation permits), license, order, registration, certificate, variance, Consent,
exemption or similar right issued, granted, given or otherwise obtained or required to be
obtained, from or by any Governmental Entity, under the authority thereof or pursuant to any
applicable Law.

         “Permitted Liens” means (a) Liens for Taxes which are (i) being contested in good faith
by appropriate proceedings or (ii) not due and payable as of the Closing Date and which shall be
prorated or otherwise released at Closing and, in each case of clauses (i) and (ii), for which
adequate reserves have been made on the Financial Statements to the extent required by GAAP;
(b) mechanics liens and similar liens for labor (excluding Liens arising under ERISA or Code
Section 430), materials or supplies provided with respect to real property incurred in the
Ordinary Course of Business which are being contested in good faith by appropriate proceedings
for which adequate reserves have been made on the Financial Statements to the extent required
by GAAP and which shall be prorated or otherwise released at Closing (including, without
limitation, by virtue of the effect of the Sale Order); (c) with respect to real property, zoning,
building codes and other land use Laws regulating the use or occupancy of such real property or
the activities conducted thereon which are imposed by any Governmental Entity having
jurisdiction over such real property which are not violated by the current use or occupancy of
such real property or the operation of the Business, except where any such violation would not,
individually or in the aggregate, materially impair the use, operation or transfer of the affected
property or the conduct of the Business thereon as it is currently being conducted; (d) easements,
covenants, conditions, restrictions and other similar matters affecting title to real property and
other encroachments and title and survey defects, in each case that do not or would not
materially impair value or the use or occupancy of such real property or materially interfere with
the operation of the Business at such real property; (e) with respect to Leasehold Improvements,
any reversion or similar rights to the landlord or other third party upon expiration or termination
of the applicable Lease; (f) any Liens associated with or arising in connection with any Assumed
Liabilities, (g) Liens resulting from Credit Agreement Lenders’ and/or Buyer’s actions or
conduct upon or after the Closing, and (h) Liens that will be released or removed by operation of
the Sale Order (including, without limitation, Liens under Credit Agreement Loan Documents).

        “Person” means an individual, a partnership, a corporation, a limited liability company,
an association, a joint stock company, a trust, a joint venture, an unincorporated organization or
any other entity, including any Governmental Entity or any group or syndicate of any of the
foregoing.


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        “Personal Property Leases” means all leases of personal property relating to personal
property used by Sellers or to which any Seller is a party or by which the properties or assets of
any Seller are bound, in each case relating to the Business.

         “Petition Date” means the date of the filing of the Chapter 11 Cases.

       “PII” means “personally identifiable            information”      within   the   meaning   of
Section 101(41A) of the Bankruptcy Code.

         “Plan” means a Chapter 11 plan or plans of reorganization or liquidation.

        “PPP Cash” means cash received under the Coronavirus Aid, Relief and Economic
Security Act’s Paycheck Protection Program.

         “Purchase Price” has the meaning set forth in Section 2.5(a).

       “Purchased Assets” has the meaning set forth in Section 2.1; provided, however, that,
notwithstanding the foregoing or anything contained in this Agreement to the contrary, the
Purchased Assets shall not include any Excluded Assets or any asset held by any Seller pursuant
to any Lease or Personal Property Lease (a “Possessory Agreement”) unless the associated
Possessory Agreement is among the Assumed Contracts.

         “Purchased Actions” means all causes of action, lawsuits, Claims, rights of recovery and
other similar rights of any Seller, whether known or unknown, foreseen or unforeseen, existing
or hereinafter arising, in law, in equity or otherwise (including any derivative Claims asserted or
that may be asserted on behalf of any Seller), (i) arising under Chapter 5 of the Bankruptcy
Code, whether relating to the Business and the Purchased Assets or otherwise, or (ii) against any
current or former officer or director of any Seller or any shareholder of any Seller or any
Affiliate of any Seller.

       “Purchased Inventory” means Inventory that is part of the Purchased Assets as set forth in
Section 2.1.

         “Qualified Bid” means a written proposal provided to the Sellers for the purchase of
substantially all of Sellers’ assets that: (a) does not contain any financing or due diligence
contingencies; (b) is accompanied by reasonable evidence of committed financing or other
ability to perform; (c) is accompanied by a good-faith deposit equal to 10 percent of the
consideration proposed by such bidder; and (d) that is timely submitted by the bid deadline set
forth in the Bidding Procedures Order. This Agreement shall be deemed a Qualified Bid.

        “Qualified Bidder” means an entity that has entered into a confidentiality agreement with
Sellers and that Sellers in good faith and in their sole discretion determine (based on the
availability of financing and proof of financial ability, experience, and other relevant
considerations) is capable of consummating the purchase of the Business, if selected as the
successful bidder. The Buyer shall be deemed to be a Qualified Bidder.

         “Recent Employee” has the meaning set forth in Section 3.9(a).

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        “Recipes” has the meaning set forth in Section 2.1(x).

        “Records” means the books, records, information, ledgers, files, invoices, documents,
work papers, correspondence, lists (including customer lists, supplier lists and mailing lists),
plans (whether written, electronic or in any other medium), drawings, designs, specifications,
creative materials, advertising and promotional materials, marketing plans, studies, reports, data
and similar materials related to the Business.

        “Registered” means issued by, registered with, renewed by or the subject of a pending
application before any Governmental Entity, domain name registrar, or social media site.

        “Rejection Damages” means the amount of the distribution that the applicable landlord
under any Designated Contract would be entitled to under a Plan that the Bankruptcy Court has
confirmed and that has gone effective in the Chapter 11 Cases (with such calculation to be made
as if Sellers will not receive any proceeds from Buyer under this Agreement) solely for claims of
the applicable landlord for rejection of the applicable Designated Contract of real property that
are subject to section 502(b)(6)(A) of the Bankruptcy Code with the amount of such claims to be
subject to the limitations in section 502(b)(6)(A) of the Bankruptcy Code even if Sellers do not
object to such claims based on any applicable landlord’s filed claim exceeding such limitations
or the Bankruptcy Court does not adjudicate such claims.

        “Related Agreements” means the Management Agreement, Bill of Sale, the Assignment
and Assumption Agreement and the Intellectual Property Assignments and any other instruments
of transfer and conveyance as may be required under applicable Law to convey valid title of the
Purchased Assets to Buyer.

        “Related Party” means each officer or director of a Seller, each spouse, sibling, parent,
child, grandparent or grandchild of any director or officer of any Seller each trust for the benefit
of any of the foregoing, and each Affiliate of any of the foregoing.

        “Relief Proceeds” means, all rights of, or on behalf of, any Seller in respect of any
current or future disaster relief or other similar assistance program of any Governmental Entity in
respect of, or enacted in response to, the COVID-19 pandemic.

       “Representative” means a Person’s officers, directors, managers, employees, advisors,
representatives (including its legal counsel and its accountants) and agents.

       “Restaurant Petty Cash” means any petty cash of Sellers on the premises of any
Continuing Restaurant or Excluded Restaurant.

        “Sale Hearing” means the hearing conducted in the Bankruptcy Court to seek approval of
the Sale Motion and the Contemplated Transactions.

       “Sale Motion” means a motion filed by the Sellers with the Bankruptcy Court in
connection with the Chapter 11 Cases requesting the entry of the Sale Order.




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        “Sale Order” means an order of the Bankruptcy Court entered in the Chapter 11 Cases
consistent with the terms of this Agreement approving the Sale Motion and sale to Buyer
consistent with the terms of this Agreement in a form agreeable to Buyer.

         “Sale Order Deadline” means August 28, 2020.

         “Seller” or “Sellers” has the meaning set forth in the preamble.

         “Seller Released Parties” has the meaning set forth in Section 5.9.

        “Sellers’ Knowledge” (or words of similar import) means the actual knowledge of Ned
Lidvall and Mark A. Sellers, III, and the knowledge such person would have obtained, as a
prudent business person, after making due inquiry with respect to the particular matter in
question.

         “Sellers’ Rep” has the meaning set forth in Section 9.21.

       “Service Provider” means each director, officer, employee, manager, independent
contractor, consultant, leased employee or other service provider of any Seller.

      “Statutory Deadline” means the date that is one hundred twenty (120) days after the date
of commencement of the Chapter 11 Cases.

        “Subsidiary” means, with respect to any Person, any corporation, limited liability
company, partnership, association or other business entity of which (a) if a corporation, a
majority of the total voting power of shares of stock entitled (without regard to the occurrence of
any contingency) to vote in the election of directors, managers or trustees thereof (or other
persons performing similar functions with respect to such corporation) is at the time owned or
controlled, directly or indirectly, by that Person or one or more of the other Subsidiaries of that
Person or a combination thereof, or (b) if a limited liability company, partnership, association or
other business entity (other than a corporation), a majority of partnership or other similar
ownership interest thereof is at the time owned or controlled, directly or indirectly, by that
Person or one or more Subsidiaries of that Person or a combination thereof and for this purpose,
a Person or Persons owns a majority ownership interest in such a business entity (other than a
corporation) if such Person or Persons shall be allocated a majority of such business entity’s
gains or losses or shall be or control any managing director, managing member, or general
partner of such business entity (other than a corporation). The term “Subsidiary” shall include
all Subsidiaries of such Subsidiary.

        “Tax” or “Taxes” means any United States federal, state or local or non-United States
income, gross receipts, license, payroll, employment, excise, severance, stamp, occupation,
premium, windfall profits, environmental (including taxes under Section 59A of the IRC),
customs duties, capital stock, franchise, profits, withholding, social security (or similar),
unemployment healthcare, disability, natural resources, entertainment, amusement, registration,
real property, personal property, ad valorem, escheat or unclaimed property (whether or not
considered a tax under applicable Law), sales, use, liquor, cigarette, transfer, value added,
alternative or add-on minimum, estimated or other tax of any kind whatsoever (however

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denominated), whether computed on a separate or consolidated, unitary or combined basis or in
any other manner, including any interest, penalty or addition thereto, whether or not disputed.

       “Tax Return” means any return, declaration, report, claim for refund or information
return (including any related or supporting schedules, statements or information and Treasury
Form TD F 90-22.1 and FinCEN Form 114) or statement relating to Taxes, including any
schedule or attachment thereto, and including any amendment thereof.

         “Termination Event” has the meaning set forth in Section 8.1.

       “Transfer Tax” means any stamp, documentary, registration, transfer, sales, use, added-
value or similar Tax (including any penalties and interest thereon but excluding for the avoidance
of doubt any income Taxes) imposed under any applicable Law in connection with the
Contemplated Transactions.

       “Transferred Employees” means all Offerees who accept offers prior to the Closing
pursuant to Section 6.4(a).

         “Transferring Party” has the meaning set forth in Section 5.1(c).

       “Treasury Regulations” means regulations promulgated by the United States Department
of Treasury under the IRC.

         “Wind-Down Budget” is defined in Section 2.1(a).

                                         ARTICLE II
                                     PURCHASE AND SALE

         Section 2.1 Purchase and Sale of Purchased Assets. Pursuant to Sections 105, 363
and 365 of the Bankruptcy Code, on the terms and subject to the conditions set forth in this
Agreement (including, without limitation, Section 4.7 below), at the Closing, Buyer shall
purchase, acquire and accept from Sellers, and Sellers shall sell, transfer, assign, convey and
deliver to Buyer, all of the Sellers’ right, title and interest in, to and under the Purchased Assets,
free and clear of all Liens (other than Permitted Liens and any Liens included in the Assumed
Liabilities) to the extent provided in the Sale Order, for the consideration specified in
Section 2.5. “Purchased Assets” shall mean all of the direct or indirect right, title and interest of
Sellers in, to and under the tangible and intangible assets (including goodwill), properties, rights,
going concern value, claims and Contracts used, useful, or held for use in, or related to, the
Business (but excluding Excluded Assets) wherever situated and of whatever kind and nature,
real or personal, as of the Closing, including:

                    (a)    all Cash and Cash equivalents of Sellers, including Restaurant Petty
           Cash, except for (i) PPP Cash, (ii) cash that has otherwise been reserved or designated
           by Decree of the Bankruptcy Court entered prior to the date hereof for utility deposits
           (collectively, “Existing Escrows”) to the extent actually applied for such designated
           purpose (it being expressly agreed that notwithstanding anything to the contrary in
           Section 2.2 below, any cash that reverts to the Sellers from any Existing Escrow shall
           constitute a Purchased Asset), and (iii) in an aggregate amount needed to fund the
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           wind-down budget set forth on Schedule 2.1(a) (as the same may hereafter be amended
           from time to time with the prior written consent of Buyer, the “Wind-Down Budget”
           and, the aggregate amount of such Cash and Cash Equivalents in the foregoing the
           “Excluded Cash”); provided, that to the extent that Excluded Cash described herein
           (after taking into account any Backstop Amount (as defined in Section 5.9 below)
           actually funded to Sellers by Buyer that has not been used or applied for the purposes
           required by Section 5.9 below prior to (and is not used or applied at) the Closing) is
           insufficient to fund the entire Wind-Down Budget (the “Excluded Cash Deficiency
           Amount”), Buyer shall fund the Excluded Cash Deficiency Amount to the Sellers at the
           Closing in accordance with Sections 2.5, 2.8(b)(ii), and 5.9 (including, for the
           avoidance of doubt, the limitations set forth therein) hereof;

                  (b)    all bank accounts of Sellers, other than (i) the PPP Cash account, to the
           extent such account holds Excluded Cash, or (ii) Existing Escrows (but including any
           amounts reverting to the Sellers from such Existing Escrows);

                    (c)      all Accounts Receivable of Sellers as of the Closing;

                    (d)      all Credit Card Receivables;

                    (e)    all Inventory of Sellers as of the Closing located at (or in Buyer’s
           reasonable discretion movable and which is actually moved, at Buyer’s sole cost and
           expense at any time prior to August 31, 2020 in accordance with Section 9.24 hereof to)
           a Continuing Restaurant, including all rights of Sellers to receive such Inventory,
           supplies and materials which are on order as of the Closing solely in respect of the
           operation of a Continuing Restaurant, but excluding alcoholic beverage Inventory in
           jurisdictions where the Law does not permit Buyer to take title to such Inventory until it
           obtains the requisite Liquor License Approvals or other authorization from the
           Bankruptcy Court or any other pertinent Governmental Entity; provided, however,
           Sellers shall promptly transfer, assign, convey and deliver (at Buyer’s sole cost and
           expense) to Buyer such alcoholic beverage Inventories in each instance upon issuance
           of the relevant Liquor License Approval or other authorization from the Bankruptcy
           Court or relevant Governmental Entity;

                    (f)     without duplication of the above, all deposits (including, without
           limitation, deposits in transit, customer deposits and security deposits for rent,
           electricity, telephone, utilities or otherwise) and other prepaid charges and expenses of
           Sellers, including all amounts constituting Existing Escrows to the extent reverting to
           the Sellers;

                    (g)      all Assumed Contracts;

                  (h)    all Intellectual Property owned by Sellers, but as to any Intellectual
           Property which consists of a Possessory Agreement, only to the extent transfer or
           assignment of such Intellectual Property is not prohibited by Law;

                  (i)   all items        of machinery, equipment, supplies, furniture, fixtures,
           leasehold improvements        (to the extent of Sellers’ rights to any Leasehold
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           Improvements under the Leases that are Assumed Contracts) owned by Sellers as of the
           Closing and related to (or to the extent movable and actually moved, at Buyer’s sole
           cost and expense at any time prior to August 31, 2020 in accordance with Section 9.24
           hereof to) the Continuing Restaurants;

                   (j)      all Records, including Records related to (i) Taxes paid or payable by
           any Seller related to the Business or the Purchased Assets (provided that Sellers are
           entitled to retain copies of all Records and Buyer will make all such Records available
           to Sellers upon request and at no charge), but excluding any materials exclusively
           related to any Excluded Assets and (ii) eligibility to receive Relief Proceeds;

                    (k)     all goodwill associated with the Business or the Purchased Assets,
           including all goodwill associated with the Intellectual Property owned by Sellers and all
           rights under any confidentiality agreements executed by any third party for the benefit
           of any of Sellers to the extent relating to the Purchased Assets and/or the Assumed
           Liabilities (or any portion thereof);

                   (l)     all rights of Sellers under non-disclosure or confidentiality, noncompete,
           or nonsolicitation agreements with Current Employees or Former Employees, directors,
           consultants, independent contractors and agents of any of Sellers to the extent relating
           to the Purchased Assets and/or the Assumed Liabilities (or any portion thereof);

                   (m)     all of the Assumed Permits or, all of the rights and benefits accruing
           under any Permits that are (i) related to the Continuing Restaurants, or (ii) to the extent
           related to the Excluded Restaurants, listed on Schedule 7.1, in each case of clauses (i)
           and (ii), including all Liquor Licenses to the extent transferrable and held by Sellers,
           other than alcohol permits (including Liquor Licenses) in jurisdictions where the Law
           does not permit Buyer to take title to such Permits until it obtains the requisite
           approvals or other authorization from the Bankruptcy Court or any other pertinent
           Governmental Entity in which case Sellers shall transfer, assign convey and deliver to
           Buyer such permits in each instance upon issuance of the requisite approvals from the
           relevant Governmental Entity;

                  (n)    all Liquor Licenses, to the extent transferable, associated with any
           Excluded Restaurants not included on Schedule 7.1 pursuant to Section 2.1(m), or
           which the Sellers presently hold in safe keeping, each at the sole cost and expense of
           the Buyer;

                   (o)     the amount of, and all rights to any, insurance proceeds received by any
           of Sellers after the date hereof in respect of (i) the loss, destruction or condemnation of
           any Purchased Assets, occurring prior to, on or after the Closing, in each case to the
           extent relating to loss, destruction or condemnation which has not been repaired or
           restored prior to the Closing, or (ii) any Assumed Liabilities;

                  (p)    all other rights, demands, claims, credits, allowances, rebates or other
           refunds (excluding any vendor or supplier rebates) and rights in respect of promotional
           allowances or rights of setoff and rights of recoupment of every kind and nature

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           (whether or not known or unknown or contingent or non-contingent), other than against
           Sellers, arising out of or relating to the Continuing Restaurants as of the Closing,
           including all deposits (including customer deposits and security deposits (whether
           maintained in escrow or otherwise) for rent, electricity, telephone or otherwise),
           advances and prepayments, in each case to the extent the same relate to Continuing
           Restaurants;

                   (q)     all causes of action, lawsuits, judgments, claims, refunds, rights of
           recovery, rights of set-off, counterclaims, defenses, demands, warranty claims, rights to
           indemnification, contribution, advancement of expenses or reimbursement, or similar
           rights of any Seller (at any time or in any manner arising or existing, whether choate or
           inchoate, known or unknown, now existing or hereafter acquired, contingent or
           noncontingent), including, without limitation, the Purchased Actions;

                   (r)     all rights under or pursuant to all warranties, representations and
           guarantees made by suppliers, manufacturers, contractors and any other Person to the
           extent relating to equipment purchased, products sold, or services provided, to Sellers
           or to the extent affecting any Purchased Assets and/or Assumed Liabilities;

                   (s)     all cars, trucks, forklifts, other industrial vehicles and other motor
           vehicles set forth or described on Schedule 2.1(s);

                  (t)   all of the Sellers’ telephone numbers, fax numbers, e-mail addresses,
           websites, URLs and Internet domain names related to the Continuing Restaurants;

                   (u)     the right to receive and retain mail relating to, Accounts Receivable
           payments and other communications of Sellers and the right to bill and receive payment
           for services performed but unbilled or unpaid as of the Closing;

                 (v)    all rights arising from (i) any refunds due from federal, state and/or local
           Governmental Entities with respect to Taxes paid by Sellers or (ii) Relief Proceeds;

                    (w)    all of Sellers’ recipes, methods, procedures, cooking/preparation/mixing
           publications, guidelines, or standards, knowhow, ingredient lists, menus, price lists,
           nutritional, health, or dietary information, publications, or disclosures, and promotional
           or informational materials, in each case whether related to food, beverages (whether
           alcoholic or non-alcoholic), or otherwise (in each case, written or oral or in any other
           form whatsoever) (collectively, “Recipes”); and

                 (x)    all other assets that are related to or used in connection with the
           Purchased Assets or the Business (but excluding all of the Excluded Assets).

        Section 2.2 Excluded Assets.           Notwithstanding anything to the contrary in
Section 2.1, Buyer expressly understands and agrees that Buyer is not purchasing or acquiring,
and Sellers are not selling or assigning, any of the following assets, properties and rights of
Sellers (collectively, the “Excluded Assets”):

                    (a)      (i) the Excluded Cash;
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                  (b)     all alcoholic beverage Inventory of Sellers in jurisdictions where the
           Law does not permit Buyer to take title to such Inventory until it obtains the requisite
           Liquor License Approvals or other authorization from the Bankruptcy Court or any
           other pertinent Governmental Entity; provided, however, Sellers shall transfer, assign,
           convey and deliver to Buyer (at Buyer’s sole cost and expense) such alcoholic beverage
           Inventory in each instance upon issuance of the relevant Liquor License Approval or
           other authorization from the Bankruptcy Court or other relevant Governmental Entity;

                   (c)      all of Sellers’ certificates of incorporation and other organizational
           documents, qualifications to conduct business as a foreign entity, arrangements with
           registered agents relating to foreign qualifications, taxpayer and other identification
           numbers, seals, minute books, stock transfer books, unit certificates and other
           documents relating to the organization, maintenance and existence of any Seller as a
           limited liability company or other entity;

                  (d)     all equity securities of any Seller or securities convertible into,
           exchangeable, or exercisable for any such equity securities and all net operating losses
           of any Seller;

                  (e)     all Leases (and related Leased Real Property, if any) and Contracts, in
           each case, other than the Assumed Contracts;

                 (f)     any loans or notes payable to any Seller or any of its Affiliates from any
           employee of any Seller or any of its Affiliates;

                   (g)     any (1) Records containing confidential personal private information
           including confidential personnel and medical Records pertaining to any Current
           Employees or Former Employees to the extent the disclosure of such information is
           prohibited by applicable Law, (2) other Records that Sellers are required by Law to
           retain and (3) any Records or other documents relating to the Chapter 11 Cases that are
           protected by the attorney-client or similar privilege; provided that Buyer shall have the
           right to make copies of any portions of such retained Records (other than the Records
           referenced in subsection (3)) to the extent that such portions relate to the Business or
           any Purchased Asset;

                    (h)      all Permits other than the Assumed Permits;

                  (i)     all directors’ and officers’ liability Insurance Policies, including any tail
           insurance policies, including the rights of the directors and officers thereunder for
           coverage (i.e., advancement of expenses and liability coverage with respect to claims
           made against such officers and directors);

                    (j)      all Employee Benefit Plans;

                    (k)      the Excluded Restaurants and those assets set forth on Schedule 2.2; and

                   (l)    the rights of Sellers under this Agreement and the Related Agreements
           and all consideration payable or deliverable to Sellers under this Agreement.
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        Section 2.3 Assumption of Assumed Liabilities. On the terms and subject to the
conditions of this Agreement and the Sale Order, at the Closing, Buyer shall assume from Sellers
(and from and after the Closing pay, perform, discharge, or otherwise satisfy in accordance with
their respective terms), and Sellers shall irrevocably convey, transfer, and assign to Buyer, the
following Liabilities of the Business and only to the extent not paid prior to the Closing and no
others (collectively, the “Assumed Liabilities”):

                   (a)      Liabilities (i) for all Cure Amounts to the extent that the Sellers’ Cash
           and Cash Equivalents are not sufficient to pay such amounts, and (ii) under the
           Assumed Contracts and Assumed Permits arising from and after the Closing Date as
           well as any Liabilities to the extent arising out of the Purchased Assets or the operation
           of the Business solely in respect of the Continuing Restaurants, in each case under
           clause (ii) of this Subpart (a), arising from and after the Closing Date;

                    (b)    All Accounts Payable arising from the normal operation of Business that
           is accrued but not yet due as of the Closing and as set forth on Schedule 2.3(b) (as such
           Schedule may be updated and amended (i) by Sellers with Buyer’s consent (such
           consent not to be unreasonably withheld) between the date hereof and August 21, 2020,
           and (ii) as otherwise agreed upon by Sellers and Buyer up to the Closing);

                   (c)   all obligations of Sellers to honor gift cards in the Ordinary Course of
           Business at a Business restaurant (i.e., accepting such gift cards in exchange for goods
           or services delivered), whether relating to a Continuing Restaurant or an Excluded
           Restaurant, but excluding any escheatment claims related to such gift card obligations
           and excluding any claims for cash refunds to the extent not otherwise required by
           applicable Law in any jurisdiction in which a Continuing Restaurant is located; and

                   (d)    all accrued payroll, accrued and unused vacation, or other accrued paid
           time-off, and accrued payroll Taxes, in each case, that is earned or accrued by, but not
           yet payable, as of the Closing Date (and not paid by Sellers prior thereto) to any
           Transferred Employee (“Assumed Payroll Obligations”);

        Notwithstanding the foregoing and except as otherwise provided in Section 5.9 of this
Agreement, Assumed Liabilities shall not include (i) any other post-petition Liabilities of the
Sellers nor (ii) any liability for Taxes of any kind, except as provided in the last sentence of
Section 2.4 below.

         Section 2.4 Excluded Liabilities. Notwithstanding anything herein to the contrary,
the Parties expressly acknowledge and agree that Buyer shall not assume, be obligated to pay,
perform or otherwise discharge or in any other manner be liable or responsible for any Liabilities
of Sellers, whether existing on the Closing Date or arising thereafter, other than the Assumed
Liabilities (all such Liabilities that Buyer is not assuming being referred to collectively as the
“Excluded Liabilities”, including without limitation all Liabilities relating to or arising from any
Employee Benefit Plan or the employment or termination of any employee of any Seller (other
than the Assumed Payroll Obligations. For the avoidance of doubt, Excluded Liabilities shall
include any liability for Taxes of any kind other than any Taxes which are a lien not yet due and
payable as of and which are prorated between Sellers and Buyer at the Closing.

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        Section 2.5          Consideration.

                  (a)     In aggregate consideration for the sale and transfer of the Purchased
           Assets (the “Purchase Price”) shall be composed of the following:

                             i.         the Credit Bid; and

                             ii.        the assumption by Buyer of the Assumed Liabilities.

                    (b)            The Purchase Price shall be satisfied at the Closing as to:

                       i.     the Credit Bid, by causing the Credit Agreement Lenders to
        acknowledge in writing satisfaction of the portion of the Credit Agreement Lien
        Obligations covered by the Credit Bid and to release all guarantees of the security
        interests and liens on the Purchased Assets securing such obligations, all in form and
        content reasonably satisfactory to Sellers (the “Credit Bid And Release”); and

                      ii.   the amount of the Assumed Liabilities described in Section 2.3, by
         assuming such Assumed Liabilities through one or more Assignment and Assumption
         Agreements.

In addition, at the Closing or as soon as practicable thereafter, Buyer shall pay to the applicable
counterparties all Cure Amounts payable in connection with or as a condition to Sellers’
assumption and assignment of the Assumed Contracts to the extent Sellers do not have sufficient
cash to satisfy all Cure Amounts.

        Section 2.6          Assumption and Assignment of Contracts.

                   (a)     Schedule 2.6(a) sets forth a list of all Contracts and Leases to which a
           Seller is a party (other than such Contracts and Leases that have been rejected by
           Decree of the Bankruptcy Court or are the subject of a pending motion to reject as of
           the date of this Agreement), together with estimated Cure Amounts for each Assumed
           Contract.

                    (b)     From and after the date hereof until the Closing, Buyer may, in its sole
           discretion, (i) designate a Contract or Lease listed on Schedule 2.6(a) for assumption
           and assignment to Buyer, effective on and as of the Closing (such Contracts and
           Leases, the “Assumed Contracts”), or (ii) without in any manner reducing or otherwise
           affecting the Purchase Price, designate any Contract or Lease listed on Schedule 2.6(a)
           for rejection; for the avoidance of doubt, the Sellers will not object to any such
           designation made by Buyer pursuant to this Section 2.6(b). Except as so designated by
           Buyer, the Sellers shall not designate any Contract or Lease listed on Schedule 2.6(a)
           for assumption and assignment or for rejection on or after the date hereof. The
           Assumed Contracts as of the date hereof are set forth on Schedule 2.6(b) hereto, which
           will be supplemented in writing by Buyer as additional Leases and Contracts are
           designated for assumption and assignment or rejection prior to the Closing as set forth
           in this Section 2.6(b).

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                   (c)     In connection with the assumption by and assignment to Buyer of any
           Assumed Contracts pursuant to this Section 2.6, (i) the amounts, if any, necessary to
           cure all defaults, if any, and to pay all actual pecuniary losses, if any, that have resulted
           from such defaults under the Assumed Contracts (collectively, such amounts, the “Cure
           Amounts”), in each case as of the Petition Date and to the extent required by
           Section 365(b)(1)(A) and (B) of the Bankruptcy Code and any Decree of the
           Bankruptcy Court, shall be paid by Sellers at the Closing, and (ii) Buyer shall provide
           such adequate assurance of future performance as of the Sale Hearing as the
           Bankruptcy Court deems necessary to satisfy the conditions contained in
           Sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to Assumed
           Contracts.

                   (d)     Subject to Buyer’s reasonable cooperation therewith, Sellers shall use
           their respective commercially reasonable efforts to obtain a Decree of the Bankruptcy
           Court to assign the Assumed Contracts to Buyer on the terms set forth in this
           Section 2.6. In the event Sellers are unable to assign any such Assumed Contract to
           Buyer pursuant to a Decree of the Bankruptcy Court, then the Parties shall use their
           respective commercially reasonable efforts to obtain, and to cooperate (at no material
           cost or expense to Sellers) in obtaining, all Consents from Governmental Entities and
           third parties necessary to assume and assign such Assumed Contracts to Buyer,
           including, in the case of Buyer, paying any applicable Cure Amounts.

                     (e)    Notwithstanding the foregoing, but subject to Section 5.1, a Contract
           shall not be an Assumed Contract hereunder and shall not be assigned to, or assumed
           by, Buyer to the extent that such Contract (i) is rejected by a Seller or terminated by a
           Seller in accordance with the terms hereof or by the other party thereto, or terminates or
           expires by its terms, on or prior to the Closing and is not continued or otherwise
           extended upon assumption, (ii) was not listed on Schedule 2.6(a) and not provided to
           Buyer by Sellers at least five (5) Business Days prior to the Closing and requires a
           Consent of any Governmental Entity or other third party (except as permitted by the
           Bankruptcy Code) in order to permit the sale or transfer to Buyer of Sellers’ rights
           under such Contract, and no such Consent has been obtained prior to the Closing, or
           (iii) relates solely to Excluded Assets. In addition, a Permit (including any Liquor
           License) shall not be assigned to, or assumed by, Buyer to the extent that such Permit
           requires a Consent of any Governmental Entity or other third party (other than, and in
           addition to, that of the Bankruptcy Court) in order to permit the sale or transfer to
           Buyer of Sellers’ rights under such Permit, and no such Consent has been obtained
           prior to the Closing.

                   (f)     Subject to the terms and conditions herein provided, Seller and Buyer
           shall use their good faith efforts to take, or cause to be taken, all reasonable action, or
           do, or cause to be done, all reasonable things, necessary, proper or advisable under
           applicable laws and regulations to consummate and make effective the transactions
           contemplated by this Agreement.

       Section 2.7 Closing. The Closing shall take place remotely by electronic exchange of
counterpart signature pages commencing at 10:00 a.m. Eastern Time on the Closing Date upon
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satisfaction or waiver of all conditions hereunder to the parties’ respective obligations to
consummate the transactions provided for herein.

        Section 2.8          Deliveries at Closing.

                  (a)     At the Closing, Sellers shall deliver to Buyer the following documents
           and other items, duly executed by Sellers, as applicable:

                             i.     all Bills of Sale reasonably requested by Buyer;

                             ii.    all Assignment and Assumption Agreements reasonably requested
        by Buyer;

                        iii.   instruments of assignment in form and substance to be agreed to by
        the Parties in their reasonable discretion for all Registered Intellectual Property
        transferred or assigned hereby and general assignments of all other Intellectual Property
        of the Sellers, in each case as reasonably requested by Buyer (collectively, the
        “Intellectual Property Assignments”);

                        iv.    a non-foreign affidavit from the regarded owner of the Sellers for
         U.S. federal income Tax purposes, dated as of the Closing Date, sworn under penalty of
         perjury and in form and substance required under Treasury Regulations issued pursuant
         to Section 1445 of the IRC stating that such owner is not a “foreign person” as defined in
         Section 1445 of the IRC;

                             v.     the officer’s certificates required to be delivered pursuant to
         Section 7.1(l);

                             vi.    the Management Agreement duly executed by Sellers;

                        vii.    such other bills of sale, completed transfer tax returns, assignments
        of leases, notices to landlords, notices to subtenants, endorsements, assignments and
        other good and sufficient instruments of conveyance and transfer, in form and content not
        inconsistent with the rights and obligations imposed upon Buyer and Sellers pursuant to
        the other provisions of this Agreement and otherwise reasonably satisfactory to Buyer (in
        each case signed and acknowledged as appropriate), as Buyer may reasonably request to
        vest in Buyer, to the extent transferable and assignable, all the right, title and interest of
        the Sellers in, to or under any or all the Purchased Assets subject only to Permitted Liens
        to the extent provided in the Sale Order (including, without limitation, releases and
        terminations of any Liens that are not Permitted Liens);

                        viii. originals (or, to the extent originals are not available, copies) of all
         Assumed Contracts (together with all material amendments, supplements or
         modifications thereto) to the extent not otherwise already made available to Buyer
         through the Dataroom;




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                       ix.    physical possession, at their respective locations as of the Closing,
        of all of the Purchased Assets capable of passing by delivery with the intent that title in
        such Purchased Assets shall pass by and upon delivery;

                       x.      certificates of title and title transfer documents to all titled motor
        vehicles included within the Purchased Assets; and

                         xi.     all other previously undelivered certificates, agreements and other
        documents, instruments and writings reasonably requested by Buyer to be delivered by
        Sellers at or prior to the Closing pursuant to this Agreement.

                  (b)     At the Closing, Buyer shall deliver to Sellers the following documents
           and other items, duly executed by Buyer, as applicable:

                             i.     any and all Assignment and Assumption Agreements to which
        Buyer is party;

                       ii.    the Purchase Price, in the form of the Credit Bid And Release, in
        form reasonably satisfactory to Sellers and the Excluded Cash Deficiency Amount, if
        applicable, such Excluded Cash Deficiency Amount to be wired to Sellers in accordance
        with such written wiring instructions as Sellers may provide to Buyer at least two (2)
        Business Days prior to the Closing;

                             iii.   the officer’s certificates required to be delivered pursuant to
        Section 7.2(g);

                             iv.    the Management Agreement, duly executed by Buyer; and

                       v.       all other previously undelivered certificates, agreements and other
         documents required by this Agreement to be delivered by Buyer at or prior to the Closing
         in connection with the Contemplated Transactions.

        Section 2.9 Allocation. Within ninety (90) calendar days after the Closing Date,
Buyer shall in good faith prepare an allocation of the Purchase Price (and all capitalized costs
and other amounts treated as purchase price for U.S. federal income Tax purposes) among the
Purchased Assets and the Assumed Liabilities in accordance with Section 1060 of the IRC, the
Treasury Regulations thereunder (and any similar provision of United States state or local or
non-United States Law, as appropriate) (as finally determined, and subject to any further
amendment, in each case pursuant to this Section 2.9, the “Allocation”). Sellers shall have thirty
(30) calendar days following receipt of the Allocation to review and comment on such the
Allocation. If the Sellers disagree with any determinations set forth on the Allocation (the sole
permissible basis for which shall be that the Allocation was not prepared in accordance with this
Section 2.9), the Sellers shall deliver a written notice to Buyer setting forth its objections.
Unless Sellers deliver notice to Buyer within the thirty (30) day review period, Sellers shall be
deemed to have accepted the determinations set forth in the Allocation. If the Sellers deliver the
notice to Buyer within the thirty (30) day review period, Buyer and the Seller shall, during the
thirty (30) days following such delivery or any mutually agreed extension thereof, use their
commercially reasonable efforts to reach agreement on the disputed determinations. Buyer and
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Sellers shall report, act and file Tax Returns (including Internal Revenue Service Form 8594) in
all respects and for all purposes consistent with the Allocation as determined pursuant to this
Section 2.9. Neither Buyer nor Sellers shall take any position (whether in audits, Tax Returns or
otherwise) which is inconsistent with the Allocation, unless required by a “determination” within
the meaning of Section 1313 of the IRC.

       Section 2.10 Excluded Locations. Any of Sellers’ restaurant locations with respect to
which the associated Leases have not been designated by Buyer as Assumed Contracts in
accordance with Section 2.6(a) shall be deemed to have been classified as Excluded Restaurants
and Excluded Assets.

                                    ARTICLE III
                     SELLERS’ REPRESENTATIONS AND WARRANTIES

       Except as set forth in the disclosure schedule accompanying this Agreement, as may be
updated, amended or supplemented by Sellers in writing from time to time until August 7, 2020
(the “Disclosure Schedule”), Sellers jointly and severally represent and warrant to Buyer as of
the date hereof and as of the Closing Date in each case, unless otherwise specified in the
representations and warranties below, in which case the representation and warranty is made as
of such date, that the statements contained in this Article III are true and correct.

         Section 3.1         Organization of Sellers; Good Standing.

                   (a)     Each Seller is duly incorporated or organized, as the case may be, and
           validly existing and in good standing under the Laws of its state of incorporation or
           formation. Each Seller is duly qualified or otherwise authorized as a foreign entity to
           transact business in each jurisdiction listed on Schedule 3.1 of the Disclosure Schedule,
           which are all of the jurisdictions in which the nature of the Business or the Purchased
           Assets requires such Seller to so qualify. Sellers have made available to Buyer each
           Seller’s Organizational Documents that set forth the state of incorporation or formation
           for each Seller. Subject to the requirements of the Bankruptcy Code, each Seller has all
           necessary power and authority to own, lease and operate its assets, properties and to
           conduct its business in all jurisdictions in which such Seller conducts business (or
           conducted business prior to the Business Cessation Event) and in the manner in which
           its business is currently being conducted (or was conducted prior to the Business
           Cessation Event) and has historically been conducted.

                   (b)        None of the Sellers has any Subsidiaries (other than other Sellers, if
           applicable).

       Section 3.2 Authorization of Transaction. Subject to the Sale Order having been
entered and still being in effect and not subject to any stay pending appeal at the time of Closing:

                  (a)     each Seller has all requisite applicable corporate or limited liability
           company power and authority to execute and deliver this Agreement and all Related
           Agreements to which it is a party and to perform its obligations hereunder and
           thereunder; the execution, delivery and performance of this Agreement and all Related
           Agreements to which such Seller is a party have been duly authorized by such Seller
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           and no other corporate or company action, as applicable, on the part of such Seller is
           necessary to authorize this Agreement or the Related Agreements to which it is party or
           to consummate the Contemplated Transactions; and

                   (b)      This Agreement constitutes the valid and legally-binding obligations of
           Sellers, enforceable against Sellers in accordance with its terms and conditions, subject
           to applicable bankruptcy, insolvency, moratorium or other similar Laws relating to
           creditors’ rights and general principles of equity. Each Related Agreement to which
           any Seller is a party, when executed and delivered, will constitute the valid and legally-
           binding obligations of such Seller, as applicable, enforceable against Sellers, as
           applicable, in accordance with their respective terms and conditions, subject to
           applicable bankruptcy, insolvency, moratorium or other similar Laws relating to
           creditors’ rights and general principles of equity.

         Section 3.3         Noncontravention; Consents and Approvals.

                    (a)     Neither the execution and delivery of this Agreement, nor the
           consummation of the Contemplated Transactions (including the Related Agreements),
           subject to the Sale Order having been entered and still being in effect and not subject to
           any stay pending appeal at the time of Closing, will (with or without notice or lapse of
           time or both) (i) conflict in any material respect with or result in a breach of the
           Organizational Documents of any Seller, (ii) violate any Law or Decree to which any
           Seller is, or its respective assets or properties are, subject, (iii) conflict with any
           Assumed Contract or Assumed Permit, or (iv) conflict with, or result in any violation of
           or constitute a breach or default under, any order of any Governmental Entity
           applicable to the Sellers or any of the Purchased Assets, and, in the case of clauses (ii),
           (iii) and (iv) for such conflicts, breaches, violations, defaults, accelerations, rights or
           failures to give notice, would not, individually or in the aggregate, have a Material
           Adverse Effect.

                   (b)     Except as set forth in Schedule 3.3(b) of the Disclosure Schedule,
           subject to the Sale Order having been entered and still being in effect (and not subject
           to any stay pending appeal at the time of Closing), no Consent, notice or filing is
           required to be obtained by any Seller from, or to be given by any Seller to, or made by
           any Seller with, any Governmental Entity in connection with the execution, delivery
           and performance by any Seller of this Agreement or any Related Agreement. After
           giving effect to the Sale Order and any applicable order of the Bankruptcy Court
           authorizing the assignment and assumption of the Assumed Contracts, no Consent,
           notice or filing is required to be obtained by any Seller from, or to be given by any
           Seller to, or made by any Seller with, any Person that is not a Governmental Entity in
           connection with the execution, delivery and performance by any Seller of this
           Agreement or any Related Agreement, except where the failure to give notice, file or
           obtain such authorization, consent or approval would not, individually or in the
           aggregate, reasonably be expected have a Material Adverse Effect or prevent or
           materially impair or delay the Sellers’ ability to consummate the Contemplated
           Transactions on a timely basis.


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         Section 3.4 Compliance with Laws. Sellers are in compliance with all Laws
applicable to the Business or the Purchased Assets in all material respects. As of the date hereof,
Sellers have not received any written notice of violation of any Law in any material respect with
respect to any Seller, the Business or the Purchased Assets and, to Sellers’ Knowledge, there is
no reasonable basis for the issuance of any such notice or the taking of any action for such
violation.

        Section 3.5 Title to Purchased Assets. Sellers, as of immediately prior to the
Closing, have good and valid title to, or, in the case of leased assets, have good and valid
leasehold interests in, the Purchased Assets, free and clear of all Liens (except for Permitted
Liens), subject to entry of the Sale Order. At the Closing or such time as title is conveyed under
Section 2.6, Sellers will convey, subject to the Sale Order having been entered and still being in
effect and not subject to any stay pending appeal at the time of Closing, good and valid title to,
or valid leasehold interests in, all of the Purchased Assets, free and clear of all Liens (except for
Permitted Liens), to the fullest extent permissible under Section 363(f) of the Bankruptcy Code
and subject to the rights of licensees under Section 365(n) of the Bankruptcy Code. The
Purchased Assets constitute substantially all of the properties, assets and rights (including
Intellectual Property) used by the Sellers to conduct and operate the Business at the Continuing
Restaurants in all material respects as conducted and operated by the Sellers prior to the Business
Cessation Event. All of the Purchased Assets are in good order and repair (ordinary wear and
tear excepted) for assets of comparable age and past use and are capable of being used in the
Ordinary Course of Business to operate the Business substantially as conducted and operated by
the Sellers prior to the Business Cessation Event. No Person other than Sellers are engaged in
the operation of, or hold rights, title and interest in (except for Permitted Liens), the Purchased
Assets. None of the personal or movable property included in the Purchased Assets is located
other than at the Leased Real Property.

         Section 3.6 Contracts. Schedule 3.6 of the Disclosure Schedule sets forth an accurate
list, as of the date hereof, of all material executory Contracts, including any and all amendments,
modifications, supplements, exhibits and restatements thereto and thereof, to which a Seller is a
party with respect to the Business as of the date hereof and Sellers have made available to Buyer
true and complete copies of all such Contracts or, to the extent any of such Contracts are oral,
Schedule 3.6 of the Disclosure Schedule contains a description of the material terms thereof.
Except as set forth in Schedule 3.6 of the Disclosure Schedule, no Seller has assigned, delegated
or otherwise transferred to any third party any of its rights or obligations with respect to any
Assumed Contract. The Assumed Contracts include all Contracts material to the ownership
and/or operation of the Business at the Continuing Restaurants. Sellers have not, and, to Sellers’
Knowledge, no other party to any Assumed Contract has, commenced any action against any of
the parties to any Assumed Contract or given or received any written notice of any material
default or violation under any Assumed Contract that has not been withdrawn or dismissed
except to the extent such default or violation will be cured as a result of the payment of the
applicable Cure Amounts, assuming entry of the Sale Order. To Sellers’ Knowledge, each
Assumed Contract is, or will be upon the Closing, valid, binding and in full force and effect in
accordance with its terms.

         Section 3.7         Intellectual Property.

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                   (a)     Schedule 3.7 of the Disclosure Schedule sets forth a true and complete
           list of (i) all Registered Intellectual Property that is owned by any Seller, (ii) all
           executory Contracts pursuant to which any Seller obtains the right to use any
           Intellectual Property, and (iii) all material Contracts pursuant to which any Seller grants
           to any other Person the right to use any Intellectual Property (including all Contracts
           pursuant to which any Seller grants to any other Person any exclusive rights with
           respect to any Intellectual Property). Sellers exclusively own all Intellectual Property
           included among the Purchased Assets (including all such Registered Intellectual
           Property) free and clear of all Liens (except for Permitted Liens), and all such
           Registered Intellectual Property is valid, subsisting and, enforceable, and is not subject
           to any outstanding Decree adversely affecting Sellers’ use thereof or rights thereto.

                   (b)    To Sellers’ Knowledge, and except as set forth on Schedule 3.7 of the
           Disclosure Schedule, none of the use of the Intellectual Property included in the
           Purchased Assets, the conduct of the Business as conducted prior to the Business
           Cessation Event (except with respect solely to the Excluded Restaurants), nor any of
           the products sold or services provided by Sellers or any of their Affiliates in connection
           therewith (except with respect solely to the Excluded Restaurants), infringes upon or
           otherwise violates the Intellectual Property of any other Person. To Sellers’
           Knowledge, no third party is infringing any Intellectual Property owned by any Seller
           and included in the Purchased Assets.

                   (c)    Sellers have used commercially reasonable efforts to maintain, defend,
           protect, enforce, and preserve all trade secrets and material confidential information
           included in the Purchased Assets, including all Recipes, and, to Sellers’ Knowledge, no
           such trade secrets, confidential information, or Recipes have been disclosed or accessed
           by any other Person other than to Persons under binding obligations of confidentiality
           and non-use. To Sellers’ Knowledge, no such trade secrets, material confidential
           information, or Recipes have been improperly accessed, disclosed, or used.

         Section 3.8         Litigation.

                    (a)    Other than the Chapter 11 Cases, Schedule 3.8(a) of the Disclosure
           Schedule sets forth, as of the date hereof, all unresolved Litigation brought or
           threatened in writing by or against any Seller, in each case, which seeks to impose
           Liability upon any party in an amount greater than $50,000, and to Sellers’ Knowledge,
           there is no other Litigation threatened in writing against any Seller which would affect
           the ability of any Seller to enter into this Agreement, any Related Agreement, or to
           consummate the Contemplated Transactions.

                 (b)     Schedule 3.8(c) of the Disclosure Schedule sets forth sets forth any
           Decree to which any Seller is subject.

         Section 3.9         Employees and Employment Matters.

                 (a)   No Seller is or within the last three (3) years has been a party to or
           bound by any collective bargaining agreement covering the Current Employees or

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           Former Employees nor has there been in the last three (3) years any strike, walkout,
           work stoppage, or other material collective dispute affecting any Seller with respect to
           the Business. No Current Employee is and within the last (3) years no Current
           Employee or Former Employee has been represented by a union or other collective
           bargaining representative with respect to his or her employment with any Seller. To
           Sellers’ Knowledge, there is no organizational effort being made or threatened by or on
           behalf of any labor union with respect to any of the Current Employees, nor has there
           been in the last three (3) years with respect to any Current Employees or Former
           Employees. No later than ten (10) Business Days following the date hereof, Sellers
           shall make available to Buyer a list of all Current Employees and Former Employees
           who were employed by Sellers as of February 29, 2020 (such Former Employees,
           “Recent Employees”), including such individual’s name; title or position; status (part-
           time, full-time, exempt, nonexempt, etc.); whether a Current Employee or Recent
           Employee; whether paid on a salaried, hourly or other basis; current base salary or
           wage rate; current target bonus; other incentive or non-incentive based compensation;
           start date; service reference date (if different from the start date); work location;
           vacation entitlement formula; and an indication of whether or not any Current
           Employee is on leave of absence or furlough (the “Employee Roster”).

                  (b)   There are no grievances or unfair labor practice complaints pending
           against any Seller before the National Labor Relations Board or any other
           Governmental Entity with respect to any Current Employees or Former Employees.

                     (c)     Sellers are in compliance in all material respects with all applicable
           Laws relating to employment or labor, including those related to hiring, background
           checks, wages, pay equity, hours, collective bargaining and labor relations,
           classification of independent contractors and employees, equal opportunity, document
           retention, notice, plant closing and mass layoff, health and safety, employment
           eligibility verification, immigration, child labor, discrimination, harassment, retaliation,
           accommodations, disability rights or benefits, affirmative action, workers’
           compensation, unemployment insurance, employment and reemployment rights of
           members of the uniformed services, secondment, employee leave issues and the
           payment of social security and other Taxes, and are not liable for any arrears of wages,
           other compensation or benefits (other than such Liabilities that have been incurred in
           the Ordinary Course of Business of the Seller and are not past due), or any Taxes or
           penalties for failure to comply with any of the foregoing, including, without limitation,
           any of the foregoing arising out of other otherwise in connection with the Business
           Cessation Event.

                   (d)   No Current Employee, Former Employee, or other service provider has
           been improperly excluded from participation in any Employee Benefit Plan (to the
           extent such individual is or should be eligible under the terms of such Employee
           Benefit Plan), and none of the Sellers has any direct or indirect liability, whether
           absolute or contingent, with respect to any misclassification of any service provider as
           an independent contractor or on any other non-employee basis for such Seller rather
           than as an employee, with respect to any individual employed, engaged, or leased by

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           the Seller from another employer, or with respect to any misclassification of any
           employee as exempt versus non-exempt under the Fair Labor Standards Act.

                   (e)    Except as set forth on Schedule 3.9(e) of the Disclosure Schedule, there
           is no employment or labor-related claim, complaint, demand for arbitration, or
           administrative charge pending against any Seller brought by or on behalf of any Current
           Employee, Former Employee or any Governmental Entity, and to Sellers’ Knowledge,
           no such claim is threatened. Except as disclosed to Buyer confidentially, in the last five
           (5) years, there have been no allegations of sexual or other unlawful harassment or
           discrimination made against any Current Employee or Former Employee at the
           management level or higher.

                  (f)    All Current Employees are, and Recent Employees were, authorized to
           work in the United States.

                   (g)    Except as set forth on Schedule 3.9(g) of the Disclosure Schedule,
           Sellers have not made application to receive or otherwise sought Relief Proceeds.

         Section 3.10 Employee Benefit Plans. Schedule 3.10 of the Disclosure Schedule lists
each Employee Benefit Plan that Sellers maintain or to which Sellers contribute or which Sellers
have maintained or to which Sellers have contributed in the past twelve (12) months and that
provides or provided benefits to any Current Employee or Recent Employee. No event or
circumstance exists, or could exist as of the Closing, under which Buyer could incur any
Liability with respect to any Employee Benefit Plan.

         Section 3.11 Real Property.

                    (a)      Sellers do not own any real property.

                   (b)     Schedule 3.11(b) of the Disclosure Schedule sets forth the address of
           each Leased Real Property, and a true and complete list of all Leases (including the
           date and name of the parties to such Lease document). Sellers have made available to
           Buyer a true and complete copy of all Leases (including all amendments, extensions,
           renewals, guaranties and other agreements with respect thereto) for such Leased Real
           Property, as amended through the date hereof. Except as set forth in Schedule 3.11(b)
           of the Disclosure Schedule, with respect to each of the Leases: (i) to Sellers’
           Knowledge and subject to the effect on enforceability of (A) any applicable Law
           relating to bankruptcy, reorganization, insolvency, moratorium, fraudulent conveyance
           or preferential transfers, or similar Laws relating to or affecting creditors’ rights
           generally and (B) general principles of equity (regardless of whether enforceability is
           considered in a proceeding in equity or at law), such Lease is legal, valid, binding,
           enforceable and in full force and effect in accordance with its terms; (ii) Sellers’
           possession and quiet enjoyment of the Leased Real Property under such Lease has not
           been disturbed, and to Sellers’ Knowledge, there are no disputes with respect to Sellers’
           or the applicable guarantor’s obligations under such Lease that will not be satisfied by
           the Sale Order; (iii) to Sellers’ Knowledge, no other party to a Lease (including,
           without limitation, any guarantor) is in material breach or default under such Lease, and

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           no event has occurred or circumstance exists which, with the delivery of notice, the
           passage of time or both, would constitute such a material breach or default; (iv) no
           security deposit or portion thereof deposited with respect such Lease has been applied
           in respect of a breach or default under such Lease which has not been redeposited in
           full; (v) the other party to such Lease is not an affiliate of, and otherwise does not have
           any economic interest in, Sellers; (vi) the Sellers have not subleased, licensed or
           otherwise granted any Person the right to use or occupy such Leased Real Property or
           any portion thereof; and (vii) there are no liens or encumbrances (other than Permitted
           Liens) on the estate or interest created by such Lease.

                  (c)    Schedule 3.11(c) of the Disclosure Schedule sets forth a description of
           all material Leasehold Improvements with outstanding commitments in excess of
           $100,000 for each Leased Real Property.

                  (d)     The Leased Real Property identified in Schedule 3.11(b) of the
           Disclosure Schedule and the Leasehold Improvements comprise all of the real property
           used in or otherwise related to the operation by Sellers prior to the Business Cessation
           Event of, the Business.

                  (e)     Sellers have received no written notice of any condemnation,
           expropriation or other proceeding in eminent domain pending or, to Sellers’
           Knowledge, which is threatened, affecting any real property underlying the Leased Real
           Property or any portion thereof or interest therein.

        Section 3.12 Tangible Personal Property. Schedule 3.12 of the Disclosure Schedule
sets forth all material Personal Property Leases related to the Continuing Restaurants, and, to
Sellers’ Knowledge, each such material Personal Property Lease is valid and enforceable, subject
to applicable bankruptcy, insolvency, moratorium or other similar Laws relating to creditors’
rights and general principles of equity.

         Section 3.13 Permits.

                   (a)     Schedule 3.13(a) of the Disclosure Schedule contains a list of all Permits
           related to the Continuing Restaurants that Sellers hold as of the date hereof in
           connection with the operations of the Business. The Permits set forth on
           Schedule 3.13(a) of the Disclosure Schedule represent all Permits required for the
           operation of the Continuing Restaurants as operated prior to the Business Cessation
           Event. Each Seller complies, and has at all times complied, in all material respects with
           all such Permits, and no Seller has received in the past five years any notice or other
           communication from any Governmental Entity or any other Person that any Seller is
           not in compliance in any material respect with any such Permit or of any actual or
           possible revocation, withdrawal, suspension, cancellation, termination or material
           modification of any such Permit. As of the date hereof, there is no Litigation pending
           or, to Sellers’ Knowledge, threatened in writing that seeks the revocation, cancellation,
           suspension, failure to renew or adverse modification of any material Assumed Permits,
           except where a failure of this representation and warranty to be so true and correct
           would not be material to the ownership and operation of the Continuing Restaurant or

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           Continuing Restaurants that operate under such Permit. All required filings with
           respect to the Assumed Permits have been made and all required applications for
           renewal thereof have been filed, except where a failure of this representation and
           warranty to be so true and correct would not be material to the ownership and operation
           of the Business.

                   (b)     Schedule 3.13(b) of the Disclosure Schedule sets forth a complete and
           correct list as of the date of this Agreement of Liquor Licenses related to the
           Continuing Restaurants. To Sellers’ Knowledge, each of the Sellers is in compliance in
           all material respects with all applicable state, municipal and other governmental laws,
           regulations and rules with respect to the sale of liquor and all alcoholic beverages and
           has the right to sell liquor at retail for consumption within each of the restaurant
           locations of such Seller where the Leases constitute Assumed Contracts, subject to and
           in accordance with all applicable provisions of the Liquor Licenses. To Sellers’
           Knowledge, except as set forth in Schedule 3.13(b) of the Disclosure Schedule, in the
           past five years, (i) there has been no Litigation brought or threatened in writing to be
           brought by or before a Governmental Entity in respect of any such Liquor License
           related to a Continuing Restaurant or the activities of such Seller in connection with
           any such Liquor License (or in connection with any other liquor licenses previously
           held or used by such Seller), (ii) no such Liquor License related to a Continuing
           Restaurant is subject to any due but unpaid Tax obligation owed to a Governmental
           Entity, the outstanding nature of which would preclude transfer of such Liquor License
           from any of the Sellers to Buyer, and (iii) no such Liquor License related to a
           Continuing Restaurant has been threatened by a Governmental Entity to be revoked,
           limited or not renewed.

         Section 3.14 Purchased Inventory.

                   (a)   No Inventory that is Purchased Inventory is damaged in any way or
           subject to a current or past product recall, except for any such damage or any such
           recall which would not be material to the Purchased Inventory taken as a whole;

                   (b)     To Sellers’ Knowledge, the Purchased Inventory is in material
           compliance with United States federal and applicable state guidelines for such products
           as of the date hereof; and

                   (c)     To Sellers’ Knowledge, the Purchased Inventory is in working condition
           or in a condition fit for sale and consumption in accordance with all applicable Laws, as
           the case may be.

       Section 3.15 Environmental Matters.            Except as set forth in Schedule 3.15 of the
Disclosure Schedule:

                   (a)    Each Seller is, and has been during the prior two (2) years, in
           compliance in all material respects with all applicable Environmental Laws, which
           compliance has included obtaining and maintaining all permits, licenses and
           authorizations required under applicable Environmental Laws;

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                    (b)   No Seller has received during the prior two (2) years written notice from
           any Governmental Entity or third party regarding any actual or alleged violation of or
           Liability under Environmental Laws;

                    (c)   To Sellers’ Knowledge, no Hazardous Substance has been released at
           any current or former Leased Real Property, or other real property, by Sellers in
           violation of any Environmental Law; and

                   (d)     Sellers have made available to Buyer copies of all material
           environmental audits, assessments and reports in its possession relating any actual or
           potential Liabilities under Environmental Laws with respect to any current or former
           Leased Real Property.

         Section 3.16 Financial Statements.

                    (a)     The Sellers have made available to Buyer true and correct copes of
           (i) the unaudited consolidated balance sheet of the Sellers for the fiscal year ended on
           or about December 31, 2018 and December 31, 2019, and the related consolidated
           statement of income and cash flows of Sellers for the years then ended, and (ii) the
           unaudited consolidated balance sheet of the Sellers for the fiscal quarter ended on or
           about March 31, 2020, and the related consolidated statement of income and cash flows
           of Sellers for the three months then ended (such unaudited statements, including the
           related notes and schedules thereto, are referred to herein as the “Financial
           Statements”). Each of the Financial Statements has been prepared in accordance with
           GAAP consistently applied and presents fairly in all material respects the consolidated
           financial position, results of operations and cash flows of Sellers as of the dates and for
           the periods indicated therein, subject to normal year-end adjustments (which will not be
           material individually or in the aggregate) and the absence of complete notes in the case
           of the unaudited statements. Other than with respect to Excluded Liabilities as to which
           the Sellers do not provide any representations and warranties, no Seller has any
           material Liabilities that would be required by GAAP to be reflected on a consolidated
           balance sheet (or the notes thereto) of the Sellers, except for liabilities and obligations
           (a) reflected, accrued or reserved against in the Sellers’ consolidated balance sheet for
           the period ended on March 31, 2020 (or the notes thereto) included in the Financial
           Statements, (b) incurred in the Ordinary Course of Business since March 31, 2020,
           (c) incurred pursuant to the Contemplated Transactions, or (d) obligations under
           Assumed Contracts (other than liabilities or obligations related to or arising out of
           breaches of such Assumed Contracts to the extent arising prior to the Closing Date).
           Since December 31, 2019, to Sellers’ Knowledge, as of the date hereof, no Seller has
           received any written complaint, allegation, assertion or Claim regarding the accounting
           or auditing practices, procedures, methodologies or methods of Sellers or their
           respective internal accounting controls with respect to the Business.

                   (b)     The Sellers have established and maintained and, for the past five years,
           have maintained in all material respects, a system of internal accounting controls
           sufficient to reasonably ensure (i) the reliability of financial reporting and the
           preparation of the financial statements of the Sellers and (ii) that (A) all transactions are

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           executed in accordance with management’s general or specific authorizations; (B) all
           transactions are recorded when and as necessary to maintain asset accountability and to
           permit preparation of financial statements in conformity with GAAP applied using the
           same accounting practices, policies, principles and methodologies, with consistent
           classifications, judgments and valuation and estimation accrual methodologies, used in
           the preparation of the Financial Statements; and (C) all accounts, notes and other
           receivables are recorded accurately, and proper and adequate procedures are
           implemented to effect the collection thereof on a current and timely basis.

                   (c)    The Sellers have established and maintained and, for the past five years,
           have maintained in all material respects, disclosure controls sufficient to reasonably
           ensure that material information relating to the Sellers (including any deficiencies or
           weaknesses in the design or operation of the internal controls of the Sellers and any
           fraud that involves management or other Service Providers of the Sellers is made
           known to the Sellers’ management by others within the Sellers and disclosed to the
           Sellers’ board of directors and outside auditors. The Sellers have provided to the Buyer
           a summary of any of the foregoing disclosures made to the Sellers’ board of directors or
           outside auditors.

        Section 3.17 Brokers’ Fees. Except for amounts due to Mastodon Ventures, Inc.
(“Mastodon”) (which amounts are to be paid by the Sellers under a Credit Bid, but if any overbid
is a cash bid in excess of the Credit Bid, such fee shall be paid from the cash sale proceeds (i.e.,
Mastodon’s fee in excess of its minimal fee), no Seller has entered into any Contract to pay any
fees or commissions to any broker, finder or agent with respect to the Contemplated Transactions
for which Buyer could become liable or obligated to pay.

        Section 3.18 No Other Agreements to Purchase. Sellers have not entered into any
agreement with any other Person (written or oral) which grants such third party the right or
option to purchase or acquire from Sellers any Purchased Asset, other than purchase orders for
Inventory accepted by Sellers in the Ordinary Course of Business.

         Section 3.19 Taxes.

                    (a)     Each Seller has duly and timely filed all income and other material Tax
           Returns that it was required to file, and all such filed Tax Returns were true, correct and
           complete in all material respects. All material Taxes owed by the Sellers and all
           material Taxes owed with respect to the Purchased Assets (in each case, whether or not
           shown on any Tax Return) have been paid. In the last three (3) years, no claim has
           been made in writing by a Governmental Entity in a jurisdiction where the Sellers do
           not file Tax Returns that the Sellers or the Business is or may be subject to taxation by
           that jurisdiction. Any deficiencies proposed as a result of any audits of Seller by any
           Governmental Authority have been fully paid or finally settled, and there are no present
           disputes as to Taxes payable by Seller.

                    (b)    There is no audit, dispute, claim or controversy concerning any Tax
           Liability or Tax Return of Sellers or with respect to the Business in progress or pending
           by any taxing authority. No Seller has received from any Governmental Authority any

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           (i) written notice indicating an intent to open an audit or other review with respect to
           Taxes that relate to the Business, (ii) written request for information related to Tax
           matters that relate to the Business, (iii) written notice of deficiency or proposed
           adjustment for any amount of Tax that relate to the Business, or (iv) any ruling or
           binding agreement relating to Taxes that could impact the amount of Taxes due from
           Buyer or its Affiliates. No Seller has waived any statute of limitations in respect of
           Taxes or agreed to any extension of time with respect to a Tax assessment or deficiency
           that could result in a Lien on the Purchased Assets or the imposition of any liability for
           Taxes on Buyer, its direct or indirect equityholders, or their Affiliates.

                  (c)    There are no Liens for Taxes on any of the Purchased Assets, other than
           Permitted Liens.

                  (d)    No Seller has any liability for Taxes of another Person under Treasury
           Regulations Section 1.1502-6, as a transferee or successor, by contract, or otherwise.

                  (e)     No Seller is party to any Tax sharing, Tax allocation or Tax indemnity
           agreement, except for customary gross-up or indemnification provisions in commercial
           agreements entered into in the Ordinary Course of Business, the primary subject matter
           of which is not related to Taxes, in each case that would be binding on Buyer.

                 (f)     No Seller has participated in any “reportable transaction” within the
           meaning of Treasury Regulation section 1.6011-4(b)(1).

                   (g)    Each Seller has collected or withheld all Taxes required to have been
           collected or withheld (including from payments made to employees, independent
           contractors, creditors, stockholders and other Persons) and such collected and withheld
           Taxes have been duly paid to the proper Governmental Entity, and each of the Seller
           has complied in all material respects with all Laws relating to withholding, including
           any reporting and record keeping requirements. The Company has consistently treated
           any workers that it treats as independent contractors (and any similarly situated
           workers) as independent contractors for purposes of Section 530 of the Revenue Act of
           1978.

                  (h)    No Seller has requested or received a ruling from any Governmental
           Authority or signed any binding agreement with any Governmental Authority that
           might impact the amount of Tax due from Buyer or any of its Affiliates after the
           Closing Date.

                   (i)     Each Seller has collected all amounts of sales and use Taxes required to
           be collected, and has remitted, on a timely basis, such amounts to the appropriate
           Governmental Entity, or has been furnished properly completed exemption certificates
           and has, in all material respects, maintained all such records and supporting documents
           in the manner required by all applicable sales and use Tax statutes and regulations

                  (j)     None of the Purchased Assets are “Section 197(f)(9) intangibles” (as
           defined in Treasury Regulations Section 1.197-2(h)(1)(i) and assuming for this purpose
           that the transition period ends on August 10, 1993) or an interest in an entity or
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           arrangement classified as a partnership for U.S. federal, state or local income Tax
           purposes.

                   (k)     No Seller has deferred the inclusion of any amounts in gross income
           pursuant to Internal Revenue Service Revenue Procedure 2004-34, Treasury
           Regulations Section 1.451-5, Sections 451(c), 455, 456 or 460 of the Code, as a deposit
           or pre-paid amount, or any corresponding or similar provision of state or local Law
           (irrespective of whether or not such deferral is elective).

                  (l)   None of the Purchased Assets or Assumed Liabilities is a Tax allocation,
           Tax sharing, Tax distribution, Tax indemnification or Tax gross-up agreement or
           arrangement.

        Section 3.20 Suppliers.        Schedule 3.20 of the Disclosure Schedule lists the ten
(10) largest suppliers (excluding utilities) (measured by invoiced dollars) of the Continuing
Restaurants collectively (“Major Suppliers”) for the 12 month periods ended December 31, 2019
and June 30, 2020 and the amount of business done with each Major Supplier in such period. As
of the date of this Agreement, to Sellers’ Knowledge, (a) there has not been a material dispute
with, or actual or potential material and adverse change in the business relationship of, any Seller
with any Major Supplier since December 31, 2018, and (b) no Seller is in material breach of or in
material default of any agreement with any of its Major Suppliers, and to the Sellers’
Knowledge, no Major Supplier is in material breach or in default of any agreements with any
Seller. None of the Sellers has received any notice, nor does the Seller or any of its Subsidiaries
have any Knowledge, that any Major Supplier intends to terminate or adversely modify the
amount, frequency or terms of the business such Major Supplier conducts with the Sellers.

         Section 3.21 Insurance Policies. Schedule 3.21 of the Disclosure Schedule contains a
true, complete and accurate list of all insurance policies to which any Seller is a party or which
provide coverage to or for the benefit of or with respect to any Seller, or any Service Provider in
his or her capacity as such (the “Insurance Policies”), indicating in each case the type of
coverage, name of the insured, the insurer, the expiration date of each policy and the amount of
coverage. True, complete and accurate copies of all such Insurance Policies have been provided
or made available to Buyer. Each Insurance Policy is in full force and effect and shall remain in
full force and effect in accordance with its terms immediately following the Closing. Each Seller
is current in all premiums or other payments due under the Insurance Policies and has otherwise
complied in all material respects with all of its obligations under each Insurance Policy. Each
Seller has given timely notice to the insurer of all material claims that may be insured thereby
under any Insurance Policy. During the past three years, no Seller has been refused any
insurance by, nor has coverage been limited by, any insurance carrier with which any Seller has
carried insurance or any other insurance carrier to which any Seller has applied for insurance,
and no insurer has issued a reservation of rights or denial of coverage for claims or incidents
which could give rise to a claim under any Insurance Policy. No Insurance Policy provides for
any retrospective premium adjustment or other experience based liability on the part of any
Seller.

       Section 3.22 Related Party Transactions. Except as set forth on Schedule 3.22 of the
Disclosure Schedule, no Related Party (a) has any direct or indirect interest in any asset used in

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or otherwise relating to any Seller or the Business, (b) is indebted to any Seller, (c) has entered
into, or has had any direct or indirect financial interest in, any Contract, transaction or business
dealing involving any Seller, (d) is competing, directly or indirectly, with any Seller, (e) is a
member, manager, director, officer or employee of, or consultant to, or owns, directly or
indirectly, any interest in, any vendor, supplier or customer of any Seller, or is in any way
associated with or involved in the Business (except in his or her official capacity as a director,
officer or employee of a Seller, as the case may be), (f) has any interest in or has filed any
application with respect to any Intellectual Property, which arises out of or relates to any Seller,
or (g) has any claim or right against any Seller (other than rights to receive compensation for, or
expense reimbursement in connection with, services performed as an employee or director).
Each Seller does not share any facilities or equipment with any Related Party, and each Seller
does not purchase or provide assets or services for any business conducted by any Related Party.
For the past five years there has not been, and there is not currently, pending, or, to the
Knowledge of the Sellers, threatened, any Litigation against any current or former Related Party
with respect to which any Seller has an indemnification obligation.

        Section 3.23 Bank Accounts. Schedule 3.23 of the Disclosure Schedule is a true,
complete and accurate list of each bank or financial institution in which any Seller has an
account, safe deposit box or lockbox, or maintains a banking, custodial, trading or similar
relationship, the number of each such account or box, and the names of all persons authorized to
draw thereon or to having signatory power or access thereto.

        Section 3.24 Trade Names; Business Locations. Schedule 3.24 of the Disclosure
Schedule sets forth all fictitious or trade names that any Seller has been known as or used and all
offices or places of business any Seller has used, in each case, in the past five years. No Seller is
the surviving entity of a merger or consolidation.

        Notwithstanding anything to the contrary in this Agreement, Buyer acknowledges and
agrees that Buyer’s sole and exclusive recourse and remedy by virtue of any breach at any time
of any of the representations and warranties set forth in this Article III shall be to terminate this
Agreement, in which event Buyer and Sellers shall all thereupon conclusively be deemed
released and relieved of any further liability or obligation hereunder, except as otherwise set
forth in Section 8.3; provided, that this paragraph shall in no way limit or affect the satisfaction
of Section 7.1(a) as a condition to Buyer’s obligation to consummate the transactions
contemplated by this Agreement.

                                     ARTICLE IV
                      BUYER’S REPRESENTATIONS AND WARRANTIES

       Buyer represents and warrants to Sellers as follows as of the date hereof and as of the
Closing Date:

        Section 4.1 Organization of Buyer. Buyer is a limited liability company duly
organized, validly existing and in good standing under the Laws of the State of Delaware and has
all requisite limited liability company power and authority to own, lease and operate its assets
and to carry on its business as now being conducted.


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        Section 4.2          Authorization of Transaction.

                  (a)      Buyer has full limited liability company power and authority to execute
           and deliver this Agreement and all Related Agreements to which it is a party and to
           perform its obligations hereunder and thereunder.

                  (b)     The execution, delivery and performance of this Agreement and all other
           Related Agreements to which Buyer is a party have been duly authorized by Buyer, and
           no other limited liability company action on the part of Buyer is necessary to authorize
           this Agreement or the Related Agreements to which it is a party or to consummate the
           Contemplated Transactions.

                    (c)   This Agreement has been duly and validly executed and delivered by
           Buyer, and, upon their execution and delivery in accordance with the terms of this
           Agreement, each of the Related Agreements to which Buyer is a party will have been
           duly and validly executed and delivered by Buyer. This Agreement constitutes a valid
           and legally-binding obligation of Buyer, enforceable against Buyer in accordance with
           its terms and conditions, subject to applicable bankruptcy, insolvency, moratorium or
           other similar Laws relating to creditors’ rights and general principles of equity. To the
           extent each Related Agreement constitutes a valid and legally-binding obligation of
           each Seller party thereto, each Related Agreement to which Buyer is a party, when
           executed and delivered, constituted or will constitute the valid and legally-binding
           obligations of Buyer, enforceable against Buyer in accordance with their respective
           terms and conditions, subject to applicable bankruptcy, insolvency, moratorium or other
           similar Laws relating to creditors’ rights and general principles of equity.

          Section 4.3 Noncontravention.            Neither the execution and delivery of this
Agreement, nor the consummation of the Contemplated Transactions (including the assignments
and assumptions referred to in Section 2.6) will (with or without notice or lapse of time or both)
(i) conflict with or result in a breach of the certificate of incorporation, operating agreement, or
other organizational documents, of Buyer, (ii) subject to any consents required to be obtained
from any Governmental Entity, violate any Law or Decree to which Buyer is, or its assets or
properties are subject, or (iii) conflict with, result in a breach of, constitute a default under, result
in the acceleration of, create in any party the right to accelerate, terminate, modify or cancel any
Contract to which Buyer is a party or by which it is bound, except, in the case of either clause (ii)
or (iii), for such conflicts, breaches, defaults, accelerations or rights as would not, individually or
in the aggregate, reasonably be expected to prevent, materially delay or materially impair the
ability of Buyer to consummate the Contemplated Transactions or the Related Agreements.
Buyer is not required to give any notice to, make any filing with, or obtain any authorization,
consent or approval of any Governmental Entity in order for the Parties to consummate the
Contemplated Transactions or any of the Related Agreement, except where the failure to give
notice, file or obtain such authorization, consent or approval would not, individually or in the
aggregate, reasonably be expected to prevent, materially delay or materially impair the ability of
Buyer to consummate the Contemplated Transactions or the Related Agreements.




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        Section 4.4 Litigation. There is no Litigation pending or, to Buyer’s knowledge,
threatened against or affecting Buyer that will adversely affect Buyer’s performance under this
Agreement or the consummation of the Contemplated Transactions.

       Section 4.5 Adequate Assurances Regarding Executory Contracts. Buyer will be
capable of satisfying as of the Sale Hearing the conditions contained in Sections 365(b)(1)(C)
and 365(f) of the Bankruptcy Code with respect to the Assumed Contracts.

      Section 4.6 Brokers’ Fees. Neither Buyer nor any of its Affiliates has entered into
any Contract to pay any fees or commissions to any broker, finder or agent with respect to the
Contemplated Transactions for which any Seller could become liable or obligated to pay.

        Section 4.7 No Outside Reliance. Notwithstanding anything contained in this
Article IV or any other provision of this Agreement to the contrary, Buyer acknowledges and
agrees that the representations and warranties made by the Sellers to Buyer in Article III (as
qualified by the Disclosure Schedules and as supplemented by any Schedule Updates and in
accordance with the express terms and conditions (including limitations and exclusions) of this
Agreement) (the “Express Representations”) are the sole and exclusive representations,
warranties, and statements of any kind made by Sellers to Buyer in connection with the
Contemplated Transactions. Buyer acknowledges and agrees that all other representations,
warranties and statements of any kind or nature expressed or implied, whether in written,
electronic or oral form, including (a) the completeness or accuracy of, or any omission to state or
to disclose, any information (other than solely to the extent expressly set forth in the Express
Representations, all of which lapse and cease to be of any further force or effect upon the
Closing) including any projections, meetings, calls or correspondence with management of
Sellers and their Representatives, or any other Person on behalf of Sellers or any of their
respective Affiliates or Representatives and (b) any other statement relating to the historical,
current or future business, financial condition, results of operations, assets, Liabilities, properties,
contracts, and prospects of Sellers, or the value, quality, quantity, marketability, transferability or
condition of Sellers’ assets, are, in each case, specifically disclaimed by Sellers and that Buyer
has not relied on any such representations, warranties or statements. Without limiting the
foregoing, Buyer acknowledges that Sellers hereby disclaim any warranty, express or implied, of
merchantability or fitness for any particular purpose as to any portion of the Purchased Assets
and will accept the Purchased Assets and assume the Assumed Liabilities at the Closing “AS IS,”
“WHERE IS” and “WITH ALL FAULTS.”

                                           ARTICLE V
                                     PRE-CLOSING COVENANTS

      The Parties agree as follows with respect to the period between the execution of this
Agreement and the Closing (except as otherwise expressly stated to apply to a different period):

        Section 5.1          Notices and Consents.

                   (a)     To the extent required by the Bankruptcy Code or the Bankruptcy Court,
           Sellers shall give any notices to third parties, and to the extent the need therefor is not
           obviated by the entry of the Sale Order, each Seller shall use its commercially

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           reasonable efforts to obtain any third party Consents or sublicenses; provided, however,
           that neither Sellers nor Buyer shall be required to incur any Liabilities or provide any
           financial accommodation, in order to obtain any such third party Consent with respect
           to the transfer or assignment of any Purchased Asset.

                   (b)     Sellers and Buyer shall cooperate with one another (i) in promptly
           determining whether any filings are required to be or should be made or consents,
           approvals, permits or authorizations are required to be or should be obtained under any
           applicable Law in connection with this Agreement and the Contemplated Transactions
           and (ii) in promptly making any such filings, furnishing information required in
           connection therewith and seeking to obtain timely any such consents, permits,
           authorizations, approvals or waivers; provided, however, that Sellers’ obligations
           hereunder shall only continue until Sellers cease to be debtors in possession under the
           Chapter 11 Cases or the Chapter 11 Cases are closed or dismissed.

                    (c)   To the extent permitted by applicable Law and the terms of the
           Purchased Assets, in the event any third party Consent has not been obtained by the
           Closing, at Buyer’s written request, the Party contemplated to be transferring such
           Purchased Asset under this Agreement (the “Transferring Party”) shall, at Buyer’s cost
           and expense, hold in trust for Buyer, as applicable, the relevant Purchased Asset until
           the earlier of such time as (i) the third party Consent is obtained, (ii) the applicable
           Seller ceases to be a debtor in possession under the Chapter 11 Cases or the Chapter 11
           Cases are closed or dismissed or (iii) Buyer elects not to assume such Purchased Asset.
           During such time period, Buyer shall comply with all applicable covenants and
           obligations under the Purchased Assets, including the payment of any costs or expenses
           in connection therewith and the maintenance and continuation thereof. Buyer shall be
           entitled to receive all of the benefits of the Transferring Party under the Purchased
           Asset. Buyer shall satisfy all Liabilities with respect to such Purchased Assets until the
           earlier of such time as (i) the third party Consent is obtained, (ii) the applicable Seller
           ceases to be a debtor in possession under the Chapter 11 Cases or the Chapter 11 Cases
           are closed or dismissed or (iii) Buyer elects not to assume such Purchased Asset
           (provided, with respect to any such Liabilities related to the payment of rent for Leased
           Real Property, Buyer shall satisfy such Liabilities through the end of the month), and
           shall indemnify and hold Sellers harmless with respect to any such reasonable out-of-
           pocket expenses arising in the Ordinary Course of Business with respect to such
           Purchased Asset during such period.

                   (d)    Subject to the terms and conditions set forth in this Agreement and
           applicable Law or as otherwise required in the Chapter 11 Cases, Buyer and Sellers
           shall (A) promptly notify the other Party of any communication to that Party from any
           Governmental Entity in respect of any filing, investigation or inquiry concerning this
           Agreement or the Contemplated Transactions, (B) if practicable, permit the other Party
           the opportunity to review in advance all the information relating to Sellers and their
           respective Subsidiaries or Buyer and its Affiliates, as the case may be, that appears in
           any filing made with, or written materials submitted to, any third party and/or any
           Governmental Entity in connection with the Agreement and the Contemplated
           Transactions and consider in good faith the other Party’s reasonable comments, (C) not
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           participate in any substantive meeting or discussion with any Governmental Entity in
           respect of any filing, investigation, or inquiry concerning this Agreement and the
           Contemplated Transactions unless it consults with the other Party in advance, and, to
           the extent permitted by such Governmental Entity, gives the other Party the opportunity
           to attend, and (D) furnish the other Party with copies of all substantive correspondence,
           filings, and written communications between them and their Subsidiaries and
           Representatives, on the one hand, and any Governmental Entity or its respective staff,
           on the other hand, with respect to this Agreement and the Contemplated Transactions,
           provided, however, that any materials or information provided pursuant to any
           provision of this Section 5.1(d) may be redacted before being provided to the other
           Party (i) to remove references concerning the valuation of Buyer, Sellers, or any of
           their Subsidiaries, (ii) financing arrangements, (iii) as necessary to comply with
           contractual arrangements, and (iv) as necessary to address reasonable privilege or
           confidentiality issues. Sellers and Buyer may, as each deems advisable and necessary,
           reasonably designate any commercially or competitively sensitive material provided to
           the other under this Section 5.1(d) as “outside counsel only.” Such materials and the
           information contained therein shall be given only to the outside legal counsel and any
           retained consultants or experts of the recipient and shall not be disclosed by such
           outside counsel to employees, officers or directors of the recipient, unless express
           written permission is obtained in advance from the source of the materials (Sellers or
           Buyer, as the case may be). Each of Sellers and Buyer shall promptly notify the other
           Party if such Party becomes aware that any third party has any objection to the
           Agreement on antitrust or anti-competitive grounds.

         Section 5.2         Bankruptcy Actions.

                    (a)       The Chapter 11 Cases shall be continuing as of the date hereof.

                   (b)     The Bankruptcy Court shall have entered the Bid Procedures Order by
           no later than the Bid Procedures Order Deadline.

                   (c)     The hearing on the Sale Motion shall occur no later than by August 27,
           2020, after or during which the Bankruptcy Court shall have entered the Sale Order, in
           any case by no later than the Sale Order Deadline, that provides the parties, inter alia,
           consummate the Closing as soon as practicable after the entry of the Sale Order and no
           later than August 31, 2020, subject to the satisfaction of all conditions to the obligations
           of Sellers and Buyer as set forth in Article VII (other than conditions with respect to
           actions Sellers and/or Buyer will take at the Closing itself, but subject to the satisfaction
           or waiver of those conditions).

                   (d)     Sellers will provide Buyer with a reasonable opportunity to review and
           comment upon all motions, applications, and supporting papers relating to the
           Contemplated Transactions prepared by Sellers or any Affiliates (including forms of
           orders and notices to interested parties) prior to the filing thereof in the Chapter 11
           Cases. All motions, applications, and supporting papers prepared by Sellers and
           relating to the Contemplated Transactions to be filed on behalf of Sellers after the date


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           hereof must be approved in form and substance by Buyer, such approval not
           unreasonably withheld or delayed.

                  (e)    Each of Buyer and Sellers shall continue to act in good faith and without
           any improper conduct, including collusion or fraud of any kind.

                    (f)   Each of Buyer and Sellers will promptly take such actions as are
           reasonably requested by the other Party and consistent with their respective rights and
           obligations hereunder to assist in obtaining entry of the Sale Order, including furnishing
           affidavits or other documents or information for filing with the Bankruptcy Court for
           purposes, among others, of providing necessary assurances of performance by Sellers
           of their obligations under this Agreement and the Related Agreements and
           demonstrating that Buyer is a good faith buyer under Section 363(m) of the Bankruptcy
           Code.

                   (g)     The Sellers and Buyer agree, and the Sale Order shall reflect the fact
           that, the provisions of this Agreement are reasonable, were a material inducement to
           Buyer to enter into this Agreement and, subject to the results of the Auction, are the
           highest and best offer for the Purchased Assets.

                   (h)      Sellers shall use commercially reasonable efforts to provide appropriate
           notice of the hearings on the Sale Motion to all Persons entitled to notice, including, but
           not limited to, all Persons that have asserted Liens in the Purchased Assets, all parties to
           the Assumed Contracts and all Taxing authorities in jurisdictions applicable to Sellers
           and as otherwise required by the Bankruptcy Code and bankruptcy rules.

                  (i)      Sellers shall serve a notice of the Contemplated Transactions by first
           class mail on all non-debtor counterparties to all Non-Real Property Contracts and
           Leases as set forth in the Sale Motion and provide a copy of the same to Buyer.

        Section 5.3 Conduct of Business. Until the earlier of the termination of this
Agreement and the Closing, and except as expressly contemplated by this Agreement or as set
forth on Schedule 5.3 of the Disclosure Schedules, or as appropriate in response to the Business
Cessation Event or required under the Bankruptcy Code or other applicable Law and except with
the prior written consent of Buyer (which consent shall not be unreasonably withheld,
conditioned, or delayed):

                        i.     Sellers shall use commercially reasonable efforts to maintain,
        preserve and protect all of the Purchased Assets in the condition in which they existed
        immediately prior to the Business Cessation Event, except for ordinary wear and tear and
        casualty and except for replacements, modifications or maintenance in the Ordinary
        Course of Business and shall maintain insurance coverage with financially responsible
        insurance companies substantially similar in all material respects to the insurance
        coverage maintained by the Business and Sellers on the Petition Date; provided, however,
        during any period when any of its properties and/or Purchased Assets are not being
        utilized in the Ordinary Course of Business due to the Business Cessation Event (such
        assets during such period, collectively, “Non-Operating Assets”), Sellers shall be deemed

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        to have satisfied their obligations under this Section 5.3(i) with respect to such Non-
        Operating Assets by taking reasonable and customary precautions as to the safety and
        security of the same;

                        ii.    Sellers shall use commercially reasonable efforts not to take, or
         agree to or commit to assist any other Person in taking, any action (i) that would
         reasonably be expected to result in a failure of any of the conditions to the Closing or
         (ii) that would reasonably be expected to impair the ability of Sellers or Buyer to
         consummate the Closing in accordance with the terms hereof or to materially delay such
         consummation;

                          iii.   Except as permitted by this Agreement, no Seller shall, directly or
         indirectly, sell or otherwise transfer or dispose, or offer, agree or commit (in writing or
         otherwise) to sell or otherwise transfer or dispose of any of the Purchased Assets other
         than in the Ordinary Course of Business;

                        iv.    No Seller shall, directly or indirectly, permit, offer, agree or
         commit to permit, any of the Purchased Assets to become subject, directly or indirectly,
         to any Lien or Claim except for Permitted Liens;

                        v.     No Seller shall assume, reject or assign any Contract or Lease that
         may become an Assumed Contract other than through the assumption and assignment of
         the Assumed Contracts, as contemplated by this Agreement, to Buyer (or, following the
         termination of this Agreement in accordance with its terms, to a third party in connection
         with an Alternate Transaction);

                        vi.     No Seller shall enter into new Contracts or amend or modify
         Contracts other than extensions, renewals or modifications in the Ordinary Course of
         Business, and no Seller shall amend, modify, encumber, extend, renew or terminate any
         Lease, nor enter into any new lease, sublease, or license;

                          vii.    No Seller shall remove or permit to be removed from any building,
         facility, or real property any Purchased Asset or any Purchased Inventory (other than the
         sale of Inventory in the Ordinary Course of Business or any Purchased Assets from an
         Excluded Restaurant);

                        viii. No Seller shall return Inventory with an aggregate value of more
         than $5,000 to any single vendor unless defective;

                        ix.     No Seller shall (i) enter into any commitment for any expenditures
         in excess of $20,000 for any individual commitment and $50,000 for all commitments in
         the aggregate, or (ii) enter into any commitment with respect to remodeling, except as
         required by the terms of any Lease for Leased Real Property;

                         x.     Sellers shall comply in all material respects with all material Laws
         applicable to them or having jurisdiction over the Business or any Purchased Asset;


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                        xi.     No Seller shall, directly or indirectly, cancel, forgive or
        compromise any material debt or claim or waive or release any material right of any
        Seller, in each case that constitutes an Purchased Asset;

                        xii.   Sellers shall use diligent and commercially reasonable efforts to
        maintain in full force and effect each Assumed Permit and Liquor License held by any
        Seller as of the date hereof or otherwise obtained by any Seller prior to the Closing, and
        shall comply with the material terms of each such Permit and Liquor License and no
        Seller shall permit any such Permit or Liquor License to terminate, expire or lapse other
        than in the Ordinary Course of Business;

                       xiii. Subject to the consequences of the Business Cessation Event,
        Sellers shall (v) use commercially reasonable efforts to preserve the existing business
        organization and keep management of the Business intact, (w) use commercially
        reasonable efforts to keep available the services of the Service Providers, to the extent
        reasonably feasible, and (x) use commercially reasonable efforts to maintain the existing
        relations with customers, carriers, suppliers, creditors, business partners, Service
        Providers, and others having business dealings with the Business, to the extent reasonably
        feasible;

                          xiv.   Other than as required by applicable Law, no Seller shall (i) re-hire
        any Former Employees, Recent Employees or anyone not otherwise a Current Employee
        as of the date of this Agreement, (ii) grant any loan to or pay any bonus to any employee,
        (iii) hire or, except as required by a written agreement with such employee existing as of
        the date hereof, promote or terminate the employment (other than for cause) of any
        Current Employee, (iv) grant or increase any other severance, change in control,
        retention, termination or similar compensation or benefits to (or amend any existing
        severance, change in control, retention, termination or similar compensation, benefits or
        arrangement with) any Current Employee, (v) recognize any union or other collective
        employee representative, (vi) except in each case as required by a written agreement with
        such employee existing as of the date hereof, increase the compensation, bonus or other
        benefits payable to any employee, (vii) pay to any employee any benefit or amount not
        required under any Employee Benefit Plan as in effect on the date of this Agreement,
        (viii) adopt any new Employee Benefit Plan or amend or terminate or increase the
        benefits under any Employee Benefit Plan, or (ix) take any action to accelerate the
        vesting of, or payment of, any compensation or benefit under any Employee Benefit Plan;

                         xv.    Except as required by GAAP, change any accounting policies,
         procedures, methods or practices (including with respect to reserves, revenue recognition,
         inventory control, prepayment of expenses, timing for payments of accounts payable and
         collection of accounts receivable);

                        xvi.   Sellers shall use commercially reasonable efforts to maintain their
         business records in accordance with their past practices;




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                        xvii.  Sellers shall, at all times, maintain the retention of the current
        financial advisors and investment banker on terms, scope and conditions identical to the
        terms scope and conditions existing on the date of this Agreement; and

                       xviii. Except as permitted by this Agreement, no Seller shall authorize
        any of the foregoing, enter into an agreement to do any of the foregoing, or agree or enter
        into any Contract to do any of the foregoing.

Nothing contained in this Agreement is intended to give Buyer or its Affiliates, directly or
indirectly, the right to control or direct the business of Sellers prior to the Closing.

        Section 5.4 Notice of Developments. From the date hereof until the Closing Date,
each of the Sellers (with respect to itself), as the case may be, shall promptly disclose to Buyer,
on the one hand, and Buyer shall promptly disclose to Sellers, on the other hand, in writing after
attaining knowledge (as applicable to each of Sellers and Buyer) of any real or alleged failure of
any of Sellers or Buyer to comply with or satisfy any of their respective covenants, conditions or
agreements to be complied with or satisfied by it under this Agreement in any material respect;
provided, however, that the delivery of any notice pursuant to this Section 5.4 shall not limit or
otherwise affect the remedies available to the party receiving such notice under this Agreement if
such party objects to the disclosures contained in such notice within five (5) days of receipt of
such notice.

         Section 5.5         Access.

                   (a)     Upon reasonable advance written request by Buyer, until the earlier of
           the Closing and the termination of this Agreement, Sellers shall permit Buyer and its
           Representatives to have reasonable access to, and make (at Buyer’s sole cost and
           expense) reasonable investigation of, during normal business hours, subject to the terms
           of Leases and in a manner so as not to interfere unreasonably with the normal business
           operations of Sellers, to all of the books and records, premises, properties, personnel,
           Records, Contracts, businesses, assets, accountants, auditors, counsel and operations of
           the Sellers related to the Business; provided, however, that, for avoidance of doubt, (i)
           the foregoing shall not require any Party to waive, or take any action with the effect of
           waiving, its attorney-client privilege or any confidentiality obligation to which it is
           bound with respect thereto or take any action in violation of applicable Law, and (ii)
           nothing herein shall be deemed to condition or otherwise make Buyer’s obligations to
           consummate the Contemplated Transactions contingent upon the results of any
           investigation or inspection conducted by Buyer or its Representatives pursuant to this
           Section 5.5. Sellers shall cause their respective officers, employees, consultants,
           agents, accountants, attorneys and other representatives to cooperate with Buyer and
           Buyer’s Representatives in commercially reasonable respects (but at no cost or expense
           to Sellers) in connection with such investigation and examination, and Buyer and its
           Representatives shall cooperate with Sellers and their respective Representatives and
           shall use their reasonable efforts to minimize any disruption to the Business.
           Notwithstanding the foregoing, Buyer shall not have the right to conduct any Phase II
           environmental or other “invasive” environmental testing without Sellers’ written
           consent (which consent may be conditioned upon, among other reasonable conditions,

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           Buyer’s execution and delivery of an access and indemnity agreement in form and
           content reasonably satisfactory to Sellers).

                   (b)      As soon as possible after the date of this Agreement, but in any event no
           later than five (5) calendar days prior to the Closing Date, Sellers shall deliver to Buyer
           the unaudited consolidated balance sheet of the Sellers for the fiscal quarter ended on or
           about June 30, 2020, and the related consolidated statement of income and cash flows
           of Sellers for the three (3) months then ended.

        Section 5.6 Press Releases and Public Announcements. After notice to and
consultation with Buyer, Sellers shall be entitled to disclose, only to the extent required by
applicable Law or by order of the Bankruptcy Court or as appropriate in the conduct of the
Chapter 11 Cases, this Agreement and all information provided by Buyer in connection herewith
to the Bankruptcy Court, the United States Trustee, the Committee, parties in interest in the
Chapter 11 Cases. Other than statements made in the Bankruptcy Court (or in pleadings filed
therein), no Party shall issue (prior to, on or after the Closing) any press release or make any
public announcement without the prior written consent of the other Parties, which shall not be
unreasonably withheld or delayed. Notwithstanding anything contained in this Agreement or
any contractual confidentiality obligation of Buyer to the contrary, Buyer may disclose the
Agreement and all information provided by Sellers in connection herewith (such information,
other than this Agreement, the “Seller Confidential Information”): (a) to its Affiliates who are
instructed to maintain the confidentiality of the Seller Confidential Information, (b) to the extent
required or requested by, or required to be disclosed to, any regulatory or similar authority
purporting to have jurisdiction over such Person or its Affiliates and to whom Buyer discloses
only so much of the Seller Confidential Information to such authority as so required in Buyer’s
reasonable discretion, (c) to the extent required by applicable Law or in any legal, judicial,
administrative or other compulsory process; provided that Buyer discloses only so much of the
Seller Confidential Information in connection with such process as is so required in Buyer’s
reasonable discretion, (d) to any other party hereto, (e) in connection with the exercise of any
remedies under this Agreement or any action or proceeding relating to this Agreement or the
enforcement of rights hereunder, (f) with the written consent of Sellers, (g) to the extent such
information becomes publicly available other than as a result of a breach of this Agreement or
any contractual confidentiality obligation, (h) to governmental regulatory authorities in
connection with any regulatory examination of any agent or lender or in accordance with any
such agent’s or lender’s regulatory compliance policy if such agent or such lender deems
necessary for the mitigation of claims by those authorities against such agent or such lender or
any of its subsidiaries or Affiliates, or (i) for the purposes of establishing a “due diligence”
defense.

        Section 5.7 Bulk Transfer Laws. Buyer acknowledges that Sellers will not comply
with the provisions of any bulk transfer Laws of any jurisdiction in connection with the
Contemplated Transactions, and hereby waives all claims related to the noncompliance
therewith. The Parties intend that pursuant to Section 363(f) of the Bankruptcy Code, the
transfer of the Purchased Assets shall be free and clear of any Liens on the Purchased Assets
(other than Permitted Liens) to the extent provided in the Sale Order, including any Liens arising
out of the bulk transfer Laws, and the Parties shall take such steps as may be necessary or
appropriate to so provide in the Sale Order.
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         Section 5.8 Release of Claims. Notwithstanding anything contained herein to the
contrary, effective as of the Closing, (i) each Seller, on behalf of itself and its Affiliates
(individually and collectively, the “Seller Releasing Parties”), fully, irrevocably and
unconditionally releases Buyer, the Credit Agreement Secured Parties, and each of their
respective Affiliates, each in their capacity as such (individually and collectively, the “Buyer
Released Parties”), from any and all actions, causes of action, damages, claims, refunds, choses
in action, suits or proceedings, rights of recovery, rights of setoff, rights of recoupment, and
demands whatsoever, in law or in equity, known or unknown, matured and unmatured, accrued
or contingent or liquidated, regardless of whether such rights are currently exercisable, whether
derivative claims asserted or assertable on behalf of any of the Seller Releasing Parties or direct
claims or for indemnification or contribution, including but not limited to any Claims under
section 506(c) of the Bankruptcy Code, that such Seller Releasing Parties (whether individually
or collectively) ever had, now have, or may have against the Buyer Released Parties relating to,
or in any manner arising from, in whole or in part, the Sellers, the Debtors, the Chapter 11 Cases,
the Credit Agreement Loan Documents, or the negotiation, formulation, or preparation of this
Agreement, in each case, in connection with any event, conduct or circumstance occurring on or
prior to the Closing; and (ii) the Buyer and the Credit Agreement Secured Parties, on behalf of
themselves and their respective Affiliates (individually and collectively, the “Buyer Releasing
Parties”) fully, irrevocably and unconditionally release each Seller and each of their respective
Affiliates (except for Mark A. Sellers, III, who, for the avoidance of doubt, shall not be a Seller
Released Party), each in their capacity as such (individually and collectively, the “Seller
Released Parties”), from any and all actions, causes of action, damages, claims, refunds, choses
in action, suits or proceedings, rights of recovery, rights of setoff, rights of recoupment, and
demands whatsoever, in law or in equity, known or unknown, matured and unmatured, accrued
or contingent or liquidated, regardless of whether such rights are currently exercisable, whether
derivative claims asserted or assertable on behalf of any of the Buyer Releasing Parties or direct
claims or for indemnification or contribution, that such Buyer Releasing Parties (whether
individually or collectively) ever had, now have, or may have against the Seller Released Parties
relating to, or in any manner arising from, in whole or in part, the Sellers, the Debtors, the
Chapter 11 Cases, the Credit Agreement Loan Documents, or the negotiation, formulation, or
preparation of this Agreement, in each case, in connection with any event, conduct or
circumstance occurring on or prior to the Closing; provided, however, that the foregoing
provisions shall not operate to waive or release: (i) any deficiency claim against the Sellers in
any remaining Credit Agreement Lien Obligations after giving effect to the Credit Bid and
Release, (ii) rights to enforce this Agreement and the other agreements or instruments being
executed and delivered pursuant to the terms hereof to give effect to the Contemplated
Transactions, or (iii) claims against any Person that is based upon an alleged breach of a
confidentiality or non-compete obligation owed to the Sellers. Notwithstanding anything
contained in this Section 5.8 to the contrary, (a) the effectiveness of the release in this
Section 5.8 by the Buyer Releasing Parties for the benefit of the direct equityholders of Barfly
Ventures, LLC shall be conditioned upon such direct shareholders executing and delivering a
release in the form of Exhibit C hereto in favor of the Buyer Released Parties, and (b) in the
event that any Seller Released Party asserts any claim or cause of action against a Buyer
Released Party that the Seller has released (or purported to release) on behalf of such Seller
Released Party pursuant to this Section 5.8, then any release granted by such Buyer Releasing
Party to such Seller Released Party pursuant to this Section 5.8 shall be deemed immediately

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revoked, and the grant of such release shall be deemed null and void ab initio, without the need
for any further action by the Parties.

         Section 5.9 Buyer Backstop. To the extent that the performance of Sellers’
obligations under this Agreement prior to or at the Closing require the use or payment of money,
Sellers shall utilize the from time to time Cash and Cash Equivalents (other than any Excluded
Cash) on hand and available for use in the Business (“Available Cash”) to perform and satisfy
such obligations. If, at any time prior to or at the Closing, there is not sufficient Available Cash
for Sellers to perform any such obligations (an “Available Cash Deficiency”), Buyer shall fund
to Sellers (within two (2) Business Days following Buyer’s receipt from time to time of written
notification from Sellers of the amount of such Cash Deficiency and reasonable support therefor
(each, a “Shortfall Notice”) cash in the amount of the then Available Cash Deficiency (a
“Backstop Amount”), which Backstop Amount shall be used by Sellers only to satisfy Sellers’
obligations under this Agreement specifically identified in the Shortfall Notice as obligations
Sellers had insufficient Available Cash to satisfy; provided, however, and notwithstanding
anything to the contrary set forth herein, Buyer’s aggregate payments with respect to Backstop
Amounts and the Excluded Cash Deficiency Amount shall not exceed $613,708 and Buyer shall
have no further obligation for the payment of any Backstop Amounts or the Excluded Cash
Deficiency Amount in excess of such aggregate amount, provided further, however, in lieu of
funding the Backstop Amount to Sellers, Buyer shall have the right, at Buyer’s sole option, to
pay the amounts comprising the Backstop Amount directly to the counter-parties and other third
parties identified as payees of any portion of the Backstop Amount in the Shortfall Notice. In the
event Buyer elects to make payments of the Backstop Amount directly to third parties as
contemplated in the immediately preceding sentence, Sellers shall provide such information as
Buyer may request in order to do so and otherwise reasonably cooperate with Buyer in making
such direct payments. Notwithstanding anything to the contrary in this Agreement, if Buyer fails
to fund or pay in full, as applicable, any Backstop Amount required to be funded or paid in full
by Buyer in accordance with this Section 5.9, Seller shall be excused from performing Sellers’
obligations to which such unpaid or unfunded Backstop Amounts relate and such failure shall be
deemed a breach of Buyer’s obligations under this Agreement.

                                       ARTICLE VI
                                    OTHER COVENANTS

          The Parties agree as follows with respect to the period from and after the Closing;
provided that (i) Sellers shall not be obligated to incur any costs or expenses, associated with
their obligations hereunder during such period, other than such ordinary and necessary
professional fees as are required for Sellers to comply with the obligations hereunder and
(ii) Sellers’ obligations hereunder shall only continue until Sellers are no longer debtors in
possession under the Chapter 11 Cases or the Chapter 11 Cases are closed or dismissed:

         Section 6.1 Cooperation. Each of the Parties shall cooperate with each other, and
shall use their commercially reasonable efforts to cause their respective Representatives to
cooperate with each other, to provide an orderly transition of the Purchased Assets and Assumed
Liabilities from Sellers to Buyer and to minimize the disruption to the Business resulting from
the Contemplated Transactions.


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         Section 6.2 Further Assurances. In case at any time from and after the Closing any
further action is necessary or reasonably required to carry out the purposes of this Agreement,
subject to the terms and conditions of this Agreement and the terms and conditions of the Sale
Order (and, as to Sellers, taking into account their status as debtors-in-possession), at any Party’s
request and sole cost and expense, each Party shall take such further action (including the
execution and delivery to any other Party of such other reasonable instruments of sale, transfer,
conveyance, assignment, assumption and confirmation and providing materials and information)
as another Party may reasonably request (which are consistent with the rights and obligations
imposed upon the Parties pursuant to the other provisions hereof) as shall be necessary to
transfer, convey and assign to Buyer all of the Purchased Assets, to confirm Buyer’s assumption
of the Assumed Liabilities and to confirm Sellers’ retention of the Excluded Assets and Excluded
Liabilities. Without limiting the generality of this Section 6.2, to the extent that either Buyer or
Sellers discovers any additional assets or properties which the parties mutually agree should have
been transferred or assigned to Buyer as Purchased Assets but were not so transferred or
assigned, Buyer and Sellers shall cooperate and execute and deliver any instruments of transfer
or assignment (which are consistent with the rights and obligations imposed upon the Parties
pursuant to the other provisions hereof) necessary to transfer and assign such asset or property to
Buyer.

         Section 6.3 Availability of Business Records. From and after the Closing, Buyer
shall promptly provide to Sellers and their respective Representatives (after reasonable notice
and during normal business hours and without charge to Sellers) access to all Records included
in the Purchased Assets for periods prior to the Closing and reasonable access to Transferred
Employees to the extent such access is necessary in order for Sellers (as applicable) to comply
with applicable Law or any contract to which it is a party, for liquidation, winding up, Tax
reporting or other proper purposes and so long as such access is subject to an obligation of
confidentiality, and shall preserve such Records until the latest of (i) six (6) years after the
Closing Date, (ii) the required retention period for all government contact information, records or
documents, (iii) the conclusion of all bankruptcy proceedings relating to the Chapter 11 Cases or
(iv) in the case of Records related to Taxes, the expiration of the statute of limitation applicable
to such Taxes. Such access shall include access to any information in electronic form to the
extent reasonably available. Buyer acknowledges that Sellers have the right to retain originals or
copies of all of Records included in the Purchased Assets for periods prior to the Closing. Prior
to destroying any Records included in the Purchased Assets for periods prior to the Closing,
Buyer shall notify Sellers thirty (30) days in advance of any such proposed destruction of its
intent to destroy such Records, and Buyer shall permit Sellers to retain such Records, at Sellers’
cost and expense. With respect to any Litigation and claims that are Excluded Liabilities, Buyer
shall render all reasonable assistance that Sellers may request in defending or prosecuting such
Litigation or claim and shall make available to Sellers such personnel as are most knowledgeable
about the matter in question, all without charge.

         Section 6.4         Employee Matters.

                   (a)    No later than ten (10) Business Days prior to Closing Sellers will update
           the Employee Roster. At least two (2) Business Days prior to the Closing, Buyer will
           identify the employees (or corresponding positions) on the Employee Roster to whom
           Buyer intends make an offer of employment. Prior to Closing, Buyer may but is under
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           no obligation to offer employment to such identified employees listed on the Employee
           Roster (an “Offeree”) to the extent such identified employee is a Current Employee and
           remains a Current Employee as of immediately prior to the Closing on such
           employment terms as Buyer may determine in its sole discretion.

                   (b)     Each Offeree of Sellers who is not a Transferred Employee shall be
           referred to herein as an “Excluded Employee.”

                    (c)      Following the date of this Agreement:

                      i.    Sellers will allow Buyer or any of its Representatives reasonable
        access upon reasonable advance notice to meet with and interview the individuals listed
        on the Employee Roster during normal business hours;

                        ii.      Sellers shall not, nor shall any Seller authorize or direct or give
        express permission to any Affiliate, officer, director or employee of any Seller or any
        Affiliate, to (A) interfere with Buyer’s or its Representatives’ rights under Section 6.4(a)
        to make offers of employment to any Offeree, or (B) solicit or encourage any Offeree not
        to accept, or to reject, any such offer of employment;

                       iii.   Sellers shall provide reasonable cooperation and information to
         Buyer or the relevant Representative as reasonably requested by Buyer or such
         Representative with respect to its determination of terms and conditions of employment
         for any Offeree;

                         iv.    Sellers shall process the payroll for and pay, or cause to be paid,
         the base wages, base salary and benefits that are due and payable on or prior to the
         Closing Date with respect to all Current Employees. Sellers shall withhold and remit all
         applicable payroll taxes as required by Law on or prior to the Closing Date with respect
         to all Current Employees as of such date;

                 v.      Sellers shall retain and be solely responsible for all Liabilities and
        obligations arising under or relating to any Employee Benefit Plans or the employment or
        termination of employment of any employee of any Seller, including without limitation
        any Current Employee or Former Employee (excluding the Assumed Payroll
        Obligations). With respect to all Liabilities arising under or relating to Section 4980B of
        the Code or Part 6 of Subtitle B of Title I of ERISA (“COBRA”), Sellers and their
        respective ERISA Affiliates shall retain all Liability to provide continued group health
        coverage to all M&A qualified beneficiaries (as defined in Treasury Regulation §
        54.4980B-9, Q/A(a) who expense a qualifying event (as defined in Treasury Regulation §
        54.4980B-9, Q/A-6) as result of transactions contemplated by this Agreement.

                   (d)    Nothing in this Section 6.4 shall be construed as requiring, and neither
           Sellers nor any of their Affiliates shall take any affirmative action that would have the
           effect of requiring Buyer to continue (or prevent the termination of employment of) any
           specific employee benefit plan or to continue the employment of any specific person
           following the Closing. Nothing in this Agreement is intended to establish, create or
           amend, nor shall anything in this Agreement be construed as establishing, creating or
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           amending, any employee benefit plan, practice or program of Buyer, any of its
           Affiliates or any of Sellers’ Employee Benefit Plans, nor shall anything in this
           Agreement create or be construed as creating any contract of employment or as
           conferring upon any Current Employee, Former Employee, Transferred Employee or
           upon any other person, other than the parties to this Agreement in accordance with its
           terms, any rights to enforce any provisions of this Agreement under ERISA or
           otherwise. No provision of this Agreement shall create any third party beneficiary
           rights in any Current Employee or Former Employee of any Seller or any other Person
           (including any beneficiary or dependent thereof) of any nature or kind whatsoever,
           including without limitation, in respect of continued employment (or resumed
           employment) for any specified period.

        Section 6.5 Transfer Taxes. To the extent not exempt under Section 1146 of the
Bankruptcy Code and subject to Section 5.9 of this Agreement, Sellers shall pay all Transfer
Taxes. Sellers and Buyer shall cooperate to prepare and timely file any Tax Returns required to
be filed in connection with Transfer Taxes described in the immediately preceding sentence.

        Section 6.6 Wage Reporting. Buyer and Sellers agree to utilize, or cause their
respective Affiliates to utilize, the alternate procedure set forth in Internal Revenue Service
Revenue Procedure 2004-53 with respect to wage reporting.

         Section 6.7 Insurance Policies. Other than as provided in Section 2.2(k) above, upon
Closing, and until Sellers cease to be debtors in possession in the Chapter 11 Cases or the
Chapter 11 Cases are closed or dismissed, the Sellers shall use commercially reasonable efforts
(but at no material cost or expense to Sellers) to cause the assignment of all rights of the Sellers
in and to all insurance coverage provided in relation to Sellers and the Purchased Assets that is
maintained by any Seller or its Affiliates (whether such policies are maintained with third party
insurers or with such Seller or its Affiliates) to Buyer as soon as reasonably practicable. To the
extent that any current or prior Insurance Policy is not transferable to Buyer at the Closing in
accordance with the terms thereof, each Seller, as applicable, shall (so long as Sellers remain
debtors in possession in the Chapter 11 Cases and the Chapter 11 Cases have not been closed or
dismissed and at no cost or expense to Sellers) hold such Insurance Policy for the benefit of
Buyer, shall reasonably cooperate with Buyer (at Buyer’s cost and expense) in pursuing any
claims thereunder, and shall pay over to Buyer promptly any insurance proceeds paid or
recovered thereunder with respect to the Purchased Assets or the Assumed Liabilities. In the
event Buyer determines to purchase replacement coverage with respect to any such Insurance
Policy, Sellers shall(so long as Sellers remain debtors in possession in the Chapter 11 Cases and
the Chapter 11 Cases have not been closed or dismissed and at no cost or expense to Sellers)
reasonably cooperate with Buyer to terminate such Insurance Policy to the extent only applicable
to the Purchased Assets, and Sellers shall, at the option of Buyer, promptly pay over to Buyer
any refunded or returned insurance premiums received by any Sellers in connection therewith
(or, if applicable, Buyer’s pro rata portion thereof) or cause such premiums to be applied by the
applicable carrier to the replacement coverage arranged by Buyer.

         Section 6.8         Collection of Accounts Receivable.



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                   (a)    As of the Closing Date, each Seller hereby (i) authorizes Buyer to open
           any and all mail addressed to any Seller relating to the Business or the Purchased
           Assets and delivered to the offices of the Business or otherwise to Buyer if received on
           or after the Closing Date and (ii) appoints Buyer or its attorney-in-fact to endorse, cash
           and deposit any monies, checks or negotiable instruments received by Buyer after the
           Closing Date with respect to Accounts Receivable that are Purchased Assets or
           accounts receivable relating to work performed by Buyer after the Closing, as the case
           may be, made payable or endorsed to any Seller or Sellers’ order, for Buyer’s own
           account.

                    (b)    As of the Closing Date, each Seller agrees that any monies, checks or
           negotiable instruments received by any Seller after the Closing Date with respect to
           Accounts Receivable that are Purchased Assets or accounts receivable relating to work
           performed by Buyer after the Closing, as the case may be, shall be held in trust by such
           Seller for Buyer’s benefit and account, and promptly upon receipt by a Seller of any
           such payment (but in any event within five (5) Business Days of such receipt), such
           Seller shall pay over to Buyer or its designee the amount of such payments. In
           addition, Buyer agrees that, after the Closing, it shall hold and shall promptly transfer
           and deliver to Sellers, from time to time as and when received by Buyer or its
           Affiliates, any cash, checks with appropriate endorsements, or other property that
           Buyer or its Affiliates may receive on or after the Closing which properly belongs to
           Sellers hereunder, including any Excluded Assets.

                   (c)   As of the Closing Date, Buyer shall have the sole authority to bill and
           collect Accounts Receivable that are Purchased Assets and accounts receivable relating
           to work performed by Buyer after the Closing.

        Section 6.9 Use of Name and Marks. Neither Sellers nor any of their Affiliates shall
use, license or affirmatively authorize any third party to use, any Trademark which is similar to,
confusing with, or which dilutes any Trademark included in the Purchased Assets.

         Section 6.10 Liquor License Approvals. Sellers shall reasonably cooperate with
Buyer in connection with Buyer’s filings with any Governmental Entity or third party with
respect to any Liquor Licenses and obtaining any Liquor License Approval, including by
entering into the Management Agreement and, if reasonably requested by Buyer, initiating
and/or participating, at Buyer’s sole cost and expense, in such Litigation reasonably requested by
Buyer to obtain such Liquor License Approvals. For the avoidance of doubt, Sellers shall not
bear any of the costs or expenses of Buyers’ efforts to obtain Liquor License Approval, except as
explicitly provided in the Management Agreement.

         Section 6.11 Data Privacy Protection. Buyer acknowledges that the Purchased Assets
include PII, along with associated personal information about the Sellers’ customers. In
connection with the same, Buyer agrees to: (i) employ appropriate security controls and
procedures (technical, operational and managerial) to protect PII and personal information,
(ii) abide by all applicable Laws and regulations with respect to PII and (iii) take such further
actions with respect to PII as may be agreed in writing between the Parties. Buyer agrees that it
shall, absent a customer’s express consent received after adequate notice: (a) abide by the

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Sellers’ privacy policies and privacy-related covenants made in Sellers’ terms of service that
were in effect as of the Petition Date, (b) respect prior requests of customers to opt out of receipt
of marketing messages (to the extent Sellers make Buyer aware of such requests; provided that
Buyer shall seek to obtain such information from Sellers), and (c) use personal information only
for the purposes of continuing Business operations and continuing to provide similar goods and
services to customers, including marketing the products and services related to Purchased Assets.
Buyer shall require express consent of a customer for any additional use of PII or personal
information or before making material changes to the privacy policies that weaken a customer’s
consumer protection. Furthermore, to the extent PII includes any social security numbers, Buyer
shall limit such use to tax reporting purposes, and shall purge such information from its
databases when such information is no longer required for that purpose.

       Section 6.12 Alternate Transactions. Buyer acknowledges that, pursuant to the Bid
Procedures Order, and only after entry of the Bid Procedures Order on the Bankruptcy Court’s
docket, Sellers will solicit bids from other prospective purchasers for the sale of all of the
Purchased Assets in accordance with the procedures set forth in the Bid Procedures Order;
provided, however, that, following completion of the Auction (if any) until the Closing (in the
event that Buyer is selected as the winning bidder), Sellers shall not, directly or indirectly,
through any officer, director, employee, agent, professional or advisor, solicit any Alternate
Transaction or participate in any negotiations or discussions with respect to any Alternate
Transaction, and Sellers shall not, and Sellers shall cause their Affiliates not to, (i) execute an
agreement (other than a customary confidentiality agreement) with respect to an Alternate
Transaction or (ii) seek or support Bankruptcy Court approval of a motion or Order inconsistent
in any material respect with the transactions contemplated by this Agreement.

       Section 6.13 Purchased Actions. Buyer covenants and agrees (on behalf of itself and
its successors and assigns) not to assert any Purchased Action other than as a defense or
counterclaim to any claim alleged or asserted against Buyer or its Affiliates by a Person that is or
may be a Purchased Action defendant.

         Section 6.14 Buyer Designee. At the Closing, notwithstanding anything to the contrary
herein, Buyer may in its sole discretion designate or assign to any of its Affiliates its right, title
and interest in any of the Purchased Assets (for the avoidance of doubt, including the Assumed
Contracts) pursuant to the terms of this Agreement. If so instructed by Buyer, Sellers shall sell,
transfer, assign, convey and deliver such Purchased Assets directly to such Affiliate in lieu of
selling, transferring, assigning, conveying and delivering such Purchased Assets to Buyer.

                                           ARTICLE VII
                                      CONDITIONS TO CLOSING

         Section 7.1         Conditions to Buyer’s Obligations.

         Subject to Section 7.3, Buyer’s obligation to consummate the Contemplated Transactions
in connection with the Closing is subject to satisfaction or written waiver of the following
conditions (any or all of which may be waived in writing by the Sellers and Buyer in whole or in
part to the extent permitted by applicable Law):


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                   (a)      as of the date hereof and as of the Closing (in each case, except to the
           extent for any representation or warranty that is expressly made as of a specified date,
           in which case as of such specified date), each representation or warranty contained in
           Article III shall be true and correct in all respects other than de minimis exceptions;

                  (b)     Sellers shall have performed and complied with their covenants and
           agreements hereunder to the extent required to be performed prior to the Closing in all
           material respects, and Sellers shall have caused the documents and instruments required
           by Section 2.9(a) to be delivered to Buyer (or tendered subject only to Closing);

                   (c)    no Governmental Entity of competent jurisdiction shall have enacted,
           issued, promulgated, enforced or entered any Decree that is in effect and that has the
           effect of making the Closing illegal or otherwise prohibiting the consummation of the
           Closing;

                   (d)     all Cure Amounts shall have been paid by the Sellers or as otherwise set
           forth in this Agreement;

                   (e)    Buyer shall have received all of the Consents from third parties
           (including any Governmental Entities) and Assumed Permits (including Liquor
           Licenses Approvals), except to the extent such Assumed Permits (including Liquor
           Licenses Approvals) are to be transitioned under the Management Agreement
           (including Liquor Licenses Approvals pursuant to Section 6.10) or the need for such
           Consents is obviated by the effect of the Sale Order, in each case, as listed on
           Schedule 7.1 (as the same may be revised, amended or modified by Buyer in its sole
           discretion up until the Sale Hearing);

                  (f)     the Bid Procedures Order shall have been entered by the Bankruptcy
           Court on a final, non-appealable basis;

                   (g)      the Sale Order shall have been entered by the Bankruptcy Court and
           shall be in full force and effect and not be subject to a stay pending appeal;

                  (h)    from the date of this Agreement until the Closing Date, there shall not
           have occurred and be continuing any Material Adverse Effect;

                  (i)     Buyer shall have received all of the deliverables pursuant to
           Section 2.9(a); and

                  (j)     Sellers shall have delivered a certificate from an authorized officer of
           Sellers to the effect that each of the conditions specified in Section 7.1(a),
           Section 7.1(b) and Section 7.1(h) has been satisfied.

         Section 7.2 Conditions to Sellers’ Obligations. Subject to Section 7.3, Sellers’
obligation to consummate the Contemplated Transactions in connection with the Closing are
subject to satisfaction or written waiver of the following conditions (any or all of which may be
waived in writing by the Sellers and Buyer in whole or in part to the extent permitted by
applicable Law):
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                   (a)      as of the date hereof and as of the Closing (in each case, except for any
           representation or warranty that is expressly made as of a specified date, in which case
           as of such specified date), (i) each representation or warranty contained in Section 4.1,
           Section 4.2 or Section 4.3 shall be true and correct in all respects other than de minimis
           exceptions, and (ii) each other representation or warranty set forth in Article IV shall be
           true and correct in all material respects, except where the failure of such representations
           and warranties referred to in this clause (ii) to be true and correct, individually or in the
           aggregate with other such failures, would not reasonably be expected to materially
           prevent, restrict or delay the consummation of the Contemplated Transactions or by any
           Related Agreement; provided, however, that for purposes of determining the accuracy
           of representations and warranties referred to in clause (ii) for purposes of this condition,
           all qualifications as to “materiality” and “Material Adverse Effect” contained in such
           representations and warranties shall be disregarded;

                   (b)   Buyer shall have performed and complied with its covenants and
           agreements hereunder to the extent required to be performed prior to the Closing in all
           material respects, and Buyer shall have caused the documents, instruments and
           payments required by Section 2.9(b) to be delivered to Sellers (or tendered subject only
           to Closing);

                   (c)    no Governmental Entity of competent jurisdiction shall have (i) enacted,
           issued, promulgated, enforced or entered any Decree that is in effect and that has the
           effect of making the Closing illegal or otherwise prohibiting the consummation of the
           Closing;

                  (d)     the Bid Procedures Order shall have been entered by the Bankruptcy
           Court and shall be in full force and effect and not be subject to a stay pending appeal;

                   (e)      the Sale Order shall have been entered by the Bankruptcy Court and
           shall be in full force and effect and not be subject to a stay pending appeal;

                  (f)     Sellers shall have received all of the deliverables pursuant to
           Section 2.9(b); and

                  (g)     Buyer shall have delivered a certificate from an authorized officer of
           Buyer to the effect that each of the conditions specified in Section 7.2(a) and
           Section 7.2(b) has been satisfied.

        Section 7.3 No Frustration of Closing Conditions. Neither Buyer nor Sellers may
rely on the failure of any condition to its obligation to consummate the Contemplated
Transactions set forth in Section 7.1 or Section 7.2, as the case may be, to be satisfied if such
failure was caused by such Party’s failure to use its commercially reasonable efforts with respect
to those matters contemplated by the applicable Sections of this Agreement to satisfy the
conditions to the consummation of the Contemplated Transactions or other breach of a
representation, warranty or covenant hereunder.

        Section 7.4 Waiver of Conditions. Upon the occurrence of the Closing, any
condition set forth in this Article VII that was not satisfied as of the Closing will be deemed to
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have been waived for all purposes by the Party having the benefit of such condition as of and
after the Closing.

        Section 7.5 Agreement          Regarding       Schedules     and     Exhibits   Hereto.
Notwithstanding anything to the contrary in this Agreement, the Parties will not append the
various schedules and exhibits referred to in this Agreement upon the mutual execution and
delivery of this Agreement. Rather, the Parties will work to mutually agree upon and append all
schedules and exhibits hereto by no later than August 7, 2020 (the “Outside Agreement Date”).
The Parties shall cooperate reasonably and in good faith to achieve such mutual agreement on or
before the Outside Agreement Date. In the event that the Parties have not mutually agreed upon
the form and content of all schedules and exhibits to this Agreement by the Outside Agreement
Date, then either Buyer or Sellers shall have the right upon written notice to the other(s) to
terminate this Agreement at any time prior to the Parties achieving mutual agreement on the
form and content of such schedules and exhibits. Notwithstanding anything to the contrary
herein, upon any such termination, the Parties shall conclusively be deemed released and
relieved of any further liability or obligation hereunder, except as otherwise set forth in
Section 8.3. Upon the Parties’ mutual agreement upon the form and content of the schedules and
exhibits hereto prior to the Outside Agreement Date, such schedules and agreements shall be
deemed appended to and included in this Agreement and this Section 7.5 shall lapse and cease to
be of any force or effect whatsoever as though it had never been included in this Agreement.

                                          ARTICLE VIII
                                         TERMINATION

        Section 8.1 Termination of Agreement. This Agreement may be terminated in
accordance with this Article VIII and the Contemplated Transactions abandoned at any time
prior to the Closing (each a “Termination Event”):

                   (a)     by the mutual written consent of Buyer, on the one hand, and Sellers, on
           the other hand;

                   (b)     by written notice of either Buyer or Sellers, if there shall be any Law
           that makes consummation of the Contemplated Transactions illegal or otherwise
           prohibited, or upon the issuance by any Governmental Entity of an Decree restraining,
           enjoining, or otherwise prohibiting the consummation of the Contemplated
           Transactions or declaring unlawful the Contemplated Transactions, and such Decree
           having become final, binding and non-appealable; provided that no termination may be
           made by a Party under this Section 8.1(b) if the issuance of such Decree was caused by
           the breach or action or inaction of such Party;

                  (c)     by written notice of either Buyer or Sellers, if the Closing shall not have
           occurred on or before the Outside Date;

                   (d)     by written notice of either Buyer or Sellers, if any of the Chapter 11
           Cases is dismissed or converted to a case under Chapter 7 of the Bankruptcy Code, or if
           a trustee or examiner with expanded powers to operate or manage the financial affairs
           or reorganization of the Sellers is appointed in the Chapter 11 Cases;

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                   (e)     by Buyer, if (i) Bid Procedures Order shall not have been entered by the
           Bankruptcy Court on or before the Bid Procedures Order Deadline or (ii) at any time
           after entry of the Bid Procedures Order, such Bid Procedures Order is reversed, stayed,
           vacated or otherwise modified;

                   (f)    by Buyer, if (i) the Sale Order shall not have been entered by the
           Bankruptcy Court on or before the Sale Order Deadline or (ii) at any time after entry of
           the Sale Order, such Sale Order is reversed, stayed, vacated or otherwise modified;

                    (g)    by Buyer by giving written notice to Sellers at any time prior to Closing
           (i) in the event Sellers have breached any representation, warranty, covenant or
           agreement contained in this Agreement and as a result of such breach the conditions set
           forth in Sections 7.1(a) and 7.1(b) hereof, as the case may be, would not then be
           satisfied at the time of such breach, Buyer has notified Sellers of the breach, and the
           breach has continued without cure until the earlier of (i) five (5) days prior to the
           Outside Date so long as all other conditions of Buyer have been satisfied or (ii) thirty
           (30) days after the notice of the breach, in each case, unless such failure shall be due to
           the failure of Buyer to perform or comply with any of the covenants hereof to be
           performed or complied with by it prior to the Closing, and such condition is not waived
           by Buyer;

                    (h)    by Sellers by giving written notice to Buyer at any time prior to Closing
           (i) in the event Buyer has breached any representation, warranty, covenant or
           agreement contained in this Agreement and as a result of such breach the conditions set
           forth in Sections 7.2(a) and 7.2(b) hereof, as the case may be, would not then be
           satisfied at the time of such breach, Sellers has notified Buyer of the breach, and the
           breach has continued without cure until the earlier of (i) five (5) days prior to the
           Outside Date so long as all other conditions of Sellers have been satisfied or (ii) thirty
           (30) days after the notice of the breach, in each case, unless such failure shall be due to
           the failure of Sellers to perform or comply with any of the covenants hereof to be
           performed or complied with by it prior to the Closing, and such condition is not waived
           by Sellers;

                    (i)    by written notice from Sellers to Buyer, if all of the conditions set forth
           in Section 7.1 have been satisfied (other than conditions that by their nature are to be
           satisfied at the Closing, but subject to the satisfaction or waiver of such conditions at
           the Closing) or waived and Buyer fails to complete the Closing at the time required by
           Section 2.7(a);

                   (j)     by Buyer if any secured creditor of any Seller obtains relief from the
           stay to foreclose on a material portion of the Purchased Assets;

                  (k)      by Buyer if any Affiliates of the Sellers (other than other debtors in the
           Chapter 11 Cases on the date hereof) that, directly or indirectly through one or more
           intermediaries, controls Sellers, files for relief pursuant to the Bankruptcy Code;



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                   (l)    by Buyer if, at any time on or before the August 21, 2020, Buyer
           becomes aware of any matter as a result of its due diligence investigation (including by
           way of information delivered or made available by Sellers hereunder or on a Disclosure
           Schedule or Schedule hereto) that Buyer determines is unacceptable in its sole
           discretion; or

                  (m)    by Seller, upon a Decree by the Bankruptcy Court approving an
           Alternate Transaction.

Notwithstanding anything to the contrary contained herein, (i) in no event may Buyer terminate
this Agreement under Section 8.1(f) on account of Buyer’s failure to satisfy the conditions
contained in Sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy Code with respect to any
proposed Assumed Contract, and (ii) a Party shall not be permitted to terminate this Agreement
pursuant to this Article VIII if the applicable Termination Event was caused by the breach of
such Party or such Party’s gross negligence, willful misconduct, or bad faith.

        Section 8.2 Procedure upon Termination.                In the event of termination and
abandonment by Buyer, on the one hand, or Sellers, on the other hand, or both, pursuant to
Section 8.1, written notice thereof shall forthwith be given to the other Party or Parties, and this
Agreement shall terminate and the Contemplated Transactions shall be abandoned, without
further action by Buyer or Sellers.

         Section 8.3         Effect of Termination.

                   (a)    In the event that this Agreement is validly terminated pursuant to a right
           of termination as provided herein, then each of the Parties shall be relieved of its duties
           and obligations arising under this Agreement effective as of the date of such
           termination and such termination shall be without Liability to Buyer or the Sellers;
           provided, however, that Section 8.1, Section 8.2, this Section 8.3, and Article IX shall
           survive any such termination and shall be enforceable hereunder. In no event shall any
           termination of this Agreement relieve any Party hereto of any Liability for any breach
           of this Agreement by such Party.

                   (b)     In consideration of Buyer and its Affiliates having expended
           considerable time and expense in connection with this Agreement and the negotiation
           thereof, and the identification and quantification of assets to be included in the
           Purchased Assets, and to compensate Buyer as a stalking-horse bidder, and regardless
           of whether or not Buyer makes any matching or competing bids at the Auction, the
           Sellers shall pay to Buyer the Break-Up Fee, (i) in the event that this Agreement is
           terminated pursuant to Section 8.1(m) and the Sellers close an Alternate Transaction;
           and (ii) in the event that this Agreement is otherwise terminated pursuant to Sections
           8.1(c) through (g), Section 8.1(j) or Section 8.1(k), and in each case, within twelve (12)
           months following the termination of this Agreement the Sellers close an Alternate
           Transaction. Such Break-Up Fee shall be immediately due and payable in full in cash
           from the proceeds of such Alternate Transaction and after the closing of an Alternate
           Transaction as set forth in clause (i) and clause (ii) of the immediately preceding
           sentence. The Break-Up Fee shall, subject to Bankruptcy Court approval, be treated as

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           a superpriority administrative expense in the Chapter 11 Case under Section
           503(b)(1)(A) and Section 507(a)(2) of the Bankruptcy Code. The Sellers acknowledge
           and agree that: (A) the approval of the Break-Up Fee in the circumstances provided in
           this Section 8.3(b) is an integral part of the transactions contemplated by this
           Agreement; (B) in the absence of the Sellers’ obligation to pay the Break-Up Fee as
           provided herein, Buyer would not have entered into this Agreement; (C) the entry of
           Buyer into this Agreement is necessary for preservation of the estates of the Sellers and
           is beneficial to the Sellers because, in the Sellers’ business judgment, it will enhance
           the Sellers’ ability to maximize the value of their assets for the benefit of their creditors
           and other stakeholders; (D) time is of the essence with respect to the payment of the
           Break-Up Fee and (E) the Break-Up Fee is reasonable in relation to Buyer’s costs and
           efforts and to the magnitude of the transactions contemplated hereby and Buyer’s lost
           opportunities resulting from the time spent pursuing the transactions contemplated
           hereby. For the avoidance of doubt, the Break-Up Fee, if payable pursuant to this
           Section 8.3(b), shall be in addition to the payment of the Expense Reimbursement
           Amount, to the extent payable to Buyer pursuant to Section 8.3(c).

                   (c)     In consideration of Buyer and its Affiliates having expended
           considerable time and expense in connection with this Agreement and the negotiation
           thereof, and the identification and quantification of assets to be included in the
           Purchased Assets, upon any termination of this Agreement, other than any termination
           pursuant to Section 8.1(a) or by Sellers pursuant to Sections 8.1(h) or (i) (unless, in
           case of a termination pursuant to Sections 8.1(h) or (i), at the time of any such
           termination Buyer would have been entitled to terminate this Agreement pursuant to
           Sections 8.1(c) through (g), Sections 8.1(j) or (k) Sellers shall pay to Buyer in full in
           cash the Expense Reimbursement Amount within five (5) Business Days after the
           termination of this Agreement. Sellers acknowledge and agree that (i) the payment of
           the Expense Reimbursement Amount is an integral part of the transactions
           contemplated by this Agreement, (ii) in the absence of the Sellers’ obligation to make
           this payment, Buyer would not have entered into this Agreement, (iii) the delivery of
           the Expense Reimbursement Amount to Buyer is not a penalty, but rather shall
           constitute a reasonable amount that will compensate Buyer in the circumstances where
           Buyer is entitled to the reimbursable expenses for the efforts and resources expended
           and opportunities forgone while negotiating this Agreement and in reliance on this
           Agreement and on the expectation of the consummating of the transactions
           contemplated thereby, and that, without these agreements, Buyer would not have
           entered into this Agreement, (iv) time is of the essence with respect to the payment of
           the Expense Reimbursement Amount and (v) the Expense Reimbursement Amount
           shall, subject to Bankruptcy Court approval, constitute a superpriority administrative
           expense of the Sellers’ estates under Sections 503(b)(1)(A) and 507(a)(2) of the
           Bankruptcy Code. For the avoidance of doubt, the Expense Reimbursement Amount, if
           payable pursuant to this Section 8.3(c), shall be in addition to the Break-Up Fee to the
           extent payable to Buyer pursuant to Section 8.3(b).

                   (d)     In the event the Sellers consummate an Alternate Transaction and the
           Sellers fail to take any action necessary to cause the delivery of the Break-Up Fee
           and/or the Expense Reimbursement Amount under circumstances where Buyer is
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           entitled to the Break-Up Fee and/or the Expense Reimbursement Amount and, in order
           to obtain such Break-Up Fee and/or Expense Reimbursement Amount, Buyer
           commences a suit which results in a final non-appealable judgment in favor of Buyer,
           the Sellers shall pay to Buyer, in addition to the Break-Up Fee and/or Expense
           Reimbursement Amount, an amount in cash equal to the reasonable, documented, out-
           of-pocket costs and expenses (including reasonable attorneys’ fees) incurred by Buyer
           in connection with such suit.



                                        ARTICLE IX
                                      MISCELLANEOUS

         Section 9.1 Remedies. Except as set forth in Section 8.3, the Parties recognize that if
a Party breaches or refuses to perform any of their covenants set forth in this Agreement,
monetary damages alone would not be adequate to compensate the non-breaching Party for their
injuries. The non-breaching Party shall therefore be entitled, in addition to any other remedies
that may be available, to obtain specific performance of, or to enjoin the violation of, the terms
of such covenants. If any Litigation is brought by the non-breaching Party to enforce such
covenants, the breaching Party shall waive the defense that there is an adequate remedy at Law.
The Parties agree to waive any requirement for the security or posting of any bond in connection
with any Litigation seeking specific performance of, or to enjoin the violation of, such
covenants. The right to equitable relief, including specific performance and injunctive relief,
shall exist notwithstanding, and shall not be limited by, any other provision of this Agreement.
Each of the Sellers and Buyer hereby agrees not to assert that specific performance, injunctive
and other equitable remedies are unenforceable, violate public policy, invalid, contrary to Law or
inequitable for any reason. The Parties agree that the only permitted objection that they may
raise in response to any action for specific performance of such covenants is that it contests the
existence of a breach or threatened breach of such covenants. The right of specific performance,
injunctive and other equitable remedies is an integral part of the transactions contemplated by
this Agreement and without that right, neither the Sellers nor the Buyer would have entered into
this Agreement.

        Section 9.2 Expenses. Except as otherwise provided in this Agreement (including
Section 8.3), or a Related Agreement, Sellers and Buyer shall bear their own expenses, including
attorneys’ fees, incurred in connection with the negotiation and execution of this Agreement, the
Related Agreements and each other agreement, document and instrument contemplated by this
Agreement and the consummation of the Contemplated Transactions.

        Section 9.3 Entire Agreement. This Agreement (including the schedules and exhibits
hereto and other documents specifically referred to herein) and the Related Agreements
constitute the entire agreement among the Parties and supersede any prior understandings,
agreements or representations (whether written or oral) by or among the Parties, written or oral,
with respect to the subject matter hereof.

       Section 9.4 Incorporation of Schedules, Exhibits and Disclosure Schedule. The
schedules, appendices and exhibits to this Agreement, the documents and other information

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made available in the Disclosure Schedule are incorporated herein by reference and made a part
hereof.

        Section 9.5 Amendments and Waivers. No amendment of any provision of this
Agreement shall be valid unless the same shall be in writing and signed by each Party except as
expressly provided herein. No waiver of any breach of this Agreement shall be construed as an
implied amendment or agreement to amend or modify any provision of this Agreement. No
waiver by any Party of any default, misrepresentation or breach of warranty or covenant
hereunder, whether intentional or not, shall be valid unless the same shall be in writing and
signed by the Party making such waiver, nor shall such waiver be deemed to extend to any prior
or subsequent default, misrepresentation or breach of warranty or covenant hereunder or affect in
any way any rights arising by virtue of any prior or subsequent default, misrepresentation or
breach of warranty or covenant. No conditions, course of dealing or performance, understanding
or agreement purporting to modify, vary, explain or supplement the terms or conditions of this
Agreement shall be binding unless this Agreement is amended or modified in writing pursuant to
the first sentence of this Section 9.5 except as expressly provided herein. Except where a
specific period for action or inaction is provided herein, no delay on the part of any Party in
exercising any right, power or privilege hereunder shall operate as a waiver thereof.

         Section 9.6 Succession and Assignment. This Agreement shall be binding upon and
inure to the benefit of the Parties and their respective successors and permitted assigns. None of
the Parties may assign either this Agreement or any of its rights, interests or obligations
hereunder without the prior written approval of all Parties; provided, however, that Buyer shall
be permitted to assign any of its rights hereunder to one or more of its Affiliates, as designated
by Buyer in writing to Sellers; provided, however, Buyer shall remain liable for all of its
obligations under this Agreement after any such assignment (including, without limitation, its
obligation to provide adequate assurance of future performance with respect to all Assumed
Contracts); provided, further, that Sellers shall be permitted to assign any of their rights
hereunder pursuant to a confirmed chapter 11 plan or pursuant to an order of the Bankruptcy
Court.

        Section 9.7 Notices.            All notices, requests, demands, claims and other
communications hereunder shall be in writing except as expressly provided herein. Any notice,
request, demand, claim or other communication hereunder shall be deemed duly given (i) when
delivered personally to the recipient; (ii) one (1) Business Day after being sent to the recipient by
reputable overnight courier service (charges prepaid); (iii) when sent by email (with written
confirmation of transmission); or (iv) three (3) Business Days after being mailed to the recipient
by certified or registered mail, return receipt requested and postage prepaid, and addressed to the
intended recipient as set forth below:

         If to any Sellers or Sellers’ Rep, then to:

                                 BarFly Ventures LLC
                                 35 Oakes St. SW #400
                                 Grand Rapids, Michigan 49503
                                 Attention: Ned Lidvall
                                 Email: NLidvall@barflyventures.com

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                                 with copies (which shall not constitute notice) to:

                                 Pachulski Stang Ziehl & Jones LLP
                                 150 California St., 15th Floor
                                 San Francisco, CA 94111
                                 Attention: John W. Lucas
                                 Email: jlucas@pszjlaw.com

         If to Buyer, then to:

                                 CIP Administrative, LLC
                                 3131 McKinney Avenue
                                 Dallas, Texas 75204
                                 Attention: Travis Baldwin
                                 Email: tbaldwin@congruentinv.com

                                 with copies (which shall not constitute notice) to:

                                 Paul Hastings LLP
                                 71 S. Wacker Drive, 45th Floor
                                 Chicago, IL 60606
                                 Attention: Matt Murphy
                                            Amit Mehta
                                 E-mail: mattmurphy@paulhastings.com
                                         amitmehta@paulhastings.com

Any Party may change the mailing address or email address to which notices, requests, demands,
claims and other communications hereunder are to be delivered by giving the other Party notice
in the manner set forth in this Section 9.7.

         Section 9.8 Governing Law; Jurisdiction. This Agreement shall in all aspects be
governed by and construed in accordance with the internal Laws of the State of New York
without giving effect to any choice or conflict of law provision or rule (whether of the State of
New York or any other jurisdiction) that would cause the application of the Laws of any
jurisdiction other than the State of New York, and the obligations, rights and remedies of the
Parties shall be determined in accordance with such Laws. The Parties agree that any Litigation
one Party commences against any other Party pursuant to this Agreement shall be brought
exclusively in the Bankruptcy Court and each of the Parties hereby irrevocably consents to the
jurisdiction of the Bankruptcy Court (and of the appropriate appellate courts therefrom) in any
such suit, action or proceeding and irrevocably waives, to the fullest extent permitted by Law,
any objection that it may now or hereafter have to the laying of the venue of any such suit, action
or proceeding in the Bankruptcy Court or that any such suit, action or proceeding which is
brought in the Bankruptcy Court has been brought in an inconvenient forum; provided that if the
Bankruptcy Court is unwilling or unable to hear any such Litigation, then the courts of the State
of Michigan, sitting in Grand Rapids, and the federal courts of the United States of America
sitting in Grand Rapids, shall have exclusive jurisdiction over such Litigation.


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       Section 9.9 Consent to Service of Process. Each of the Parties hereby consents to
process being served by any Party, respectively, in any suit, action or proceeding by delivery of a
copy thereof in accordance with the provisions of Section 9.7.

      Section 9.10 WAIVERS OF JURY TRIAL.   EACH OF THE PARTIES
IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT IT MAY HAVE TO A
TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY
ARISING OUT OF, UNDER OR IN CONNECTION WITH THIS AGREEMENT, THE
RELATED AGREEMENTS OR THE CONTEMPLATED TRANSACTIONS OR THEREBY.

        Section 9.11 Severability.        The provisions of this Agreement shall be deemed
severable, and the invalidity or unenforceability of any provision of this Agreement shall not
affect the validity or enforceability of any other provisions of this Agreement so long as the
economic or legal substance of the Contemplated Transactions is not affected in a manner
adverse to any Party. If any provision of this Agreement, or the application thereof to any
Person or any circumstance, is invalid or unenforceable, (a) the Parties shall negotiate in good
faith to find a suitable and equitable provision that shall be substituted therefor in order to carry
out, so far as may be valid and enforceable, the intent and purpose of such invalid or
unenforceable provision, and (b) the remainder of this Agreement and the application of such
provision to other Persons or circumstances shall not be affected by such invalidity or
unenforceability, nor shall such invalidity or unenforceability in any one jurisdiction affect the
validity or enforceability of such provision, or the application thereof, in any other jurisdiction.

        Section 9.12 No Third Party Beneficiaries. Except as set forth in Section 5.8 hereof,
this Agreement shall not confer any rights or remedies upon any Person other than the Parties
and their respective successors and permitted assigns.

        Section 9.13 No Survival of Representations, Warranties and Agreements. Each of
the representations and warranties and the covenants and agreements (to the extent such
covenant or agreement contemplates or requires performance by such party prior to the Closing)
of the Parties set forth in this Agreement or in any other document contemplated hereby, or in
any certificate delivered hereunder or thereunder, will terminate effective immediately as of the
Closing such that no claim for breach of any such representation, warranty, covenant or
agreement, detrimental reliance or other right or remedy (whether in contract, in tort or at law or
in equity) may be brought with respect thereto after the Closing. Each covenant and agreement
that explicitly contemplates performance after the Closing, will, in each case and to such extent,
expressly survive the Closing in accordance with its terms, and if no term is specified, then for
six (6) years following the Closing Date, and nothing in this Section 9.13 will be deemed to limit
any rights or remedies of any Person for breach of any such surviving covenant or agreement.
Buyer and Sellers acknowledge and agree, on their own behalf and, with respect to Buyer that
the agreements contained in this Section 9.13 (a) require performance after the Closing to the
maximum extent permitted by applicable Law and will survive the Closing for six (6) years; and
(b) are an integral part of the Contemplated Transactions and that, without the agreements set
forth in this Section 9.13, none of the Parties would enter into this Agreement. For the avoidance
of all doubt, nothing herein shall be deemed to require Sellers to perform any obligations under
this Agreement beyond the date which is the first to occur of Sellers ceasing to be debtors in
possession in the Chapter 11 Cases or the Chapter 11 Cases being closed or dismissed.
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         Section 9.14 Non-Recourse. This Agreement may only be enforced against, and any
Litigation based upon, arising out of or related to this Agreement may only be brought against,
the Persons that are expressly named as parties to this Agreement. Except to the extent named as
a party to this Agreement, and then only to the extent of the specific obligations of such parties
set forth in this Agreement, no past, present or future shareholder, member, partner, manager,
director, officer, employee, Affiliate, agent or representative of any party to this Agreement will
have any Liability (whether in contract, tort, equity or otherwise) for any of the representations,
warranties, covenants, agreements or other obligations or Liabilities of any of the parties to this
Agreement or for any Litigation based upon, arising out of or related to this Agreement.

        Section 9.15 Construction. The definitions contained in this Agreement are applicable
to the singular as well as the plural forms of such terms. Whenever the context may require, any
pronouns used herein shall include the corresponding masculine, feminine or neuter forms, and
the singular form of names and pronouns shall include the plural and vice versa. The word
“including” and “include” and other words of similar import shall be deemed to be followed by
the phrase “without limitation.” The words “herein,” “hereto” and “hereby,” and other words of
similar import refer to this Agreement as a whole and not to any particular Article, Section or
other subdivision of this Agreement. Unless expressly stated in connection therewith or the
context otherwise requires, the phrase “relating to the Business” and other words of similar
import shall be deemed to mean “relating to the operation of the Business as conducted as of the
date hereof.” Except as otherwise provided herein, references to Articles, Sections, clauses,
subclauses, subparagraphs, Schedules, Exhibits, Appendices and the Disclosure Schedule herein
are references to Articles, Sections, clauses, subclauses, subparagraphs, Schedules, Appendices,
Exhibits and the Disclosure Schedule of this Agreement. Any reference herein to any Law (or
any provision thereof) shall include such Law (or any provision thereof) and any rule or
regulation promulgated thereunder, in each case, including any successor thereto, and as it may
be amended, modified or supplemented from time to time. Any reference herein to “dollars” or
“$” means United States dollars. Where used with respect to information, the phrases
“delivered” or “made available” means that the information referred to has been physically or
electronically delivered (including the Data Room) no later five (5) calendar days prior to the
expiration of the Due Diligence Period.

        Section 9.16 Computation of Time. In computing any period of time prescribed by or
allowed with respect to any provision of this Agreement that relates to Sellers or the Chapter 11
Cases, the provisions of rule 9006(a) of the Federal Rules of Bankruptcy Procedure shall apply.

        Section 9.17 Mutual Drafting. Each of the Parties has participated jointly in the
negotiation and drafting of this Agreement. In the event an ambiguity or question of intent or
interpretation arises, this Agreement shall be construed as if drafted jointly by the Parties and no
presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
authorship of any of the provisions of this Agreement.

        Section 9.18 Disclosure Schedule. The Disclosure Schedule has been arranged for
purposes of convenience in separately numbered sections corresponding to the sections of this
Agreement. The disclosure of any fact or item in any numbered and lettered section of the
Disclosure Schedule shall, should the existence of such fact or item be relevant to any other
section of the Disclosure Schedule, be deemed to be disclosed with respect to such other section
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of the Disclosure Schedule only so long as the relevance of such disclosure to such other section
of the Disclosure Schedule is readily apparent. Capitalized terms used in the Disclosure
Schedule and not otherwise defined therein have the meanings given to them in this Agreement.
The specification of any dollar amount or the inclusion of any item in the representations and
warranties contained in this Agreement, the Disclosure Schedule or the attached exhibits is not
intended to imply that the amounts, or higher or lower amounts, or the items so included, or other
items, are or are not required to be disclosed (including whether such amounts or items are
required to be disclosed as material or threatened) or are within or outside of the Ordinary
Course of Business or consistent with past practice, and no party will use the fact of the setting
of the amounts or the fact of the inclusion of any item in this Agreement, the Disclosure
Schedule or exhibits in any dispute or controversy between the Parties as to whether any
obligation, item or matter not set forth or included in this Agreement, the Disclosure Schedule or
exhibits is or is not required to be disclosed (including whether the amount or items are required
to be disclosed as material or threatened) or are within or outside of the Ordinary Course of
Business. In addition, matters reflected in the Disclosure Schedule are not necessarily limited to
matters required by this Agreement to be reflected in the Disclosure Schedule. Such additional
matters are set forth for informational purposes only and do not necessarily include other matters
of a similar nature. No information set forth in the Disclosure Schedule will be deemed to
broaden in any way the scope of the parties’ representations and warranties. The information
contained in this Agreement, in the Disclosure Schedule and exhibits hereto is disclosed solely
for purposes of this Agreement, and no information contained herein or therein will be deemed to
be an admission by any Party or any third party of any matter whatsoever, including any
violation of Law or breach of contract.

       Section 9.19 Headings; Table of Contents. The section headings and the table of
contents contained in this Agreement, the Schedules and the Disclosure Schedule are inserted for
convenience only and shall not affect in any way the meaning or interpretation of this
Agreement.

        Section 9.20 Counterparts; Facsimile and Email Signatures. This Agreement may
be executed in one or more counterparts, each of which shall be deemed an original but all of
which together shall constitute one and the same instrument. This Agreement or any counterpart
may be executed and delivered by facsimile or email with scan attachment copies, each of which
shall be deemed an original.

         Section 9.21 Sellers’ Rep.

                    (a)    Sellers hereby appoint BarFly Ventures as the representative of Sellers
           (the “Sellers’ Rep”) to act in each Seller’s name, place and stead, as such Seller’s
           attorney-in- fact, to exercise all of the powers conferred upon it pursuant to this
           Agreement, for and on behalf of such Seller and without any act of such Seller. BarFly
           Ventures as Sellers’ Rep hereby accepts such appointment.              The dissolution,
           liquidation, insolvency or bankruptcy of any Seller shall not terminate such
           appointment or the authority and agency of the Sellers’ Rep. The power-of-attorney
           granted in this Section 9.22(a) is coupled with an interest and is irrevocable. Buyer
           may conclusively rely upon, without independent verification or investigation, all
           decisions made by Sellers’ Rep on behalf of Sellers.
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                    (b)    From and after the date hereof, any notice given to the Sellers’ Rep shall
           constitute notice to each and all of the Sellers at the time notice is given to the Sellers’
           Rep (other than notice for service of process relating to any Litigation before a court or
           other tribunal of competent jurisdiction, which notice must be given to each Seller
           individually, as applicable). Any action taken or foregone by, or notice or instruction
           received from, the Sellers’ Rep shall be deemed to be action or inaction by, or notice or
           instruction from, each and all Sellers.

                    (c)     BarFly Ventures shall serve as the Sellers’ Rep until its resignation or it
           is otherwise unable to continue to serve. Upon the resignation of BarFly Ventures or if
           it is not able to continue to serve for any reason, Sellers by a majority vote shall select a
           new Sellers’ Rep by written consent signed by such majority. No resignation or
           replacement of the Sellers’ Rep shall become effective unless and until written notice of
           the replacement or resignation of such Sellers’ Rep shall be provided to Buyer. Each
           time a new Sellers’ Rep is appointed pursuant to this Agreement, such Person, as a
           condition precedent to the effectiveness of such appointment, shall accept such position
           in writing.

        Section 9.22 Time of Essence. Time is of the essence with regard to all dates and time
periods set forth or referred to in this Agreement.

       Section 9.23 Risk of Loss.           Notwithstanding anything to the contrary in this
Agreement, the risk of loss or damage to the Purchased Assets (wherever located) shall
unconditionally shift to the Buyer on the Closing Date.

        Section 9.24 Buyer’s Removal of Purchased Assets. At any time prior to August 31,
2020 (the “Removal Date”), Buyer shall remove, or cause to be removed from the Excluded
Restaurants, at Buyer’s sole cost and expense, all portions of the Purchased Assets located there.
Buyer shall use commercially reasonable efforts to cause such removal to be accomplished in
such manner as will minimize any damage to the Excluded Restaurants or any Excluded Assets
or other assets of any other party having an interest in any of the Excluded Restaurants and shall
cooperate in all reasonable respects (i) with any plans of Sellers to vacate the Excluded
Restaurants and Sellers’ removal of the Excluded Assets during the Removal Period and (ii) in
the coordination of Sellers’ and Buyer’s activities at the Excluded Restaurants during the period
prior to the Removal Date. Buyer shall, at Buyer’s sole cost and expense, promptly (and in no
event later than the timeframe allowed for completion of such repairs under the Lease pursuant
to which the applicable Seller occupies the relevant Excluded Restaurant) cause any damage to
the Excluded Restaurants resulting from Buyer’s removal, handling, shipping, disposition or
other activities in connection with the Purchased Assets to be fully and completely repaired or
restored; provided, however, that Buyer’s obligation shall in no event exceed the relevant
Seller’s obligations under the applicable Leases pursuant to which such Seller occupies and has
the right of possession of the Excluded Restaurant. Buyer shall indemnify, defend and protect
and hold Sellers, Sellers’ bankruptcy estates, and Sellers’ Affiliates harmless of, from and
against any and all direct claims, demands, losses, damages, liabilities, obligations, actions,
causes of action and costs and expenses (including, without limitation, all court costs and all
reasonable attorneys’ fees, costs and charges) as Sellers or such other indemnitees may suffer or
incur as a result of Buyer’s or Buyer’s Representatives’, employees’, agents’, contractors’,
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shippers’ removal or handling of the Purchased Assets at or from the Excluded Restaurants. It is
expressly understood that Buyer shall bear any and all costs and expenses of packing, shipping
and handling the Purchased Assets following their removal from the Excluded Restaurants.

                             [SIGNATURE PAGES TO FOLLOW]




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                         EXHIBIT C
                             Purchased Actions




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         Ongoing Trade Vendors / Service Providers
A & L Janitorial Inc.
ADP CLIENT TRUST
Airgas USA LLC - Rental
Allegra
Alliance Beverage Distributing LLC
Ameren Missouri
Armock Mechanical
Arrowaste Inc.
ASCAP
Becker & Poliakoff, PA
Beer City Glass
BHD0001--BHD, LLC
Borgetto Investments, LLC
Boston Square
Brewers Supply Group
Capitol Beverage Sales
CAVALI1--Cavalier Distributing Inc
Cavalier Distributing Inc
Centerpoint Energy
Certified Refrigeration & Mechanical, LLC
Citizens Energy Group
Comcast
ComEd
Comfort Systems USA Indiana
Consumer's Energy
Corrigan Logistics
Corrine Johnson
Cozzini Bros Inc
Cross Roads Brewing Co
Dan Henry
Daniel L Jacob & Co. Inc
Dawson Rubin
Delta Dental
Dover Grease Traps, Inc.
DTE Energy
Eastown Distributors
EatGR LLC
Eclectic Imprint
ECOLAB
Ecolab Pest Elim Div
Enroll123, LLC
Enviro-Master of West Michigan
Eventbrite, Inc.


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        Ongoing Trade Vendors / Service Providers
Evergy
Evil Czeck Brewery & Public House
Fabiano Brothers
FedEx
Ferris Coffee & Nut Company, Inc
Field Fire Protection Inc
Final Clean Pro LLC
fintech
First Insurance Funding
Fish Window Cleaning
Glazers Wholesale Company
Gordon Food Service, if and only if the GFS Objections are withdrawn
Grand Rapids Graphix
Great America Financial Services
Great Lakes Beverage Co
Great Lakes West
GREATL1--Great Lakes Wine _ Spirits
Green For Life
GTT Communications
HC Woodward LLC
Henry A. Fox Sales Co.
HNI Risk Advisors
Hoekstra Electrical Services
Holland Board of Public Works
Holland Stitchcraft
Holston Gases
Humidity Controls LLC
Ice Town
ID Watchdog, Inc.
IHS Distributing
Imperial Beverage
INDIAN3--Indiana City Brewing
Infinisource Benefit Services
Insite Business Solutions
James Ferrari and Sons Inc
Jeff Meyer
Johnson Brothers
K&Z Distributing Co.
KegWorks
KM Prost LLC
Knight Investment Group
Lansing Board of Water and Light
Lee Shore Enterprises


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         Ongoing Trade Vendors / Service Providers
Lexington-Fayette Urban County Government
LG&E
Lincoln Electric Systems
Lincoln National Life Insurance Company
M4 C.I.C. LLC
Mervenne Beverage, Inc.
Michigan Dept of Treasury
Monarch Beverage
Mr Handyman Detroit
Mutual of Omaha
My Green Michigan LLC
My Handyman of Ann Arbor
Nantucket Baking Company
National Wine _ Spirits
Nick's Gyro's LLC
NRL Consulting
NuCO2
O & W, Inc
Oath Distributing
OLO
Omega :Yeast Labs
One Way Products
Open Table
Organix Recycling
Patty Matters
Pax Verum Brewing Co.
Phoebe Duvall
Plante & Moran, PLLC
Plaza Storage, LLC
Power Distributing
Premier Beverage CO
Premier-Midwest Beverage Co.
Produce Alliance
Professional Maintenance of Michigan, Inc.
Project 35 LLC
Quail Distributing, Inc.
Quality Brands of Lincoln LLC
R. L. Schrieber
R.E. Golden Produce Co
Rave Associates
Red Tap Solutions
Republic National Dist
Restaurant Technologies, Inc


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         Ongoing Trade Vendors / Service Providers
RLM Services LLC
Rotella's Italian Bakery, Inc.
Round It Up America, Inc.
Ryan Leibinger
Saladino Smoke LLC
Scott Cooley
South Broad Ripple Brewing Co
Southern Glaziers of MO
Southern Wine & Spirits
Sparkling Windows Corp.
Spire
Standard Sales Company
Star 2 Star Communications LLC
State Distributing
Sterling/Glaziers Distributing
Susan Kalee
TDS
The Guardian Brewing Co.
Time Warner Cable
Todd Kronebusch
Town Center Inc.
Tri-County Beverage Company
Unemployment Services, Inc.
Unifirst Corporation - Michigan
United Beverage
Valley City Linen
Verdolino & Lowey, P.C.
Verizon Wireless
Vicinity Energy Grand Rapids LLC
VSP Insurance Co.
Waste Management of Michigan
Welders Supply Company
West Side Beer Distributing
WestRock CP LLC
Wirtz Beverage Wisconsin
XCEL Energy
Zink Distributing




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